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    · · ·· · · · · · · · ·UNITED STATES DISTRICT COURT

    · · ·· · · · · · · · ·SOUTHERN DISTRICT OF FLORIDA

    · · ·· · · · · · · · CASE NO. 23-cv-80282-ROSENBERG

    ·

    · · ·ROBERT SCOT BUILDING VENTURE, LLC;· ·)
    · · ·and RSBV Pathway LLC,· · · · · · · · )
    · · ·· · · · · · · · · · · · · · · · · · ·)
    · · ·· · · · · · · · ·Plaintiffs,· · · · ·)
    · · ·· · · · · · · · · · · · · · · · · · ·)
    · · ·· · · · · · v.· · · · · · · · · · · ·)
    · · ·· · · · · · · · · · · · · · · · · · ·)
    · · ·CREATIVE WEALTH MEDIA FINANCE CORP;· )
    · · ·and JASON CLOTH,· · · · · · · · · · ·)
    · · ·· · · · · · · · · · · · · · · · · · ·)
    · · ·· · · · · · · · ·Defendants.· · · · ·)
    · · ·________________________________· · ·)
    ·

    ·

    ·

    · · ·· · · · · ·VIDEOTAPED DEPOSITION OF JASON CLOTH

    · · ·· · · · · · · · · · · · ·VOLUME I

    · · ·· · · · · · · ·Wednesday, September 20, 2023

    · · ·· · · · · · · · · ·9:31 a.m. - 4:15 p.m.

    ·

    · · ·· · · · ·2049 Century Park East, Suite 2400

    · · ·· · · · · · · ·Los Angeles, California

    ·

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    · · ·Reported by:
    · · ·PAMELA J. FELTEN
    · · ·CSR No. 5189
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    ·1    APPEARANCES:

    ·2    For Plaintiffs:

    ·3   · · · · · LAVELY & SINGER
    · · ·· · · · · BY:· DAVID B. JONELIS (pro hac vice)
    ·4   · · · · · · · ·KELSEY J. LEEKER (pro hac vice)
    · · ·· · · · · Attorneys at Law
    ·5   · · · · · 2049 Century Park East
    · · ·· · · · · Suite 2400
    ·6   · · · · · Los Angeles, California· 90067-2906
    · · ·· · · · · 310.556.3501
    ·7   · · · · · djonelis@lavelysinger.com
    · · ·· · · · · kleeker@lavelysinger.com
    ·8

    ·9    For Defendants:

    10   · · · · · HERRICK FEINSTEIN LLP
    · · ·· · · · · BY:· WILLIAM R. FRIED (pro hac vice)
    11   · · · · · · · ·SAMUEL J. BAZIAN (pro hac vice)
    · · ·· · · · · Attorneys at Law
    12   · · · · · Two Park Avenue
    · · ·· · · · · New York, New York· 10016
    13   · · · · · 212.592.1400
    · · ·· · · · · wfried@herrick.com
    14   · · · · · sbazian@herrick.com

    15    · · · · · And

    16   · · · · · BLANEY, McMURTRY, LLP
    · · ·· · · · · BY:· CHAD KOPACH (Appearing via Zoom)
    17   · · · · · 2 Queen Street East
    · · ·· · · · · Suite 1500
    18   · · · · · Toronto, Ontario M5C 3G5
    · · ·· · · · · 1.416.593.1221
    19   · · · · · Ckopach@blaney.com

    20
    · · ·Also Present:
    21
    · · ·· · · · · ROBERT HARRIS, PLAINTIFF
    22   · · · · · CHAD BRIGGS, VIDEOGRAPHER

    23

    24

    25


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    ·5
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    ·1    · · · · · · · · ·LOS ANGELES, CALIFORNIA;
    · · ·· · Wednesday, September 20, 2023, 9:31 a.m. - 4:15 p.m.
    ·3
    ·4    · · · · · THE VIDEOGRAPHER:· And thank you.
    ·5    · · · · · Good morning.· My name is Chad Briggs.· I am your
    ·6    videographer and I represent Imagine Court Reporting.· I'm
    ·7    not financially interested in this action, nor am I a
    ·8    relative or employee of any of the attorneys or parties.
    ·9    · · · · · This begins Media No. 1 in the deposition of
    10    Jason Cloth in the matter of Robert Scot Building Venture
    11    LLC v Creative Wealth Media Finance Corp., Case No.
    12    23-cv-80282-Rosenberg held at 2049 Century Park East, Los
    13    Angeles, California.
    14    · · · · · Today's date is September 20th and the time is
    15    now 9:31 a.m. Pacific.
    16    · · · · · The court reporter us Pam Felten.· This
    17    deposition is being recorded at all times unless all
    18    counsel agree to go on or off the video record.
    19    · · · · · Would also counsel present please state their
    20    appearance starting with the noticing attorney.
    21    · · · · · MR. JONELIS:· Good morning.· David Jonelis,
    22    J-o-n-e-l-i-s, counsel for plaintiffs, the firm of Lavely &
    23    Singer Professional Corporation.
    24    · · · · · MS. LEEKER:· Good morning.· Kelsey Leeker also at
    25    Lavely & Singer for the plaintiffs.


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    ·1    · · · · · MR. FRIED:· Do you want the client on the record?
    ·2    · · · · · MR. JONELIS:· Do you want the clients?
    ·3    · · · · · THE VIDEOGRAPHER:· I think it just says
    ·4    attorneys, but if you want to announce everyone, that's
    ·5    fine.
    ·6    · · · · · MR. JONELIS:· My client, Robert Harris, is in the
    ·7    room, as well.
    ·8    · · · · · MR. FRIED:· And we have William Fried and Sam
    ·9    Bazian from Herrick, Feinstein for the defendants.
    10    · · · · · MR. JONELIS:· And there's a gentleman named Chad
    11    Kopach -- that's K-o-p-a-c-h -- observing by Zoom.· I'm
    12    going to take counsel's representation on the record that
    13    Mr. Kopach is a loan attendee in the room.· Can we confirm?
    14    · · · · · MR. FRIED:· That is correct.· And he is Canadian
    15    counsel for the defendants.· Thank you.
    16    · · · · · MR. JONELIS:· Thank you.
    17    · · · · · MR. FRIED:· I forgot to mention.
    18    · · · · · THE VIDEOGRAPHER:· Okay.· Would the reporter
    19    please swear in the witness.
    20    · · · · · · · · · · · · JASON CLOTH,
    21    having been first administered an oath, was examined and
    22    testified as follows:
    23    · · · · · · · · · · · · EXAMINATION
    24    BY MR. JONELIS:
    25    · · · Q· ·Good morning, Mr. Cloth.· Welcome to your


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         Jason Cloth                                                 September 20, 2023

    ·1    deposition.
    ·2    · · · · · Have you taken any drugs, prescription,
    ·3    nonprescription, in the last --
    ·4    · · · A· ·No.
    ·5    · · · Q· ·-- 24 hours -- hold on.· This is -- you're --
    ·6    you're talking over me.· Just as a --
    ·7    · · · · · MR. FRIED:· You have to let him ask the question.
    ·8    BY MR. JONELIS:
    ·9    · · · Q· ·I'm going to ask the question.· It's strange.
    10    We're not having a conversation, even though sometimes it
    11    feels like it.· I'm going to try as best I can to let you
    12    finish an answer, and try to do the same.· And the reason
    13    is simple.· We got a court reporter over there who is
    14    taking it down, and if we talk over each other, we're not
    15    going to have a good record.
    16    · · · · · Have you taken any drugs, prescription,
    17    nonprescription, in the last 24 hours, Mr. Cloth, that
    18    could prevent you from giving lucid and accurate testimony
    19    here today?
    20    · · · A· ·No.
    21    · · · Q· ·Are you suffering from any medical or
    22    psychological conditions that would prevent you from giving
    23    lucid and accurate testimony here today?
    24    · · · A· ·No.
    25    · · · Q· ·Is there any reason as you sit here today that we


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         Jason Cloth                                                 September 20, 2023

    ·1    cannot proceed with the deposition at this time?
    ·2    · · · A· ·No.
    ·3    · · · Q· ·The testimony you give here today is under oath,
    ·4    Mr. Cloth.· The penalties of perjury apply to your
    ·5    testimony here in the same manner as if you were giving
    ·6    testimony in a court of law.· Do you understand that?
    ·7    · · · A· ·I do.
    ·8    · · · Q· ·Would you please state and spell your first name
    ·9    and your last name for the record.
    10    · · · A· ·Jason Cloth.· J-a-s-o-n.· C-l-o-t-h.
    11    · · · Q· ·Thank you.
    12    · · · · · You understand, Mr. Cloth, you're here today
    13    because you and your company, Creative Wealth Media Finance
    14    Corp., are defendants in a lawsuit filed by my client?
    15    · · · A· ·I do.
    16    · · · Q· ·And I recognize you're associated with a number
    17    of different companies that have the words creative and
    18    wealth in the name, but for the purpose of today's
    19    deposition -- because I know your counsel wants to fly
    20    home, you said you want to take a break at 11:00, and we'd
    21    just like to make it go quickly -- can we refer to the
    22    Creative Wealth Media Finance Corp. simply as Creative
    23    Wealth?
    24    · · · A· ·Sure.
    25    · · · Q· ·Okay.· So if I use the term Creative Wealth,


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         Jason Cloth                                                 September 20, 2023

    ·1    you'll understand I'm referring to Creative Wealth Media
    ·2    Finance Corp.· Okay?
    ·3    · · · A· ·Yes.
    ·4    · · · · · MR. JONELIS:· Okay.· I'm going to ask our lovely
    ·5    court reporter, Pam, to mark as Exhibit 1 a copy of the
    ·6    Complaint in this action.
    ·7    · · · · · There you go.
    ·8    · · · · · There you go.
    ·9    · · · · · There you go, Pam.
    10    · · · · · For you, Counsel.
    11    · · · · · MR. FRIED:· Thank you, sir.
    12    · · · · · (Exhibit 1 marked)
    13    · · · · · MR. JONELIS:· We're going to mark a bunch of
    14    things today as exhibits, again, for no reason other than
    15    if we're referring in the future to this, then we know what
    16    we're referring to.· Apples to apples.· Oranges to oranges.
    17    · · · · · MR. FRIED:· And because we want to kill some
    18    trees.· I'm kidding.
    19    BY MR. JONELIS:
    20    · · · Q· ·I assume -- Mr. Cloth, you can take the exhibit,
    21    please.
    22    · · · · · I assume that you've seen this document before,
    23    but please confirm that you have.
    24    · · · A· ·I have.
    25    · · · Q· ·Okay.· You understand that this is the operative


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    ·1    document that asserts my client's allegations against you
    ·2    and Creative Wealth, correct?
    ·3    · · · A· ·Agreed.
    ·4    · · · Q· ·All right.· If you could turn to page 9 of the
    ·5    Complaint, please.
    ·6    · · · · · Are you there?
    ·7    · · · A· ·Yep.
    ·8    · · · Q· ·All right.· I'd like to direct your attention to
    ·9    Paragraph 59.· Do you see that?
    10    · · · A· ·Yes.
    11    · · · Q· ·Bottom of the page?
    12    · · · · · All right.· I'm just going to read Paragraph 59
    13    into the record.
    14    · · · · · It states:
    15    · · · · · "On or around February 24th, 2021,
    16    · · · · · Defendant Cloth" -- that's you --
    17    · · · · · "made the following written
    18    · · · · · representations to Harris" -- that's
    19    · · · · · my client sitting at the end of the
    20    · · · · · table, who is "the principal of
    21    · · · · · RSBVP" -- that's the abbreviation
    22    · · · · · for Robert Scot Building Venture --
    23    · · · · · "that the Fables Loans, Bubbles
    24    · · · · · Loans and HHH Loans would be repaid,
    25    · · · · · 'worst case' scenario, by the third


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    ·1    · · · · · quarter of 2021; No. (2) that there
    ·2    · · · · · was 'zero' risk associated with the
    ·3    · · · · · Fables Loans, Bubbles Loans and HHH
    ·4    · · · · · Loans; and No. (3) that the MM Loan
    ·5    · · · · · would be repaid by 'late summer' of
    ·6    · · · · · 2021 at the latest."
    ·7    · · · · · Do you see that?
    ·8    · · · A· ·I do.
    ·9    · · · Q· ·Okay.· And just for clarity, can we agree HHH is
    10    just shorthand for Hailey and the Hero Heart?
    11    · · · A· ·That's agreed.
    12    · · · Q· ·And MM is shorthand for Monkey Man, correct?
    13    · · · A· ·Agreed.
    14    · · · · · MR. JONELIS:· Okay.
    15    · · · · · All right.· I'm going to mark as Exhibit 2 today
    16    the Answer that you, Mr. Cloth, and your company, through
    17    your attorneys of record, filed in the pending lawsuit.
    18    · · · · · (Exhibit 2 marked)
    19    BY MR. JONELIS:
    20    · · · Q· ·All right.· Mr. Cloth, I'd like you to look at
    21    the Answer.· Have you seen this document before?
    22    · · · A· ·Yes.
    23    · · · Q· ·Okay.· I assume your attorneys ran this by you
    24    before it was filed, correct?
    25    · · · A· ·Correct.


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    ·1    · · · Q· ·Okay.· And I assume you reviewed it for accuracy,
    ·2    correct?
    ·3    · · · A· ·Yep.
    ·4    · · · Q· ·All right.· If you could turn to the page 8 of
    ·5    the Answer, please, and look at the Paragraph 59, that
    ·6    would be much appreciated.
    ·7    · · · · · Just to refresh your recollection, we just looked
    ·8    at Paragraph 59 of the Complaint.· That's what I read into
    ·9    the record.· This is Paragraph 59 of the Answer.· And you
    10    see where it says:· "Defendants" -- that's you, Mr. Cloth,
    11    and Creative Wealth -- "deny the allegations in
    12    Paragraph 59 of the Complaint."· Do you see that?
    13    · · · A· ·I do.
    14    · · · Q· ·Okay.· Sitting here today, do you stand by your
    15    denial of the allegations in Paragraph 59?
    16    · · · A· ·Yes.
    17    · · · · · MR. JONELIS:· Okay.· Let's mark as -- here you
    18    go, Kelsey.
    19    · · · · · Let's please mark as Exhibit 3 -- this is a --
    20    all right.· This is an e-mail produced by my client in this
    21    action and Bates marked as PLNTF_01665.
    22    · · · · · (Exhibit 3 marked)
    23    BY MR. JONELIS:
    24    · · · Q· ·Please take a look at this e-mail, Mr. Cloth.
    25    · · · A· ·I can see it, yes.


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    ·1    · · · Q· ·Okay.· Do you see that on February 24th of 2021,
    ·2    my client, Mr. Harris, sent you an e-mail stating -- it's
    ·3    at the bottom of the page or the middle of the page --
    ·4    · · · · · "Hi Jason" -- that's you.
    ·5    · · · · · "Can you tell me expected payout
    ·6    · · · · · dates for the following?· Give me
    ·7    · · · · · the worst case."
    ·8    · · · · · "Fables.
    ·9    · · · · · "Haley (sic) and the Hero Heart.
    10    · · · · · "Bubbles.
    11    · · · · · "Thanks."
    12    · · · · · Do you see that?
    13    · · · A· ·Yes.
    14    · · · Q· ·Okay.· And do you see you responded almost
    15    immediately -- and I say that because I think we're doing
    16    Eastern -- 10:46 AM was his e-mail, and it looks like 7:47
    17    AM, which wouldn't make sense if that wasn't time
    18    difference, looks like a minute later -- you responded,
    19    "Worst case, third Q 2021."· Do you see that?
    20    · · · A· ·Yes.
    21    · · · · · MR. JONELIS:· Okay.· I'd like to mark as
    22    Exhibit No. -- would you write on the exhibits we have so
    23    we know where we're at?
    24    · · · · · All right.· So this is going to be Exhibit No. 4.
    25    This was a document produced by my clients as PLNTF_01675


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    ·1    through 676.
    ·2    · · · · · (Exhibit 4 marked)
    ·3    BY MR. JONELIS:
    ·4    · · · Q· ·Mr. Cloth, have you seen this e-mail before?
    ·5    · · · · · MR. FRIED:· I assume you mean the chain?
    ·6    · · · · · MR. JONELIS:· The e-mail chain.· You're
    ·7    absolutely right.· Thank you.
    ·8    · · · · · THE WITNESS:· I mean, I --
    ·9    · · · · · MR. FRIED:· Take your time.· Read the whole
    10    thing.
    11    · · · · · THE WITNESS:· I -- I have read it.· I mean, yeah,
    12    it seems like a -- a valid e-mail chain.
    13    · · · · · MR. JONELIS:· Okay.· Let me make it easier
    14    because my question was ineloquent.
    15    · · · Q· ·You see on the second page, Mr. Cloth --
    16    · · · A· ·Yes.
    17    · · · Q· ·-- this is the same e-mail from Mr. Harris that
    18    we just looked at?
    19    · · · A· ·Yeah.
    20    · · · Q· ·He asked you about the expected payout dates for
    21    Fables, Hailey and the Hero Heart and Bubbles.· Do you see
    22    that?
    23    · · · A· ·Yes.
    24    · · · · · THE VIDEOGRAPHER:· Counsel, the side of your mic
    25    just --


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    ·1    · · · · · MR. FRIED:· Oh, excuse me.
    ·2    BY MR. JONELIS:
    ·3    · · · Q· ·Would you like me to read back the question?
    ·4    · · · A· ·No, no, no.· With the mics and things, I just
    ·5    wanted him to do it.
    ·6    · · · Q· ·All right.· Turning to the first page, Mr. Cloth.
    ·7    Do you see that you sent Mr. Harris another response to his
    ·8    e-mail?· This was at 10:51 AM.· The prior response was
    ·9    10:47 AM, as you may recall.
    10    · · · A· ·Yes.
    11    · · · Q· ·Okay.· And you wrote:
    12    · · · · · "I really want you as a long term
    13    · · · · · client, these shows will turn out to
    14    · · · · · be fantastic investments for you.
    15    · · · · · I'm deliberately trying to stack the
    16    · · · · · deck in my favour."
    17    · · · · · Do you see that?
    18    · · · A· ·Yes.
    19    · · · Q· ·And then you said, "I'm just saying," smiley
    20    face.· Do you see that?
    21    · · · A· ·I do see that.
    22    · · · Q· ·And do you see that Mr. Harris then asked you --
    23    this is just moving up the page a little bit:
    24    · · · · · "Would you say there is zero risk on
    25    · · · · · these projects?"


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    ·1    · · · · · Do you see that?
    ·2    · · · A· ·Yes.
    ·3    · · · Q· ·Okay.· And do you see that you responded to him
    ·4    above that:
    ·5    · · · · · "At this point, given what I've been
    ·6    · · · · · seeing and hearing, zero.· And I
    ·7    · · · · · don't say that lightly to you."
    ·8    · · · · · Do you see that?
    ·9    · · · A· ·I do.
    10    · · · Q· ·Okay.· Do you recall what you meant, Mr. Cloth,
    11    when you wrote, "I don't say that lightly to you"?
    12    · · · A· ·Yes.
    13    · · · Q· ·And what was that?
    14    · · · A· ·What people fail to understand is that Creative
    15    Wealth or myself was not a producer of these shows.· And
    16    the information on delivery, payment, sales has to come
    17    from the studio itself.
    18    · · · Q· ·Uh-huh.
    19    · · · A· ·And so at this point in time, we had visibility
    20    on all of the shows and when they were delivering and when
    21    they were paying.· And so these statements were completely
    22    valid at that time.
    23    · · · Q· ·So I just want to make sure I -- some attorneys
    24    would say mark this or strike -- move to strike as
    25    nonresponsive.· I'm not going to do that, but I want to ask


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    ·1    the question again to make sure I'm -- this answer that
    ·2    you're giving is the answer to my question, which is:· When
    ·3    you wrote, "I don't say that lightly to you," do you recall
    ·4    what you meant?
    ·5    · · · · · MR. FRIED:· Objection.· Asked and answered.
    ·6    · · · · · But if you can answer it again or any
    ·7    differently, go ahead.
    ·8    · · · · · THE WITNESS:· It means that the studios were
    ·9    telling me that there was no risk of loss in these shows.
    10    BY MR. JONELIS:
    11    · · · Q· ·Okay.· And when you say the studios were telling
    12    you, let's be a little bit more specific.
    13    · · · · · In this particular instance, when you said, "I
    14    don't say that lightly to you," which studio?
    15    · · · A· ·Epic Stories and BRON Studios.
    16    · · · Q· ·And who -- let's start with Epic Story.· Those
    17    are two different studios?
    18    · · · A· ·They're two different studios.
    19    · · · Q· ·So let's start with Epic Stories.· What is the
    20    relationship to Fables, Hailey and the Hero Heart, and
    21    Bubbles?
    22    · · · A· ·They are the producer of Hailey and Bubbles.
    23    · · · Q· ·Okay.· And I assume, then, BRON is the producer
    24    of Fables?
    25    · · · A· ·That's correct.


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    ·1    · · · Q· ·Okay.· So let's talk about Epic Studios.· As of
    ·2    February 24th, 2021, when you said, "At this point, given
    ·3    what I've been seeing and hearing, zero [risk].· And I
    ·4    don't say that lightly."
    ·5    · · · · · MR. FRIED:· Objection to form.· It's not what --
    ·6    it says "zero."· It doesn't say the word "risk."
    ·7    · · · · · MR. JONELIS:· That's a valid objection.
    ·8    · · · · · Let me reread it:
    ·9    · · · · · "At this point, given what I've been
    10    · · · · · seeing and hearing, zero.· And I
    11    · · · · · don't say that lightly to you."
    12    · · · · · Thank you, Mr. Fried.
    13    · · · Q· ·Your response was based on communications you had
    14    with Epic Studios concerning Hailey and the Hero Heart and
    15    Bubbles and communications you had with BRON concerning
    16    Fables?
    17    · · · A· ·That's correct.
    18    · · · Q· ·Okay.· We'll get back to that in a moment.
    19    · · · · · If you look higher up on the first page of this
    20    exhibit that we've marked as 4, do you see where Mr. Harris
    21    went on to ask you, "And when do you expect Fatherhood and
    22    Monkey Man to pay out?"· Do you see that?
    23    · · · A· ·Yes.
    24    · · · Q· ·Okay.· And then you responded, "Monkey Man late
    25    Summer or sooner."


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    ·1    · · · A· ·Yes.
    ·2    · · · Q· ·Those are your words, correct?
    ·3    · · · A· ·That's correct.
    ·4    · · · Q· ·Okay.· Let's take a look back at Exhibit 1, which
    ·5    was my client's Complaint.
    ·6    · · · · · Paragraph 59 on page 9 of the Complaint, take a
    ·7    moment to read that again.· It's already read into the
    ·8    record.
    ·9    · · · A· ·Yes.· I -- we've gone through this already --
    10    · · · · · MR. FRIED:· He didn't --
    11    · · · · · THE WITNESS:· -- a couple --
    12    · · · · · MR. FRIED:· He didn't ask you --
    13    · · · · · THE WITNESS:· -- of times.
    14    · · · · · MR. FRIED:· He didn't ask you a question yet.· He
    15    just asked you --
    16    · · · · · THE WITNESS:· Okay.
    17    · · · · · MR. FRIED:· -- to look at it.· Let him ask --
    18    · · · · · THE WITNESS:· I've --
    19    · · · · · MR. FRIED:· -- you a question.
    20    · · · · · THE WITNESS:· -- looked at it.
    21    BY MR. JONELIS:
    22    · · · Q· ·Okay.· Back to Exhibit 2, the Answer.· Deny --
    23    · · · A· ·Yeah.
    24    · · · Q· ·-- the truth of what's stated in Paragraph 59.
    25    · · · · · As you sit here today, do you still stand by that


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    ·1    denial of the allegations in Paragraph 59?
    ·2    · · · A· ·The denial of it?· I mean, I wrote it with the
    ·3    full belief and understanding that what I was sending to
    ·4    Mr. Harris was correct.
    ·5    · · · Q· ·Let me be more specific, Mr. Cloth.
    ·6    · · · · · Paragraph 59 states that all -- it's as you just
    ·7    stated -- said these things.· It doesn't say whether it's
    ·8    true or false.· It just says you said these things on
    ·9    February 24th, 2021 in writing.· Your attorneys filed an
    10    Answer in court -- sworn Answer, as Officers of the Court,
    11    and it says, "We deny the truth of what's stated in
    12    Paragraph 59."· And I'm asking you:· Do you still deny the
    13    truth of what's stated in Paragraph 59?
    14    · · · A· ·Deny what's on -- on the written --
    15    · · · · · MR. FRIED:· That's not -- he -- he asked if you
    16    stand by --
    17    · · · · · THE WITNESS:· Okay.· I don't --
    18    · · · · · MR. FRIED:· -- your testimony.
    19    · · · · · THE WITNESS:· -- understand your question.· Like
    20    what are you asking for the fourth time?
    21    · · · · · MR. FRIED:· Jason, his question is fine.
    22    · · · · · THE WITNESS:· But I don't understand what he's
    23    asking.· What am I denying?· What do you want -- you've got
    24    e-mails.· Here are the e-mails.· What would you like me to
    25    deny?


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    ·1    · · · · · MR. FRIED:· No, no, no.· I don't want to -- I
    ·2    don't want to interrupt your --
    ·3    · · · · · MR. JONELIS:· Well, let me --
    ·4    · · · · · MR. FRIED:· -- deposition.
    ·5    · · · · · MR. JONELIS:· -- try, Mr. Fried.· And, by the
    ·6    way, just -- just --
    ·7    · · · · · THE WITNESS:· Ask it in a different way if you
    ·8    don't mind.
    ·9    BY MR. JONELIS:
    10    · · · Q· ·Mr. Cloth, what I will say is if you need to take
    11    a break during this thing --
    12    · · · A· ·I don't need to take a break.· Just ask it --
    13    · · · · · MR. FRIED:· Jason --
    14    · · · · · THE WITNESS:· -- in a --
    15    · · · · · MR. FRIED:· Jason --
    16    · · · · · THE WITNESS:· -- different way --
    17    · · · · · MR. FRIED:· Jason --
    18    · · · · · THE WITNESS:· -- and stop asking the same
    19    question four times.
    20    · · · · · MR. JONELIS:· For the rec- -- first of all,
    21    Mr. Cloth, I'm just doing my job.· I -- I'm not raising
    22    my --
    23    · · · · · THE WITNESS:· Yeah.
    24    · · · · · MR. JONELIS:· -- voice at you.· I've been -- your
    25    attorneys have been polite.· We've been polite.· We're all


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    ·1    professionals here.· Okay?
    ·2    · · · · · And I just -- because I wanted you to know if you
    ·3    need to take a break, if you don't want that --
    ·4    · · · · · THE WITNESS:· I don't need to take a break.
    ·5    · · · · · MR. FRIED:· Why don't we --
    ·6    · · · · · THE WITNESS:· I just --
    ·7    · · · · · MR. FRIED:· Why don't -- why don't we take a
    ·8    break?
    ·9    · · · · · MR. JONELIS:· Yeah.
    10    · · · · · Just for the record --
    11    · · · · · THE WITNESS:· I don't --
    12    · · · · · MR. JONELIS:· -- here -- just to be clear.· This
    13    is supposed to be a deposition.· It's not an inquisition.
    14    Anytime you want to take a break -- and I should have --
    15    · · · · · THE WITNESS:· I don't --
    16    · · · · · MR. JONELIS:· -- said this at the beginning -- as
    17    long as there's not a question pending, in which case you
    18    just need to answer the question, we welcome it.· We may
    19    take breaks, as well.· If you need to take a break, please
    20    let us know.· Our goal --
    21    · · · · · MR. FRIED:· I -- I got this --
    22    · · · · · MR. JONELIS:· -- is to make this as comfortable
    23    as possible.
    24    · · · · · MR. FRIED:· I would like to take two minutes
    25    because --


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    ·1    · · · · · MR. JONELIS:· Absolutely.· Thank you, Mr. Fried.
    ·2    · · · · · MR. FRIED:· If I had a problem with your
    ·3    questions, I would tell you, but I -- I can resolve this.
    ·4    · · · · · MR. JONELIS:· Thank you very much, Mr. Fried.
    ·5    · · · · · MR. FRIED:· Just two -- be very quick.
    ·6    · · · · · MR. JONELIS:· Please.
    ·7    · · · · · THE VIDEOGRAPHER:· Okay.· Wait.
    ·8    · · · · · MR. JONELIS:· We're off the record.
    ·9    · · · · · THE VIDEOGRAPHER:· Please take off your -- thank
    10    you.
    11    · · · · · All right.· Okay.· So we'll go off the video
    12    record -- we'll go off the video record.· The time is
    13    9:48 -- I'm sorry -- 9:49 a.m.
    14    · · · · · (Recess)
    15    · · · · · (Discussion off the record.)
    16    · · · · · THE VIDEOGRAPHER:· And thank you.· We are back on
    17    the video record.· The time is 9:53 a.m.
    18    BY MR. JONELIS:
    19    · · · Q· ·Mr. Cloth, I'm going to apologize for my line of
    20    questioning.· I get it may have been phrased in
    21    a -- too legal of a fashion, and I understand you're not an
    22    Officer of the Court and maybe you didn't understand what
    23    I'm referring to by a Complaint and an Answer.
    24    · · · · · But to be a little more specific, I showed you
    25    the Complaint filed.· And in that Complaint, I made an


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    ·1    assertion on behalf of my client that you said three
    ·2    things -- just the fact of saying them -- in writing on
    ·3    February 24th, 2021.· And then I pointed out that your
    ·4    attorneys on your behalf filed a document with the Court
    ·5    wherein they said, "No, we deny that those representations
    ·6    were made on February 24th, 2021."· And then I showed you,
    ·7    Mr. Cloth, the actual evidence of the representations and
    ·8    asked you then to go back and reconsider whether you deny
    ·9    that those representations were made.· So I'm going to ask
    10    again.· And, again, that's on me, Mr. Cloth, if I wasn't
    11    clear on what an Answer was or what I'm asking.
    12    · · · · · Do you now understand what I'm asking, Mr. Cloth?
    13    · · · A· ·Yes, I do.
    14    · · · Q· ·So let me ask you my question again.
    15    · · · · · In light of the documents that we've just looked
    16    at over the last 20 or so minutes, as you sit here today,
    17    do you withdraw the denial of the allegations in
    18    Paragraph 59?
    19    · · · · · MR. FRIED:· Objection to form.· You can answer.
    20    · · · · · You can answer.· If I --
    21    · · · · · THE WITNESS:· No, I don't.
    22    · · · · · MR. FRIED:· Okay.· Good.· Just so you know, if I
    23    object to the form --
    24    · · · · · THE WITNESS:· Okay.
    25    · · · · · MR. FRIED:· -- of a question, you answer it


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    ·1    anyway.
    ·2    · · · · · THE WITNESS:· Okay.· No, I don't.
    ·3    BY MR. JONELIS:
    ·4    · · · Q· ·And your attorney is completely right.· Unless he
    ·5    instructs you not to answer -- which hopefully I don't ask
    ·6    any questions that go there, but he's allowed to -- you
    ·7    still have to answer my question.· He may not like how it's
    ·8    phrased.· I may not like how it's phrased.· But,
    ·9    ultimately, because we don't have Your Honor here in the
    10    room, there's nobody to say whether my question was right
    11    or not.· So you're just going to have to answer it.· And if
    12    your attorney is correct and it was ineloquent or inartful,
    13    it will get stricken, as will your answer.
    14    · · · · · So to phrase my question in the converse:· Do you
    15    stand by your denial of the allegations in Paragraph 59?
    16    · · · A· ·I do.
    17    · · · Q· ·Okay.· When you made the representations stated
    18    in Paragraph 59 -- well, let me rephrase because you deny
    19    that you made the representations.· But that's going to
    20    make things go a little bit longer, but I'll -- I'll
    21    explain them.
    22    · · · · · When you made the written representations that we
    23    just looked at in Exhibits No. 3 and Exhibit No. 4, what
    24    were you basing them on?
    25    · · · · · And I'll be more specific.· Okay?· Withdrawing


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    ·1    that question.
    ·2    · · · · · When you told my client with respect to
    ·3    Bubbles Hotel and Fables and Hailey and the Hero Heart that
    ·4    there was zero risk associated with the investment, based
    ·5    on your prior testimony, were you only basing those
    ·6    representations on what you'd been told by the two studios
    ·7    that you referenced earlier, BRON and, I believe, Epic
    ·8    Studios?
    ·9    · · · A· ·Yes.
    10    · · · Q· ·Okay.· So let's start with the zero risk.· With
    11    respect to Epic Studios, who at Epic Studios provided you
    12    with information that led you to tell my client on
    13    February 24th, 2021 that there was zero risk associated
    14    with his loans for Fables, Hailey and the Hero Heart, and
    15    Bubbles Hotel?
    16    · · · · · MR. FRIED:· Objection to form.
    17    · · · · · THE WITNESS:· Well --
    18    · · · · · MR. FRIED:· You can answer.
    19    · · · · · THE WITNESS:· -- Fables is not an Epic Story
    20    project.· So. . .
    21    · · · · · MR. JONELIS:· Let me rephrase my question.
    22    · · · Q· ·Who at Epic Studios provided you with the
    23    information that you were relying upon when you told my
    24    client that there would be zero risk associated with his
    25    loans for Hailey and the Hero Heart and Bubbles?


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    ·1    · · · · · MR. FRIED:· Objection to form.
    ·2    · · · · · You can answer.
    ·3    · · · · · THE WITNESS:· I -- I don't recall.· I mean, there
    ·4    are a number of people that I speak to at Epic.· So I don't
    ·5    remember who at that exact time would have given me that
    ·6    information.
    ·7    BY MR. JONELIS:
    ·8    · · · Q· ·Well, if there's a number of people you've spoken
    ·9    with, let's just go there.· Who are those number of people
    10    who you've spoken with at Epic?
    11    · · · · · MR. FRIED:· At --
    12    BY MR. JONELIS:
    13    · · · Q· ·First and last names.
    14    · · · · · MR. FRIED:· At that time?
    15    · · · · · MR. JONELIS:· At Epic Studios at the time.
    16    · · · · · MR. FRIED:· Yeah.
    17    BY MR. JONELIS:
    18    · · · Q· ·By first and last name, please.
    19    · · · A· ·Marlene, I don't know her last name.· Ken Faier.
    20    And then there was one other person.· I don't know if
    21    they're still there any longer.
    22    · · · Q· ·And what was that one person you don't know if
    23    they're still there or not?
    24    · · · A· ·I would have to look back for that information.
    25    · · · Q· ·All right.· I -- I --


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    ·1    · · · · · MR. FRIED:· Do you want to leave a space?
    ·2    · · · · · MR. JONELIS:· Yeah, let's leave a space in the
    ·3    transcript.· This is what we lawyers do is if you don't
    ·4    recall, but you think you might have a record of it, we put
    ·5    a blank in the transcript --
    ·6    · · · · · THE WITNESS:· Yeah.
    ·7    · · · · · MR. JONELIS:· -- and within -- Bill, how many
    ·8    days do you think it will take to fill in the blank?
    ·9    · · · · · MR. FRIED:· I'll have to -- I'll have to speak to
    10    Jason and find out what he needs to look at unless we can
    11    look at documents and get you the information.· If we can
    12    do it, we'll do it right away.· I don't know.· I haven't --
    13    you know, I don't want to interrupt your con- -- your
    14    deposition.· But what -- what I'll doing during the break,
    15    David, is I will speak to him and I will get you the answer
    16    to that before the end of the day.
    17    · · · · · (Information requested: _______________________
    18    ________________________________________________________
    19    ________________________________________________________)
    20    · · · · · MR. JONELIS:· Fantastic.
    21    · · · Q· ·So we have Marlene, unknown last name.
    22    · · · A· ·Yes.
    23    · · · Q· ·Ken, K-e-n, F-r-a-r-e; is that correct?
    24    · · · · · MR. FRIED:· Is it all right if he looks up the
    25    name on his phone?


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    ·1    · · · · · MR. JONELIS:· Absolutely.
    ·2    · · · · · THE WITNESS:· F-a-i-e-r.
    ·3    BY MR. JONELIS:
    ·4    · · · Q· ·And an unspecified third person who we're going
    ·5    to leave a blank in the transcript for?
    ·6    · · · A· ·Yes.
    ·7    · · · Q· ·Okay.· Other than Marlene, unknown last name, Ken
    ·8    Faier, and blank, was there anyone else at Epic Studios who
    ·9    provided you with the information that you were relying
    10    upon when you told my client that there would be zero risk
    11    associated with his loans for Hailey and the Hero Heart and
    12    Bubbles?
    13    · · · · · MR. FRIED:· Objection to form.
    14    · · · · · You can answer.
    15    · · · · · THE WITNESS:· Oh.
    16    · · · · · Not to my recollection.
    17    BY MR. JONELIS:
    18    · · · Q· ·Okay.· With respect to the information you were
    19    provided by Marlene, unknown last name, Ken Faier, and
    20    blank, was that information provided to you in writing or
    21    verbally, to your best recollection?
    22    · · · A· ·To my best recollection, probably verbally.
    23    · · · Q· ·Okay.· So would there be any e-mails
    24    substantiating the information that you relied upon in
    25    telling my client that there would be zero risk associated


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    ·1    with his loans for Hailey and the Hero Heart and Bubbles?
    ·2    · · · A· ·Well, my attorneys did a deep dive into e-mails
    ·3    so I -- I'm not sure.
    ·4    · · · · · MR. FRIED:· If there are e-mails, they would have
    ·5    been produced --
    ·6    · · · · · THE WITNESS:· Yeah.
    ·7    · · · · · MR. FRIED:· -- so . . .
    ·8    · · · · · If that's what you're asking, can you rely if we
    ·9    produced anything we had, the answer would be yes, but I
    10    don't want to interrupt, but if there are e-mails, you got
    11    them.· So if you don't see any e-mails on that, then there
    12    are none.
    13    · · · · · MR. JONELIS:· So just to be clear, for just a
    14    clean record, your attorney said this.· I want to be sure.
    15    · · · Q· ·To the extent that there were, that would have
    16    been included in the production that we received?
    17    · · · A· ·Yes.
    18    · · · Q· ·Okay.· Thank you.
    19    · · · · · Let's move to BRON --
    20    · · · A· ·Yes.
    21    · · · Q· ·-- and Fables.
    22    · · · · · When you told my client on February 24th, 2021
    23    that there would be zero risk associated with his loan for
    24    Fables, from whom at BRON had you received the information
    25    you were relying upon?


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    ·1    · · · A· ·Aaron --
    ·2    · · · · · MR. FRIED:· Object --
    ·3    · · · · · THE WITNESS:· -- Gilbert.· Oh.
    ·4    · · · · · MR. FRIED:· I'm sorry.· Objection to form.
    ·5    · · · · · I'm not going to stop you --
    ·6    · · · · · THE WITNESS:· Okay.
    ·7    · · · · · MR. FRIED:· -- from answering.· I just want to
    ·8    get my -- go ahead.
    ·9    · · · · · THE WITNESS:· Aaron Gilbert.
    10    BY MR. JONELIS:
    11    · · · Q· ·Anybody else?
    12    · · · A· ·No.· Aaron Gilbert.
    13    · · · Q· ·To the extent that there were written
    14    communications from Mr. Gilbert substantiating your belief
    15    that there would be zero risk associated with my client's
    16    loan for Fables as of February 24th, 2021, would those
    17    e-mails have been included in the production that you
    18    provided to my firm?
    19    · · · · · MR. FRIED:· Objection --
    20    · · · · · THE WITNESS:· Yes.
    21    · · · · · MR. FRIED:· -- to form.
    22    · · · · · THE WITNESS:· Yes.
    23    · · · · · MR. JONELIS:· Thank you.
    24    · · · Q· ·Now, you made two other representations we looked
    25    at.· One was that those three loans would be paid out


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    ·1    "worst case" scenario in third quarter of 2021, and that
    ·2    with respect solely to Monkey Man, it would be repaid by
    ·3    late summer of 2021 at the latest.· Do you remember those
    ·4    other two representations?
    ·5    · · · · · MR. FRIED:· Objection to form.· It
    ·6    mischaracterizes what he said.
    ·7    · · · · · But you can answer it anyway.
    ·8    · · · · · THE WITNESS:· Yes.
    ·9    · · · · · MR. JONELIS:· Okay.
    10    · · · Q· ·So we don't have to go through and ask those same
    11    questions, to the extent that you were relying on what
    12    people at BRON or at Epic Studios had told you, would those
    13    be the same individuals whom you just identified in
    14    connection with the zero risk information?
    15    · · · A· ·Are we talking about Monkey Man?
    16    · · · Q· ·Correct.
    17    · · · A· ·It would only be BRON.
    18    · · · Q· ·Okay.· But there's no other -- just for
    19    completeness.· If you were, as of February 24th, 2021,
    20    Mr. Cloth, relying on information about Monkey Man, Fables,
    21    Bubbles Hotel or Hailey and the Hero Heart, that
    22    information would have come solely from those individuals
    23    whom you previously identified at BRON and Epic Studios,
    24    correct?
    25    · · · A· ·Well, there would be many people at BRON that


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    ·1    have given me information of projects.
    ·2    · · · Q· ·Oh.
    ·3    · · · A· ·I mean, we can get you a laundry list of people
    ·4    that, you know, gave information.· But I don't have them
    ·5    all at my disposal right now.
    ·6    · · · Q· ·I appreciate that.· We're only human.
    ·7    · · · A· ·Like there are 200 employees of people who are
    ·8    dealing with different aspects of the production.· So I can
    ·9    give you the finance guys, the delivery guys, the
    10    production guys.· You've got Aaron Gilbert.· There would be
    11    many people that would comment.
    12    · · · Q· ·Let me pull back the curtain for a moment here.
    13    Okay?
    14    · · · · · You've said that as of February 24th, 2021 when
    15    you told my client certain things, you believed those
    16    things --
    17    · · · A· ·Yes.
    18    · · · Q· ·-- because you got information from people at
    19    BRON and Epic Studios.
    20    · · · A· ·Yes.
    21    · · · Q· ·And I hope you can appreciate that in the
    22    interest of diligence, we then want to go to the people at
    23    BRON and Epic Studios to confirm that, in fact --
    24    · · · · · MR. FRIED:· Just let him ask his questions.
    25    BY MR. JONELIS:


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    ·1    · · · Q· ·-- that adds up, that they did tell you and that
    ·2    you had a good faith reason to believe that at the time.
    ·3    So in the interest of facilitating our efforts, since we're
    ·4    here today, you flew across the country and you're under
    ·5    oath, I'm just trying to get the names.· You provided me
    ·6    with three names -- or one-and-a-half names and a blank
    ·7    from Epic Studios, and one name from BRON.· So now that
    ·8    you've said there's 200 people at BRON, which I'm not
    ·9    asking you to say them all, nor would I expect you to say
    10    that, but as you sit here today under oath, can you tell me
    11    any other names of people at BRON whom you would have
    12    received -- from whom you would have received information
    13    about Monkey Man or Fables in February of 2021?
    14    · · · · · MR. FRIED:· Can I just add -- I just want to make
    15    sure -- you're only limiting it to February or February and
    16    prior?
    17    · · · · · MR. JONELIS:· No.· Let's just do at the time he
    18    made these representations.· That's all I care about.
    19    · · · · · THE WITNESS:· I'll have to put together a list
    20    with my attorneys --
    21    · · · · · MR. FRIED:· Well, as you're --
    22    · · · · · THE WITNESS:· -- in order to get --
    23    · · · · · MR. FRIED:· -- sitting --
    24    · · · · · THE WITNESS:· -- them to you.
    25    · · · · · MR. FRIED:· -- give him whatever names --


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    ·1    · · · · · THE WITNESS:· I -- I don't --
    ·2    · · · · · MR. FRIED:· -- you can think of.
    ·3    · · · · · THE WITNESS:· Jason Chen is the head of Digital
    ·4    Animation Division.· Steven Thibault is the head of
    ·5    Finance.· Joe Guralnick is the head of Business Affairs.
    ·6    There, those -- those are four names.
    ·7    BY MR. JONELIS:
    ·8    · · · Q· ·Can you please spell those names for the record,
    ·9    please.
    10    · · · · · MR. FRIED:· Is it all right if he looks up --
    11    · · · · · MR. JONELIS:· Absolutely.· Of course.
    12    · · · · · THE WITNESS:· Which names are we --
    13    · · · · · MR. FRIED:· Jason Chen.· The names you --
    14    · · · · · THE WITNESS:· Jason C-h-e-n.
    15    · · · · · MR. JONELIS:· Thank you.
    16    · · · · · MR. FRIED:· Just the four names you just gave
    17    him.
    18    · · · · · MR. JONELIS:· Jason Chen.
    19    · · · · · THE WITNESS:· Who's next?
    20    · · · · · MR. JONELIS:· Thibault, you said.
    21    · · · · · MS. LEEKER:· Steven Thibault.
    22    · · · · · MR. JONELIS:· I believe -- because we went
    23    through the e-mails you produced very carefully -- it's
    24    T-h-i-b-a-u-l-t.
    25    · · · · · THE WITNESS:· Yep.


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    ·1    BY MR. JONELIS:
    ·2    · · · Q· ·Am I correct?
    ·3    · · · · · MR. FRIED:· Correct.
    ·4    · · · · · THE WITNESS:· Yep.
    ·5    · · · · · MR. JONELIS:· Score one for our side here.
    ·6    · · · Q· ·And what's --
    ·7    · · · A· ·And Joel --
    ·8    · · · Q· ·-- the next --
    ·9    · · · A· ·-- Guralnick.
    10    · · · Q· ·-- name?
    11    · · · · · And how do you spell that?
    12    · · · A· ·Joel, J-o-e-l.· G-u-r-a-l-n-i-c-k.
    13    · · · · · MR. FRIED:· If you want to leave a space if he
    14    thinks of other names, we're happy to add them.
    15    · · · · · MR. JONELIS:· If you can think of any other
    16    names, Mr. Cloth, yes, we'll add a space.
    17    · · · · · (Information requested: _______________________
    18    ________________________________________________________
    19    ________________________________________________________
    20    ___________________________________________________________
    21    ___________________________________________________________
    22    __________________________________________________________)
    23    BY MR. JONELIS:
    24    · · · Q· ·And just to go back to Marlene blank from Epic
    25    Studios.· Was it Marlene Schmidt whom you're referring to?


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    ·1    S-c-h-m-i-d-t.
    ·2    · · · A· ·Could be, yeah.
    ·3    · · · Q· ·Okay.· But you -- can you confirm that with your
    ·4    attorney?
    ·5    · · · A· ·Oh, yeah.· Yes, I will.
    ·6    · · · · · MR. FRIED:· We'll confirm it.· Sounds right,
    ·7    though.
    ·8    · · · · · MR. JONELIS:· Thank you.
    ·9    · · · Q· ·When you told Mr. Harris on February 24th, 2021
    10    that there was zero risk associated with the Fables Loans,
    11    Bubbles Loans, and HHH Loans, that the Monkey Man Loan
    12    would be paid -- repaid by late summer of 2021, and that
    13    Fables, Bubbles, and the HHH Loans would be repaid worst
    14    case scenario by the third quarter of 2021, when you made
    15    those representations, was it your understanding that
    16    Mr. Harris was taking you at your word?
    17    · · · · · MR. FRIED:· Objection.· Form.
    18    · · · · · You can answer.
    19    · · · · · THE WITNESS:· Yes, I assumed so.
    20    BY MR. JONELIS:
    21    · · · Q· ·Did you understand that Mr. Harris was relying on
    22    what you told him in deciding whether to invest additional
    23    money in connection with Fables, Hailey and the Hero Heart,
    24    and Bubbles?
    25    · · · A· ·I can't say that for certain.


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    ·1    · · · Q· ·Well, what was your understanding as to why
    ·2    Mr. Harris was asking you questions about those projects?
    ·3    · · · · · MR. FRIED:· Objection.· Form.
    ·4    · · · · · If you know, you can answer.
    ·5    · · · · · THE WITNESS:· Probably the same reason why
    ·6    everyone asks.· They want to know when their investment is
    ·7    coming due and when they're getting their money back.
    ·8    BY MR. JONELIS:
    ·9    · · · Q· ·Just to be clear, at this time -- so we can make
    10    sure the chronology is correct -- Mr. Cloth had not made --
    11    · · · · · MR. FRIED:· Mr. Harris.
    12    · · · · · MR. JONELIS:· I'm sorry.· You're correct.· Thank
    13    you, Bill.
    14    · · · Q· ·-- had not yet made an additional investment into
    15    those three projects?· The investment was pending.· He had,
    16    I appreciate, made a small investment previously, but now
    17    he was considering making an additional investment.
    18    · · · · · Is your understanding of the chronology the same
    19    as mine, Mr. Cloth?
    20    · · · A· ·Uh, no.· I -- I -- I don't remember what went on
    21    with, you know, a particular client on a particular day,
    22    you know.· So, no.· I mean, I -- I can take you at your
    23    word, but, no, I -- I don't remember.
    24    · · · · · MR. FRIED:· If you want to make that
    25    representation --


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    ·1    · · · · · THE WITNESS:· Yeah, that's fine.
    ·2    · · · · · MR. FRIED:· -- we don't have a problem.
    ·3    · · · · · MR. JONELIS:· We're going to look at the e-mails.
    ·4    That's fine.· We'll -- we'll figure out the timeline then.
    ·5    · · · · · THE WITNESS:· Yeah, that's fine.
    ·6    BY MR. JONELIS:
    ·7    · · · Q· ·Okay.· So just to be clear, you made these
    ·8    representations to Mr. Cloth -- strike --
    ·9    · · · A· ·Mr. --
    10    · · · Q· ·-- that.
    11    · · · A· ·-- Harris.
    12    · · · Q· ·You made those -- yes.
    13    · · · · · You made these representations to Mr. Harris to
    14    convince him to give you additional money in connection
    15    with Bubbles Hotel, Hailey and the Hero Heart, and Fables,
    16    correct?
    17    · · · A· ·No --
    18    · · · · · MR. FRIED:· Objection to form.
    19    · · · · · THE WITNESS:· -- that's not correct.
    20    BY MR. JONELIS:
    21    · · · Q· ·So why did you make these representations to
    22    Mr. Harris?
    23    · · · · · MR. FRIED:· Objection to the form and
    24    characterization as "representations."
    25    · · · · · THE WITNESS:· Because --


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    ·1    · · · · · MR. FRIED:· You can answer.
    ·2    · · · · · THE WITNESS:· -- he was asking about his
    ·3    investments and repayments.
    ·4    · · · · · MR. JONELIS:· Okay.· Let's take a look briefly at
    ·5    another e-mail from February 24th, 2021.· Let's mark this
    ·6    as Exhibit No. 5.
    ·7    · · · · · THE WITNESS:· Yeah.
    ·8    · · · · · (Exhibit 5 marked)
    ·9    · · · · · MR. JONELIS:· And if I get the exhibit numbers
    10    wrong, I'm sure your counsel or my co-counsel here will
    11    correct me.
    12    · · · Q· ·This is a document Bates marked PLNTF_677 through
    13    678 and is a continuation of the same e-mail string we were
    14    looking at as Exhibit 4.· Do you see, Mr. Cloth, if you
    15    look at this, there's -- at least going down to the middle
    16    where you wrote "Monkey Man late Summer or sooner," and
    17    underneath that, this is the same correspondence we
    18    previously looked at?
    19    · · · A· ·Yes.
    20    · · · Q· ·Do you see that?
    21    · · · · · This is where you told Mr. Harris certain things
    22    to answer his questions about these four projects.· And do
    23    you see at the top of this e-mail, Mr. Harris forwarded
    24    your correspondence to a gentleman named John Spillane at
    25    UBS.· Do you see that?


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    ·1    · · · A· ·I can see it now, yes.
    ·2    · · · Q· ·Okay.· I mean, these were produced to your
    ·3    counsel a while ago, but this is, at the top, an e-mail
    ·4    from Mr. Harris to Mr. Spillane.· Do you see what he wrote?
    ·5    · · · A· ·I do.
    ·6    · · · Q· ·He wrote, "You can read the string below."
    ·7    · · · · · You agree that's referencing the statements you
    ·8    made to Mr. Harris?
    ·9    · · · A· ·(No audible response.)
    10    · · · Q· ·Then do you see he wrote:
    11    · · · · · "I believe him.· Sandy had a call
    12    · · · · · with another potential investor and
    13    · · · · · it went very well.· These are going
    14    · · · · · to be so fast with huge returns."
    15    · · · · · Do you see that?
    16    · · · A· ·Yes.
    17    · · · Q· ·Okay.· Let's please take a look, if we can, at
    18    what we're going to mark as Exhibit No. 6.
    19    · · · · · (Exhibit 6 marked)
    20    · · · · · MR. JONELIS:· This is a document again produced
    21    by my client Bates marked PLNTF_1764 through 1806.
    22    · · · Q· ·Could you take a look at this document, please,
    23    Mr. Cloth.
    24    · · · A· ·Yes.
    25    · · · Q· ·Okay.· Just looking first at -- there's an


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    ·1    e-mail, I'm going to represent to you, with some attached
    ·2    agreements.· Just looking at the e-mail string on the first
    ·3    and second page, have you seen this e-mail before?
    ·4    · · · A· ·No.
    ·5    · · · Q· ·Okay.· And the reason I ask is because you are
    ·6    not cc'd on the e-mail.· I don't know if maybe it had been
    ·7    forwarded to you.
    ·8    · · · · · Turning to the second page.· Do you see where
    ·9    someone named Erin Hicks at Schmidt Financial sent an
    10    e-mail to my client on February 18th -- February 18th,
    11    2021, copying somebody named Sandy Schmidt?· Do you see
    12    that?
    13    · · · A· ·Yes.
    14    · · · Q· ·Okay.· To your knowledge, who is Erin Hicks?
    15    · · · A· ·I think a support person at Schmidt Financial.
    16    · · · Q· ·And what's Schmidt Financial, to your knowledge?
    17    · · · A· ·It's an insurance advisory firm where Mr. Harris
    18    was a client.
    19    · · · Q· ·Okay.· And who is Sandy Schmidt, to your
    20    knowledge?
    21    · · · A· ·Uh, he's the principal of the firm.
    22    · · · Q· ·Okay.· And do you have a business relationship
    23    with Mr. Schmidt?
    24    · · · A· ·Yes, we do.
    25    · · · Q· ·How would you describe your business relationship


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    ·1    with Mr. Schmidt?
    ·2    · · · A· ·He's a registered representative that raised
    ·3    capital for Creative Wealth film projects.
    ·4    · · · Q· ·Okay.· More colloquially, he helped you bring in
    ·5    investors to Creative Wealth, correct?
    ·6    · · · · · MR. FRIED:· Objection to form.
    ·7    · · · · · You can answer.
    ·8    · · · · · THE WITNESS:· He's a registered representative
    ·9    licensed in the state of Illinois to raise capital, yes.
    10    BY MR. JONELIS:
    11    · · · Q· ·Okay.· And was he, to your knowledge, the
    12    individual who raised Mr. Harris' capital in connection
    13    with Bubbles Hotel, Fables and Hailey and the Hero Heart?
    14    · · · A· ·Well, I mean, I think it might have been a joint
    15    effort.· Sandy wasn't all that astute in understanding some
    16    of the nuances of some of this stuff so it was probably him
    17    and I, yes.
    18    · · · Q· ·Okay.· But he was involved?
    19    · · · A· ·Yes.
    20    · · · Q· ·Okay.· I'm just -- I'm just trying to lay some
    21    foundation because we're going to look at the actual
    22    e-mail.
    23    · · · · · You see that in this e-mail attached two
    24    agreements, which we've marked as Exhibit 6, Ms. Hicks on
    25    February 18th sends an e-mail to Mr. Harris writing:


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    ·1    · · · · · "Hi, Robert,
    ·2    · · · · · "Sandy asked me to send you the
    ·3    · · · · · investor documents for the following
    ·4    · · · · · three investments:
    ·5    · · · · · "CWM Bubbles Hotel 750K
    ·6    · · · · · "CWM Fables 750K
    ·7    · · · · · "CWM Hailey & the Hero Heart 750K."
    ·8    · · · · · Do you see that?
    ·9    · · · A· ·Yes.
    10    · · · Q· ·And I assume CWM stands for Creative Wealth
    11    Media?
    12    · · · A· ·Yes.
    13    · · · Q· ·Okay.· And these figures -- 750K, 750K, 750K --
    14    these figures are what Mr. Harris was contemplating
    15    contributing to each of those three projects, correct?
    16    · · · · · MR. FRIED:· If you know.
    17    · · · · · THE WITNESS:· Look, these e-mails are between
    18    Erin and Robert.· I'm seeing them for the first time.· I --
    19    I -- I mean, I can only -- do you want me to guess based on
    20    what I'm reading?
    21    · · · · · MR. FRIED:· He --
    22    · · · · · THE WITNESS:· Or --
    23    · · · · · MR. FRIED:· -- doesn't want you to guess.
    24    · · · · · MR. JONELIS:· I'll handle that.
    25    · · · · · THE WITNESS:· Okay.· Well, then, I don't know.


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    ·1    Like I wasn't cc'd on these e-mails.· So I -- it -- it
    ·2    looks like these are investment amounts that Mr. Harris
    ·3    agreed to with Schmidt Financial.
    ·4    BY MR. JONELIS:
    ·5    · · · Q· ·Let me -- let me -- you say "guess."· Let me just
    ·6    give you just a real quick thing that some attorneys do at
    ·7    the beginning, but you brought it up.· So if I were to ask
    ·8    you, Mr. Harris, how long is this table --
    ·9    · · · A· ·Sorry.· Are you asking him or are you asking me?
    10    · · · · · MR. JONELIS:· I'm sorry.· If I'm going to ask
    11    you, Mr. Cloth -- this is going to be a blunder I'm sure
    12    I'm going to make all day.
    13    · · · · · MR. FRIED:· It's okay.
    14    · · · · · MR. JONELIS:· So apologies --
    15    · · · · · THE WITNESS:· Okay.
    16    · · · · · MR. JONELIS:· -- in advance.
    17    · · · · · THE WITNESS:· No problem.
    18    · · · · · MR. JONELIS:· Great.
    19    · · · Q· ·If I were to ask you, Mr. Cloth, how long is the
    20    table, would you be able to estimate?
    21    · · · A· ·Sure, if you wanted me to guess.
    22    · · · Q· ·No.· No, no.· No, no.· I don't want you to guess.
    23    Would you be able to estimate?
    24    · · · A· ·My estimate would be a guess.
    25    · · · Q· ·Okay.· Well, let me -- let --


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    ·1    · · · A· ·No, I couldn't be exact without a measuring tape.
    ·2    So you're asking me to be exact on an e-mail where I'm not
    ·3    cc'd.· I don't know what was in Erin's mind when she sent
    ·4    the e-mail to Mr. Harris.
    ·5    · · · · · MR. JONELIS:· Okay.· I appreciate --
    ·6    · · · Q· ·What I'm trying to get at here -- and, again,
    ·7    maybe it's -- it's going the wrong way here.· You seem
    ·8    frustrated.· But here -- here's the thing.· All I'm saying
    ·9    is when I ask you a question here today, I'm entitled to an
    10    estimate.· Do you understand the difference, Mr. Cloth,
    11    between an estimate and a guess?
    12    · · · · · MR. FRIED:· You know, I --
    13    · · · · · THE WITNESS:· Not really.
    14    · · · · · MR. FRIED:· -- with all due respect, I don't
    15    agree with what you just said.
    16    · · · · · THE WITNESS:· I don't under- -- I don't know.
    17    · · · · · MR. FRIED:· I don't believe a judge would agree
    18    with that.· I'm not going to stop you from asking --
    19    · · · · · THE WITNESS:· An estimate --
    20    · · · · · MR. FRIED:· Let me, Jason, please.
    21    · · · · · THE COURT REPORTER:· You know, guys, I can only
    22    do one at a time.
    23    · · · · · MR. FRIED:· All right.· I'm sorry --
    24    · · · · · THE COURT REPORTER:· I've got three of you.
    25    · · · · · MR. FRIED:· -- ma'am.


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    ·1    · · · · · David, I don't think I agree with what you just
    ·2    said and I don't believe a Court would agree, but I don't
    ·3    want to waste your time or the witness' time so you can go
    ·4    on.
    ·5    · · · · · But I would object to him ask -- answering estimates,
    ·6    but I don't think that's what you're asking him anyway.
    ·7    · · · · · MR. JONELIS:· Let me -- Bill, that's great.· Let
    ·8    me -- the point here is what I'm expecting from you today.
    ·9    You can see this table.· So you would have some information
    10    at least to rely upon in order to give me an answer.· You
    11    can say, "Well, I know that I'm -- I'm five-feet-ten, so
    12    maybe three of me across here."· It's an estimate.· It's
    13    not accurate 100 percent, but it's a reasonable estimate.
    14    If I were to ask you, Mr. Cloth, how long is the dining
    15    room table at my house, you'd have absolutely no
    16    information on which to rely.· That would be a guess.· And
    17    that wouldn't hold up.· But I do believe -- disagreeing
    18    with your counsel here -- if I were to ask you to estimate
    19    how long this table is and you stood up, it's something
    20    there, you could at least have some form of information.
    21    · · · · · So my point here is, when you say, "I'd have to
    22    guess" --
    23    · · · · · THE WITNESS:· Well, here --
    24    · · · · · MR. FRIED:· Let him -- let him just -- he hasn't
    25    asked you a question yet.


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    ·1    · · · · · THE WITNESS:· But I'm trying to respond.· Here's
    ·2    the problem.· You guys are dealing in exacts so when you
    ·3    ask me to guess or estimate, I'm not comfortable.· I'm not
    ·4    cc'd on this e-mail.· So that's my answer.· I'm not
    ·5    responding any longer to it.
    ·6    · · · · · MR. FRIED:· Listen, if you just want to know if
    ·7    he had any information that these are the amounts
    ·8    Mr. Harris was considering investing, you can ask him that
    ·9    question.· I think what you're throwing him on is that
    10    you're throwing him an e-mail that he's never seen before.
    11    That's the problem.· It's not the numbers.· It's that the
    12    e-mail -- he's focused on the e-mail.
    13    · · · · · THE WITNESS:· You're asking me to comment on
    14    something where I'm -- I'm not included on this e-mail.
    15    You'd have to call Sandy or Erin and find out.· On the
    16    surface it looks like a bona fide investment where
    17    Mr. Harris was investing 750, 750 and 750 into three
    18    separate projects.· That's what it looks like on the
    19    surface to me.· Does that answer your question?
    20    BY MR. JONELIS:
    21    · · · Q· ·Well, there wasn't a question pending, but
    22    here -- here's --
    23    · · · A· ·Fuck.
    24    · · · · · MR. FRIED:· Let him ask --
    25    · · · · · MR. JONELIS:· Did you --


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    ·1    · · · · · MR. FRIED:· -- a question.
    ·2    · · · · · MR. JONELIS:· -- get that?
    ·3    · · · Q· ·Let me -- let me do this.· Some attorneys are
    ·4    going to waste 30 minutes of time at the beginning of the
    ·5    deposition, Mr. Cloth, explaining to you how the deposition
    ·6    process works.· I do it a little different.· When something
    ·7    comes up, we're going to discuss it.
    ·8    · · · · · So you used the word guess and I thought it was
    ·9    an important time to explain to you that I don't want you
    10    to guess and I just want you to give me your best
    11    understanding.
    12    · · · A· ·Yep.
    13    · · · Q· ·Let's turn, if you can -- let's just make this
    14    easy.· Okay?
    15    · · · · · If you go to the attachment to this e-mail that
    16    we've marked as Exhibit 6.· Go to the first page of the
    17    attachment.· Do you see that?· It says "Term Sheet
    18    Financing For BRON Digital Series Entitled "Bubbles Hotel."
    19    Do you see that?
    20    · · · A· ·Yes.
    21    · · · Q· ·Keep turning, please, Mr. Cloth.· Keep turning.
    22    Page 3.· Do you see at the bottom of page 3 --
    23    · · · A· ·Yes.
    24    · · · Q· ·-- there is something that says:
    25    · · · · · "Agreed and accepted as of the date written


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    ·1    above.
    ·2    · · · · · "Creative Wealth Media Finance Corp.
    ·3    · · · · · "By:" signature --
    ·4    · · · A· ·Yep.
    ·5    · · · Q· ·-- "Name:· Jason Cloth."
    ·6    · · · A· ·Yes.
    ·7    · · · Q· ·Is that your signature?
    ·8    · · · A· ·Yes.
    ·9    · · · Q· ·Back up a moment.· Go back a page, please.· Go
    10    back another page, please.
    11    · · · · · This is the first page of the first attachment to
    12    Exhibit 6.· Do you see there in the 1, 2, 3, 4 -- fifth
    13    bullet point down that says "Loan," it says:
    14    · · · · · "Subject to satisfaction of certain
    15    · · · · · conditions precedent, as more fully
    16    · · · · · set forth in a subsequent agreement,
    17    · · · · · Investor will advance to Media Fund
    18    · · · · · the amount of 750,000 U.S. dollars."
    19    · · · · · Do you see that?
    20    · · · A· ·Yes.
    21    · · · Q· ·Okay.· So just getting back to my question.· Is
    22    it your understanding that Mr. Cloth -- that Mr. Harris
    23    invested $750,000 into each of the projects that are listed
    24    in Ms. Hicks' e-mail on the second page of Exhibit 6?
    25    · · · A· ·Yes.· It seems so.


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    ·1    · · · Q· ·Fantastic.
    ·2    · · · · · All right.· So that's a total of 2.25 million
    ·3    dollars.
    ·4    · · · · · And is your understanding, Mr. Cloth, that the
    ·5    2.25 million dollars that my client contributed to Bubbles,
    ·6    Fables and Hailey and the Hero Heart at or around the time
    ·7    of this e-mail is on top of monies that he already
    ·8    contributed to those projects back at an earlier date?
    ·9    · · · A· ·I would -- without knowing the total value of his
    10    portfolio, it -- I do know he invested far more than what's
    11    here.
    12    · · · Q· ·Okay.· So when Ms. Hicks is writing "Sandy asked
    13    me to send the investor documents for the following three
    14    investments. . ." -- okay -- and then you turn to the
    15    attachment --
    16    · · · · · THE VIDEOGRAPHER:· I was just -- his mic.
    17    · · · · · You can probably just leave it on the table.
    18    That would be fine.
    19    · · · · · I apologize.
    20    BY MR. JONELIS:
    21    · · · Q· ·And you see that attached to this -- and feel
    22    free to go through it if you want -- there's three
    23    agreements.· One for Bubbles, one for Hailey, one for
    24    Fables.· Is it your understanding that the investor
    25    documents that Ms. Hicks is referring to are those three


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    ·1    agreements?
    ·2    · · · A· ·Yes.
    ·3    · · · Q· ·Okay.· Fair enough.
    ·4    · · · · · And if you look at the date of Ms. Hicks' e-mail,
    ·5    top of page 2 of Exhibit 6, it's February 18th, 2021,
    ·6    correct?
    ·7    · · · · · MR. FRIED:· He's referring to this.
    ·8    · · · · · THE WITNESS:· Oh.· Yes.
    ·9    BY MR. JONELIS:
    10    · · · Q· ·Okay.· And we previously spent some time talking
    11    about certain representations you made to Mr. Harris on
    12    February 24th, 2021.· Do you remember that?
    13    · · · · · MR. FRIED:· Objection to form.
    14    · · · · · You can answer.
    15    · · · · · THE WITNESS:· I made estimated representations to
    16    Mr. Harris on those dates, but I can't agree with the
    17    assertion that I made them as an inducement for Mr. Harris
    18    to invest more money.
    19    BY MR. JONELIS:
    20    · · · Q· ·I'm not asking -- that's going to be the jury or
    21    the judge's job.
    22    · · · · · What I'm asking you to do is simple math.
    23    · · · A· ·Okay.
    24    · · · Q· ·They say the people good at math went to business
    25    school.· The ones not as good went to law school.· So help


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    ·1    me out here.· 18 comes before 24, correct, Mr. --
    ·2    · · · A· ·Yes.
    ·3    · · · Q· ·-- Cloth?
    ·4    · · · · · So these agreements were sent by Ms. Hicks to my
    ·5    client on February 18th?
    ·6    · · · A· ·Yes.
    ·7    · · · Q· ·You made the representations that we previously
    ·8    looked at on February 24th, correct?
    ·9    · · · A· ·Yes.
    10    · · · Q· ·So isn't it correct that Mr. Harris was sent the
    11    agreements for these projects prior to when you made the
    12    representations that we just discussed?
    13    · · · · · MR. FRIED:· Objection to form.
    14    · · · · · You can answer.
    15    · · · · · THE WITNESS:· Yes --
    16    · · · · · MR. JONELIS:· Okay.
    17    · · · · · THE WITNESS:· -- it would seem so.
    18    BY MR. JONELIS:
    19    · · · Q· ·So, more specifically, Mr. Harris receives the
    20    paperwork on February 18th, and then you tell him on
    21    February 24th the projects had zero risk, and would pay out
    22    by the third quarter of 2021; is that correct?
    23    · · · A· ·That's, I guess, the timeline that it shows here.
    24    · · · Q· ·Fantastic.
    25    · · · · · Looking at the first page of the exhibit, and


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    ·1     then we'll move on, do you see where Ms. Hicks wrote on
    ·2     March 16th, 2021 -- this is the bottom of the first page.
    ·3     · · · A· ·Oh, this one.· Yep.
    ·4     · · · Q· ·(Reading):
    ·5     · · · · · "Hi, Robert,
    ·6     · · · · · "I wanted to follow up with you
    ·7     · · · · · regarding the latest investments
    ·8     · · · · · with Creative Wealth Media."
    ·9     · · · · · Do you see that?
    10     · · · A· ·Yes.
    11     · · · Q· ·Do you see that --
    12     · · · A· ·Yes.
    13     · · · Q· ·-- Mr. Cloth?
    14     · · · · · "CWM confirmed receipt of your wire
    15     · · · · · last week, however, I have been
    16     · · · · · informed that the signed paperwork
    17     · · · · · is still outstanding."
    18     · · · · · Do you see that?
    19     · · · A· ·Yes.
    20     · · · Q· ·So Mr. Harris wired his 2.25 million in
    21     connection with Fables, Hailey, and Bubbles before he
    22     actually signed the agreement; isn't that correct,
    23     Mr. Cloth?
    24     · · · A· ·Yes.
    25     · · · Q· ·Okay.· The money was wired after you made the


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    ·1    representations on February 24th, correct?
    ·2    · · · · · MR. FRIED:· Objection to form.
    ·3    · · · · · You can answer.
    ·4    · · · · · THE WITNESS:· I -- I don't know that for sure.
    ·5    I'd have to -- there is nowhere in here that said the --
    ·6    you know, the exact date that the money was received.
    ·7    BY MR. JONELIS:
    ·8    · · · Q· ·What would you have to look at, Mr. Cloth?
    ·9    · · · A· ·I don't know.· We'd have to go through our
    10    banking records.
    11    · · · · · MR. JONELIS:· Oh.· Let's see here.
    12    · · · Q· ·Would this be helpful?
    13    · · · · · I'm going to mark as Exhibit -- where are we
    14    at? -- 7 now, a copy of a document Bates marked
    15    PLNTF_01705.
    16    · · · · · (Exhibit 7 marked)
    17    · · · · · MR. JONELIS:· There you go.· It's a, I'll
    18    represent to you, a wire transfer completion confirmation
    19    from a UBS account to a Bank of America account for the
    20    amount of 2.25 million dollars.
    21    · · · · · THE WITNESS:· Yeah.· You have the answer, then.
    22    · · · · · MR. FRIED:· He hasn't asked the question yet.
    23    · · · · · THE WITNESS:· Okay.· But, yes, that -- that's
    24    what it is.
    25    · · · · · MR. JONELIS:· Let me -- let me ask the question.


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    ·1    Okay?· Thank you.
    ·2    · · · Q· ·So Mr. Harris' 2.25 million dollars was wired to
    ·3    you on March 5th, 2021 after you had made the
    ·4    representations from February 24th, 2021 that we previously
    ·5    discussed --
    ·6    · · · · · MR. FRIED:· Objection.
    ·7    BY MR. JONELIS:
    ·8    · · · Q· ·-- correct?
    ·9    · · · · · MR. FRIED:· Objection to form.
    10    · · · · · You can answer.
    11    · · · · · THE WITNESS:· Yes.· After the estimated
    12    representations and, to the best of my knowledge, from
    13    speaking to the studios, yes, he made subsequent
    14    investments.
    15    · · · · · MR. JONELIS:· All right.· Let's move on.
    16    · · · Q· ·Are you familiar, Mr. Cloth, with the term
    17    greenlit?
    18    · · · A· ·Yes.
    19    · · · Q· ·Okay.· What does the term greenlit mean to you in
    20    the context of the film and television industry?· And it's
    21    just your own percipient understanding.· I want -- your
    22    attorney may object saying it calls for expert testimony.
    23    We can bring in an expert to talk about this, but what I
    24    want to know about right now is you, Mr. Cloth, when you
    25    use the term greenlit, what does that mean to you in the


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    ·1    context of your business?
    ·2    · · · A· ·It means the producing studio has agreed to
    ·3    produce a given show, sometimes for a particular length of
    ·4    time.· But a studio --
    ·5    · · · · · (Reference requested)
    ·6    · · · · · MR. FRIED:· Wait.· You've answered his question.
    ·7    Do you want to add to your answer?· I'm sorry.· I didn't
    ·8    mean to -- if you want to add to your answer, go ahead.
    ·9    · · · · · THE WITNESS:· No.· Never mind.· It's okay.
    10    · · · · · MR. FRIED:· You answered his question.
    11    · · · · · THE WITNESS:· No.· It's okay.· Never mind.
    12    · · · · · MR. FRIED:· He'll ask you another question.
    13    Don't worry.
    14    · · · · · MR. JONELIS:· Pam, could you put a little mark
    15    next to that in the transcript, that answer?
    16    · · · · · Thank you.
    17    · · · Q· ·I appreciate that, Mr. Cloth.
    18    · · · · · What about a particular season of a television
    19    project?· And I know you said that sometimes, you know, for
    20    a particular number of seasons.· If a particular season of
    21    a television project is greenlit, what does that mean to
    22    you, Mr. Cloth?
    23    · · · A· ·It means that the studio is prepared to produce
    24    it.
    25    · · · Q· ·And what do you mean by "prepared to produce it"?


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    ·1    · · · A· ·It's what I mean.· They're produced -- they're
    ·2    prepared to produce it.· That means they've got the
    ·3    resources, the capital to produce the TV show.
    ·4    · · · Q· ·Are you familiar with the --
    ·5    · · · A· ·Make it.
    ·6    · · · Q· ·Anything else?
    ·7    · · · A· ·No.
    ·8    · · · Q· ·Okay.· Are you familiar with the project called
    ·9    The Pathway?
    10    · · · A· ·Yes.
    11    · · · Q· ·What is The Pathway?
    12    · · · A· ·The Pathway was a reality show that BRON produced
    13    in association with the NBA, tracking four or five high
    14    school players that decided to forego college basketball
    15    and go through the development league of the NBA.
    16    · · · Q· ·Mr. Harris, at least through one of his entities,
    17    invested the sum of $6,573,024 --
    18    · · · A· ·Yes.
    19    · · · Q· ·-- in --
    20    · · · · · MR. FRIED:· Let him ask his question.
    21    BY MR. JONELIS:
    22    · · · Q· ·Remember, we got a court reporter here and if you
    23    talk over to me and we try --
    24    · · · A· ·Yeah.
    25    · · · Q· ·-- to look at this answer in the future,


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    ·1    everybody's going to be confused.· Judge, jury --
    ·2    · · · A· ·Okay.
    ·3    · · · Q· ·-- and your attorneys, and me.· So let me ask it
    ·4    again.
    ·5    · · · · · Mr. Harris, through one of his entities, invested
    ·6    the sum of $6,573,024 in connection with The Pathway,
    ·7    correct?
    ·8    · · · A· ·Yes.
    ·9    · · · Q· ·Okay.· Before Mr. Harris invested that money, did
    10    you ever tell him, Mr. Cloth, that The Pathway had been
    11    greenlit for five seasons?
    12    · · · A· ·The greenlight that was referred to was that BRON
    13    was prepared to produce the show for five seasons.· And
    14    further to that, it was in discussions around creating
    15    pro forma financials as to how the financial outcome would
    16    look if the show went for five seasons.
    17    · · · · · MR. JONELIS:· That one I'm going to move to
    18    strike based on lacks foundation and nonresponsive.
    19    · · · · · Put a pin in that.
    20    · · · · · So let me ask again.
    21    · · · · · MR. FRIED:· Okay.· He can -- he can make any
    22    record he wants.
    23    · · · · · MR. JONELIS:· Again --
    24    · · · · · MR. FRIED:· Just answer his questions.
    25    · · · · · MR. JONELIS:· -- the point here, Mr. Cloth, is


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    ·1    not to be argumentative.· So we just put this on the record
    ·2    so that down the line a judge can rule.· That's the only --
    ·3    that's why your attorney does it.· It's why I will very
    ·4    rarely do it.· Let me ask the question again.
    ·5    · · · Q· ·Before Mr. Harris invested $6,537,024 into The
    ·6    Pathway, did you ever tell him that The Pathway had been
    ·7    greenlit for five seasons; yes or no?
    ·8    · · · · · MR. FRIED:· That's a different question.
    ·9    · · · · · THE WITNESS:· Yeah.
    10    · · · · · MR. FRIED:· But you can answer it.· Yes or no?
    11    · · · · · THE WITNESS:· By the studio --
    12    · · · · · MR. FRIED:· Yes or no?
    13    · · · · · THE WITNESS:· It's not a yes or no answer.
    14    · · · · · MR. FRIED:· Then you've answered his question.
    15    · · · · · MR. JONELIS:· Okay.· Let's move on.
    16    · · · Q· ·So just to be clear, as you sit here today, you
    17    don't recall ever telling Mr. Harris that before he made
    18    his over $6,000,000 investment, that The Pathway had been
    19    greenlit --
    20    · · · A· ·By BRON Stu- --
    21    · · · · · MR. FRIED:· Let him -- let him finish his
    22    question.
    23    · · · · · MR. JONELIS:· Would you --
    24    · · · · · MR. FRIED:· Let him finish --
    25    · · · · · MR. JONELIS:· -- like to take a break,


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    ·1    Mr. Harris --
    ·2    · · · · · MR. FRIED:· -- his question.
    ·3    · · · · · THE WITNESS:· I don't want --
    ·4    · · · · · MR. JONELIS:· -- Mr. Cloth?
    ·5    · · · · · THE WITNESS:· -- to --
    ·6    · · · · · MR. FRIED:· Jason, let him -- you have to let him
    ·7    ask his question.· You'll get your opportunity.
    ·8    · · · · · THE WITNESS:· Okay.· Ask away.
    ·9    · · · · · MR. JONELIS:· Would you like to take a break,
    10    Mr. Cloth?
    11    · · · · · THE WITNESS:· No, I don't need to take a break.
    12    · · · · · MR. FRIED:· Okay.· Jason --
    13    · · · · · MR. JONELIS:· Could you put your phone down,
    14    please, Mr. Cloth?
    15    · · · · · MR. FRIED:· Please, Jason --
    16    · · · · · THE WITNESS:· Honestly, they're not -- they're
    17    not letting me explain what went on.· They're taking
    18    questions out of context.
    19    · · · · · MR. FRIED:· It's his deposition, though.· You'll
    20    get your opportunity.
    21    · · · · · THE WITNESS:· Okay.
    22    · · · · · MR. JONELIS:· Mr. Cloth, please put your phone
    23    down.
    24    · · · · · I'm -- again, I'm not trying to be rude.· This is
    25    the decorum here.


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    ·1    · · · · · THE WITNESS:· You're -- you're not being rude.
    ·2    You're -- you've got a complete lack of understanding of
    ·3    what went on.
    ·4    · · · · · MR. FRIED:· Jason, let him ask his questions.
    ·5    · · · · · THE WITNESS:· Ask your question.
    ·6    · · · · · MR. JONELIS:· You've hired two --
    ·7    · · · · · THE WITNESS:· Ask your question.
    ·8    · · · · · MR. JONELIS:· You've hired two -- for the record,
    ·9    you've hired two very fine attorneys who have been very
    10    professional, who are very well-qualified --
    11    · · · · · THE WITNESS:· Okay.
    12    · · · · · MR. JONELIS:· -- to tell your side of the story
    13    when it comes time to tell your side of the story.· But,
    14    respectfully --
    15    · · · · · THE WITNESS:· Okay.
    16    · · · · · MR. JONELIS:· -- this is my client's time to ask
    17    our questions.
    18    · · · · · THE WITNESS:· Yep.
    19    · · · · · MR. JONELIS:· And you're required, not because we
    20    say so, but by the Federal Rules of Civil Procedure to
    21    answer our question because people with more superiority
    22    than anybody in this room had made that rule.· We're just
    23    following the rule, Mr. Cloth.
    24    · · · · · THE WITNESS:· Great.· Ask your question.
    25    BY MR. JONELIS:


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    ·1    · · · Q· ·So let me ask you again.· Is it your position
    ·2    here today that before my client, Mr. Harris, gave you 6.5
    ·3    million dollars of his money in connection with The
    ·4    Pathway, you never told him that The Pathway had been
    ·5    greenlit for five seasons?
    ·6    · · · A· ·No, I did not.
    ·7    · · · Q· ·Let's take a look -- well, let me ask -- let's
    ·8    even start off before that.
    ·9    · · · · · How about Sandy Schmidt, did you ever tell Sandy
    10    Schmidt before Mr. Harris had invested his 6.5 million
    11    dollars in The Pathway, that it had been greenlit for five
    12    seasons?
    13    · · · A· ·I don't recall.
    14    · · · Q· ·Okay.
    15    · · · · · Let's mark as Exhibit -- what?
    16    · · · · · MS. LEEKER:· 7.
    17    · · · · · MR. JONELIS:· -- 7 --
    18    · · · · · THE COURT REPORTER:· 8.
    19    · · · · · MS. LEEKER:· 8.
    20    · · · · · MR. JONELIS:· -- 8 --
    21    · · · · · MS. LEEKER:· Go, Pam.
    22    · · · · · MR. FRIED:· Told you I'd mess that one up.
    23    · · · · · MS. LEEKER:· I was looking right at it.
    24    · · · · · MR. FRIED:· Don't worry.· Let him ask his
    25    questions.


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    ·1    · · · · · THE WITNESS:· Sure.
    ·2    · · · · · MR. FRIED:· He's just doing his job.
    ·3    · · · · · MR. JONELIS:· This is an e-mail that was not
    ·4    produced in this case, but is being used, pursuant to our
    ·5    discovery responses, solely for impeachment purposes.· Here
    ·6    is a copy here.· To be more specific, because I see Bill is
    ·7    wondering, our response said we're going to give all
    ·8    documents responsive other than documents used solely for
    ·9    impeachment purposes.· I'm just saying that because there
    10    was an agreement here that to the extent we were going to
    11    use any documents at deposition, we were just going to use
    12    ones pursuant to our discovery response.· We preserved the
    13    right.· That's why.· So this will take 20 seconds and it
    14    will be noncontroversial.
    15    · · · · · MR. FRIED:· Did they?
    16    · · · · · MR. BAZIAN:· Yeah.· Yes.
    17    · · · · · (Exhibit 8 marked)
    18    BY MR. JONELIS:
    19    · · · Q· ·So, Mr. Cloth, take a look at this e-mail we've
    20    marked as Exhibit 8.
    21    · · · · · MR. FRIED:· Oh, no problem.
    22    · · · · · THE WITNESS:· Yes.
    23    · · · · · MR. FRIED:· Just for the record, I -- again, you
    24    and I obviously come from different worlds on this.                I
    25    don't believe you can impeach a witness with an e-mail that


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    ·1    he's not on.· So I object -- again, I'm not going -- I
    ·2    don't want to waste your time and I want to get out of
    ·3    here.· Ask your questions.· Please note I will move to
    ·4    strike this entire line of questioning.· And it is so
    ·5    off-the-wall improper, David.· Maybe in California, you can
    ·6    do this.· I've litigated in Florida a lot and New York.
    ·7    You can't do it there, but have at it.
    ·8    · · · · · And you should have produced this to us in
    ·9    discovery, by the way, and we will take it up with you in
    10    writing after the deposition.
    11    · · · · · Go ask your questions.· And if I sound pissed
    12    off, I am.
    13    · · · · · Ask your questions.
    14    · · · · · MR. JONELIS:· And I -- I will apol- --
    15    · · · · · MR. FRIED:· Ask your questions.
    16    · · · · · MR. JONELIS:· All right.· I'm --
    17    · · · · · MR. FRIED:· You should have produced this goddamn
    18    document.· You and your associate.· It's not right.· I'm
    19    glad your client's listening to this.· We don't practice
    20    law like that.
    21    BY MR. JONELIS:
    22    · · · Q· ·Mr. Cloth, this appears to be an e-mail that
    23    Sandy Schmidt sent to Robert Harris on February 5th, 2023.
    24    Do you see where Mr. Schmidt wrote:
    25    · · · · · "Robert, Jason told me Pathway was


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    ·1    · · · · · greenlit for five seasons in
    ·2    · · · · · approx- --
    ·3    · · · · · Well, not "in."· Let me be specific.
    ·4    · · · · · Do you see where Mr. Schmidt wrote:
    ·5    · · · · · "Robert,
    ·6    · · · · · "Jason told me Pathway was greenlit
    ·7    · · · · · for 5 seasons approximately April
    ·8    · · · · · 2021"?
    ·9    · · · · · Do you see that?
    10    · · · A· ·Yes.
    11    · · · Q· ·Does this change in any way your testimony as to
    12    whether you ever told Mr. Schmidt that The Pathway had been
    13    greenlit for five seasons?
    14    · · · A· ·No, it does not.
    15    · · · Q· ·Okay.· Is it your position that Mr. Schmidt is
    16    lying?
    17    · · · · · MR. FRIED:· Objection to form.
    18    · · · · · You can answer.
    19    · · · · · THE WITNESS:· I don't know whether or not
    20    Mr. Schmidt is lying, but I don't change my answer.
    21    · · · · · MR. JONELIS:· Okay.· That's going to be the only
    22    exhibit today, I'll represent to you, that's going to piss
    23    off your attorney.· Let's move on.
    24    · · · · · MR. FRIED:· You should have produced it.· That's
    25    all.


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    ·1    · · · · · MR. JONELIS:· Let's move on.
    ·2    · · · · · I'm going to show you what we're going to mark as
    ·3    Exhibit 9.· All right.· This is a document -- this one was
    ·4    produced by your attorneys, Mr. Cloth.· No surprises here.
    ·5    · · · · · MR. FRIED:· Well, that you can use.
    ·6    · · · · · MR. JONELIS:· I appreciate that, Mr. Fried.
    ·7    · · · · · Produced by your attorneys, Bates marked CW -- I
    ·8    assume that's Creative Wealth -- _0001919 through 1920.
    ·9    · · · · · (Exhibit 9 marked)
    10    BY MR. JONELIS:
    11    · · · Q· ·This appears, Mr. Cloth, to be an e-mail exchange
    12    between you and Mr. Harris on May 13th, 2021 with the
    13    subject line The Pathway.· Do you see that?
    14    · · · A· ·Yes.
    15    · · · Q· ·Do you recall as you sit here today receiving in
    16    e-mail from Mr. Harris?
    17    · · · A· ·I don't recall, but it looks valid.
    18    · · · Q· ·Okay.· So you have no reason as you sit here
    19    today to believe you did not receive this e-mail?
    20    · · · A· ·No.
    21    · · · Q· ·Especially --
    22    · · · A· ·That's correct.
    23    · · · Q· ·-- since it was given to you -- to us by your
    24    attorneys.
    25    · · · A· ·Yeah.


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    ·1    · · · Q· ·Mr. Cloth, do you see where Mr. Harris wrote on
    ·2    the first page:
    ·3    · · · · · "Hi, Jason.
    ·4    · · · · · "We're in the home stretch.· UBS
    ·5    · · · · · tells me that they should be ready
    ·6    · · · · · to wire tomorrow but it could be
    ·7    · · · · · Monday"?
    ·8    · · · · · Do you see that?
    ·9    · · · A· ·Yes.
    10    · · · Q· ·So Mr. Harris sent you this e-mail just prior to
    11    when he was about to wire the money for The Pathway,
    12    correct?
    13    · · · A· ·Yes.
    14    · · · Q· ·Okay.· And do you see that he went on to write:
    15    · · · · · "I would just like to offer my
    16    · · · · · understanding of the waterfall from
    17    · · · · · the schedule you provided which is
    18    · · · · · attached"?
    19    · · · · · Do you see that?
    20    · · · A· ·Yes.
    21    · · · Q· ·Okay.· And if you could turn to the next page, in
    22    the interest of completion, do you see that there's a
    23    summary or a schedule of the estimated waterfall for The
    24    Pathway?· Do you see that?
    25    · · · A· ·I do.


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    ·1    · · · Q· ·And do you see at the bottom of the chart there's
    ·2    a reference to Creative Wealth's estimated net profit
    ·3    participations for Seasons 2 through 5?· Do you see that?
    ·4    · · · A· ·I do.
    ·5    · · · Q· ·Okay.· Turning back to the first page.
    ·6    · · · · · Right after Mr. Harris wrote that he would,
    ·7    quote/unquote, just like to offer his understanding.· He
    ·8    wrote:
    ·9    · · · · · "Seasons 2 - 5 will for sure be
    10    · · · · · released and you will be able to go
    11    · · · · · to the bank and loan against that
    12    · · · · · future stream.· Is that stream
    13    · · · · · typically paid up front or is it due
    14    · · · · · at the beginning of each season?
    15    · · · · · Once green lit, can it be
    16    · · · · · cancelled?"
    17    · · · · · Do you see that?
    18    · · · A· ·Yes.
    19    · · · Q· ·Okay.· Does this change your testimony as to
    20    whether you ever told Mr. Harris that The Pathway had been
    21    greenlit for five seasons before he invested his 6.5
    22    million dollars into that project?
    23    · · · A· ·No, it does not.
    24    · · · Q· ·So you still maintain you never told him that The
    25    Pathway was greenlit for five seasons, notwithstanding this


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    ·1    exhibit?
    ·2    · · · A· ·Yes, I do.
    ·3    · · · · · MR. FRIED:· Objection to form.
    ·4    · · · · · You can answer.
    ·5    · · · · · THE WITNESS:· I do, yes.
    ·6    BY MR. JONELIS:
    ·7    · · · Q· ·Did you ever respond to Mr. Harris' question?
    ·8    · · · · · MR. FRIED:· There's more -- objection.· There is
    ·9    more than one ques- -- is there a --
    10    · · · · · MR. JONELIS:· Oh.
    11    · · · · · MR. FRIED:· Well, no.· I just want to be careful
    12    with what --
    13    · · · · · MR. JONELIS:· That's fair.
    14    · · · · · MR. FRIED:· -- he's answering.
    15    · · · · · MR. JONELIS:· No.· That's totally --
    16    · · · · · MR. FRIED:· There's more than one question --
    17    · · · · · MR. JONELIS:· That's --
    18    · · · · · MR. FRIED:· -- in there.
    19    · · · · · MR. JONELIS:· -- totally fair.
    20    · · · · · THE WITNESS:· Do -- do you want an answer?
    21    · · · · · MR. FRIED:· No.· Let's --
    22    · · · · · MR. JONELIS:· You --
    23    · · · · · MR. FRIED:· -- clarify it.
    24    · · · · · MR. JONELIS:· Yeah.
    25    · · · · · MR. FRIED:· I just want him to --


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    ·1    · · · · · MR. JONELIS:· Ab- --
    ·2    · · · · · MR. FRIED:· -- clarify.
    ·3    · · · · · MR. JONELIS:· Absolutely.· I don't want to be
    ·4    vague.
    ·5    · · · Q· ·Mr. Harris had asked you, "Is that stream
    ·6    typically paid up front or is it due at the beginning of
    ·7    the season?"· That's one question.
    ·8    · · · · · Second question:· "Once greenlit, can it be
    ·9    cancelled?"· That's question 2.
    10    · · · · · To your knowledge, did you ever respond to either
    11    of those questions?
    12    · · · A· ·To my knowledge, yes, we -- we would have
    13    responded to all of them.· Mr. Harris was on numerous phone
    14    calls.· He was diligent in going through the spreadsheet,
    15    making sure he understood line by line what it meant.· Um,
    16    yep.
    17    · · · Q· ·And I'm ask- -- I have this e-mail.· I mean,
    18    again, he's asking you a question, but, I mean -- okay.
    19    It's not an e-mail.· Had Mr. Harris asked you, you know,
    20    "Was it greenlit for five seasons," to your knowledge, what
    21    would you have told him?
    22    · · · · · MR. FRIED:· Objection.· Don't speculate.· And,
    23    for the record, we produced a response.· Do not speculate.
    24    He's not going to speculate.· You can ask him what he did
    25    say.· He's not going to tell you what he would have said.


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    ·1    · · · · · MR. JONELIS:· Okay.
    ·2    · · · · · MR. FRIED:· Do you want to ask him another
    ·3    question?
    ·4    BY MR. JONELIS:
    ·5    · · · Q· ·Do you recall having a conversation with
    ·6    Mr. Harris --
    ·7    · · · · · Thank you.
    ·8    · · · · · Do you recall having a conversation with
    ·9    Mr. Harris wherein he asked you, "Has The Pathway been
    10    greenlit for five seasons?"
    11    · · · A· ·Yes.
    12    · · · Q· ·And what do you recall telling him?
    13    · · · A· ·So where you guys are going astray is there's a
    14    difference between BRON greenlighting the --
    15    · · · · · MR. FRIED:· That's not the -- I'm sorry --
    16    · · · · · THE WITNESS:· Okay.
    17    · · · · · MR. FRIED:· -- but he asked you what you told
    18    him.
    19    · · · · · THE WITNESS:· What the fu- --
    20    · · · · · MR. FRIED:· I'm sit- -- he -- I don't - I don't
    21    want to waste time.
    22    · · · · · THE WITNESS:· I'm trying to answer the question.
    23    · · · · · MR. FRIED:· Okay.· Did you hear -- his question
    24    is:· What did you tell Mr. Harris?
    25    · · · · · THE WITNESS:· And I'm explaining that.


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    ·1    · · · · · MR. FRIED:· I apologize.· I won't do that again,
    ·2    David.· I'm trying to get you --
    ·3    · · · · · MR. JONELIS:· No.· I --
    ·4    · · · · · MR. FRIED:· -- an answer to your question.
    ·5    · · · · · MR. JONELIS:· I'm appreciating it.· It's helping
    ·6    it go forward.· So thank you.
    ·7    · · · · · MR. FRIED:· Answer the question.· What did you
    ·8    tell him?
    ·9    · · · · · THE WITNESS:· There is a difference between BRON
    10    as the producing studio greenlighting a show and a
    11    distributor greenlighting a show.· So, yes, BRON had
    12    greenlit the show for five seasons.· That means they were
    13    prepared to put production resources behind the show for
    14    five seasons.· No, there was no distributor on board that
    15    was going to distribute it at that time.
    16    BY MR. JONELIS:
    17    · · · Q· ·So, Mr. Cloth, your recollection -- because,
    18    again, I'm not going to strike it, but I'd like to ask the
    19    question again because I don't think you answered it.
    20    · · · · · When Mr. Harris asked you "Has The Pathway been
    21    greenlit for five seasons, as I sit here about to invest
    22    6.5 million dollars into it?" what do you recall telling
    23    him?
    24    · · · · · MR. FRIED:· Objection to form.
    25    · · · · · You can answer.


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    ·1    · · · · · THE WITNESS:· By BRON studios, yes.
    ·2    BY MR. JONELIS:
    ·3    · · · Q· ·And it was important to put that limiter "by BRON
    ·4    Studios," correct?
    ·5    · · · A· ·Yes.
    ·6    · · · · · MR. JONELIS:· Okay.· Let's take a look at what
    ·7    we're going to mark as Exhibit 10, please.
    ·8    · · · · · This is another document as Mr. Bazian and
    ·9    Mr. Fried I think teed up here produced by your counsel,
    10    Bates marked CW_0001918.
    11    · · · · · (Exhibit 10 marked)
    12    · · · · · MR. JONELIS:· This appears to be another
    13    e-mail -- or I guess this is an e-mail from you to
    14    Mr. Harris sent on May 13th, 2021, shortly after he had
    15    sent you the e-mail that we just looked at.
    16    · · · · · Do you recall sending this e-mail to Mr. Harris,
    17    Mr. Cloth?
    18    · · · A· ·I don't recall, but it looks valid.
    19    · · · Q· ·Okay.· So you have no reason to doubt that you
    20    sent it?
    21    · · · A· ·Right.
    22    · · · Q· ·And at the top of the page, do you see where you
    23    wrote to Mr. Harris, "Please see below for responses"?
    24    · · · A· ·Yes.
    25    · · · · · THE VIDEOGRAPHER:· I'm sorry, Mr. Jonelis, your


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    ·1    microphone is. . .
    ·2    BY MR. JONELIS:
    ·3    · · · Q· ·Top of the page, do you see where you wrote to
    ·4    Mr. Harris, "Please see below for responses"?
    ·5    · · · A· ·Yes.
    ·6    · · · Q· ·And below that is the e-mail we just looked at
    ·7    from Mr. Harris to you.· Do you see that?
    ·8    · · · A· ·Yes.
    ·9    · · · Q· ·Except this also includes your interlineated
    10    responses, correct?
    11    · · · A· ·Yes.
    12    · · · Q· ·And I'm going to represent to you when I got
    13    e-mails from your counsel, they were mostly in black and
    14    white.· So I don't know if this was in color or if you
    15    could -- I know it's hard to differentiate, but you could,
    16    if you need to compare what we just marked as Exhibit 9
    17    against this one if you want to see where your comments
    18    are.
    19    · · · · · Do you see that under Mr. Harris' question about
    20    seasons 2 through 5, you wrote something?· Do you see that?
    21    · · · A· ·Yes.
    22    · · · Q· ·Can you please read what you wrote into the
    23    record.
    24    · · · A· ·(Reading):
    25    · · · · · "The show has been greenlit for 5


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    ·1    · · · · · seasons (streamers really like
    ·2    · · · · · that. . ."
    ·3    · · · · · I don't know where is the remaining part.· It
    ·4    should have said, you know --
    ·5    · · · · · MR. FRIED:· Well, just what read what --
    ·6    · · · · · THE WITNESS:· Okay.
    ·7    · · · · · MR. FRIED:· -- what's written there.· If he wants
    ·8    to ask --
    ·9    · · · · · THE WITNESS:· ". . .really like that because 1
    10    season)."
    11    BY MR. JONELIS:
    12    · · · Q· ·Okay.· Let's take a look at -- well, hold on --
    13    let's -- I forgot my follow-up question.
    14    · · · · · Other than where you wrote in Exhibit 10, "The
    15    show has been greenlit for 5 seasons," to your knowledge,
    16    did you ever tell anybody else that The Pathway had been
    17    greenlit for five seasons?
    18    · · · A· ·Not to my recollection.
    19    · · · Q· ·Okay.
    20    · · · · · MR. FRIED:· When you say "anybody," are you
    21    talking about other investors?· Anything?
    22    · · · · · MR. JONELIS:· Anybody.
    23    · · · · · MR. FRIED:· He's including the world.
    24    · · · · · MR. JONELIS:· No, Mr. Cloth.
    25    · · · · · THE WITNESS:· Not to my recollection.


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    ·1    BY MR. JONELIS:
    ·2    · · · Q· ·All right.· I don't want to belabor too much the
    ·3    point, but for purpose of today, let's just look at one.
    ·4    I'm going to mark as Exhibit No. 11, please. . .
    ·5    · · · · · It's another document produced by your counsel
    ·6    and Bates marked CW_0001802.
    ·7    · · · · · (Exhibit 11 marked)
    ·8    BY MR. JONELIS:
    ·9    · · · Q· ·This appears, Mr. Cloth, to be an e-mail you sent
    10    to a few people whose identities have been redacted by your
    11    attorneys.
    12    · · · A· ·Yes.
    13    · · · Q· ·And that's fine, by the way, since we don't need
    14    to know their names at this point in the lawsuit.                I
    15    reached an agreement with your attorney so that's just --
    16    that's why it's there.
    17    · · · · · But setting aside the redacted identities of whom
    18    you may have sent this to, do you recall sending this
    19    e-mail on May 4th, 2021?
    20    · · · A· ·No.· I mean, without knowing who it went to or,
    21    you know -- but it -- I have no reason to believe that
    22    there are e-mails that are, you know, not mine.
    23    · · · Q· ·Okay.
    24    · · · · · MR. FRIED:· We -- we produced it.· It was sent.
    25    We're not disputing --


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    ·1    · · · · · THE WITNESS:· Yeah.
    ·2    · · · · · MR. FRIED:· -- it was sent.· That's what his
    ·3    tes- -- that's what he meant.
    ·4    · · · · · MR. JONELIS:· So can we just have a standing
    ·5    agreement, at least as with respect to anything with a CW
    ·6    thing --
    ·7    · · · · · MR. FRIED:· Yes.
    ·8    · · · · · MR. JONELIS:· -- that I don't have to ask the --
    ·9    · · · · · MR. FRIED:· It's fine.
    10    · · · · · MR. JONELIS:· -- foundational question?
    11    · · · · · MR. FRIED:· Yeah.· No.· That's fine.
    12    · · · · · MR. JONELIS:· I appreciate it.
    13    · · · · · MR. FRIED:· He just -- he doesn't know who it
    14    went to, but we agree it was sent.
    15    · · · · · MR. JONELIS:· Okay.· I -- I get it.
    16    · · · Q· ·Just looking at the e-mail, even though I know
    17    you don't know who it was sent to, and looking at the
    18    subject, which is The Pathway, and looking at the date,
    19    which is May 4th, right around when you were talking to
    20    Mr. Harris about his investment, are you able to recall the
    21    purpose of this e-mail?
    22    · · · A· ·Uh, I can't recall what the purpose of the e-mail
    23    is.
    24    · · · Q· ·Okay.· You see at the top you wrote:
    25    · · · · · "Hey Guys, thanks formthe" --


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    ·1    · · · · · I don't know if that's an error from the
    ·2    formatting or if that's just how you wrote it, but
    ·3    · · · · · ". . . thanks" -- I'm sure it's
    ·4    · · · · · supposed to be "for the call today.
    ·5    · · · · · "Please feel agree to reach out
    ·6    · · · · · anytime you have questions."
    ·7    · · · · · Do you see that?
    ·8    · · · A· ·Yes.
    ·9    · · · Q· ·Okay.· And looking below that, you say:
    10    · · · · · "Here is the NBA project we have.
    11    · · · · · We've been in discussions with
    12    · · · · · streamers on this and we are over
    13    · · · · · 15M now probably landing close to
    14    · · · · · 20M for season 1."
    15    · · · · · Do you see that?
    16    · · · A· ·Yes.
    17    · · · Q· ·M stands for million, I assume?
    18    · · · A· ·Yes.
    19    · · · Q· ·Okay.· And underneath that, you have a few little
    20    bullet points.
    21    · · · · · "7M."
    22    · · · · · Do you see that?
    23    · · · A· ·Yes.
    24    · · · Q· ·"Year end 2021 maturity."· See that?
    25    · · · A· ·Yes.


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    ·1    · · · Q· ·"12 percent coupon"?
    ·2    · · · A· ·Yes.
    ·3    · · · Q· ·Do you see that?
    ·4    · · · · · "20 percent lifetime profit share."· Do you see
    ·5    that?
    ·6    · · · A· ·Yes.
    ·7    · · · Q· ·"5 seasons greenlit."
    ·8    · · · A· ·Yes.
    ·9    · · · Q· ·You see that?
    10    · · · A· ·(No audible response.)
    11    · · · Q· ·BRON?· Do you see that?
    12    · · · A· ·No.
    13    · · · Q· ·Okay.· When you wrote under that, "We have all
    14    the underlying supporting agreement," do you see that?
    15    · · · A· ·Yes.
    16    · · · Q· ·To your knowledge, what were you referring to?
    17    · · · A· ·All of the underlying BRON agreements to produce
    18    the show.
    19    · · · Q· ·Okay.
    20    · · · A· ·That means the agreement with the NBA, the
    21    agreement with the development league, the agreement with
    22    the other producers who are producing the show.
    23    · · · · · Am I allowed to continue to answer?
    24    · · · · · MR. FRIED:· It's his deposition.· I'm not telling
    25    him what to do.


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    ·1    · · · · · MR. JONELIS:· I'm -- I'm happy to have you
    ·2    continue --
    ·3    · · · · · THE WITNESS:· Great.
    ·4    · · · · · MR. JONELIS:· -- answering, Mr. Cloth.
    ·5    · · · · · THE WITNESS:· So go into the middle of the e-mail
    ·6    where I say "We are in discussions with streamers."· That
    ·7    means we do not have a distribution deal yet.· That's what
    ·8    you're trying to get at, that, you know, we had some sort
    ·9    of distribution deal in place and that's what induced
    10    Mr. Harris to invest.· And I can tell you if we had a
    11    distribution deal in place, we wouldn't have given up any
    12    profit participation.· I would have taken the distribution
    13    deals to the bank and banked those for free.· So BRON
    14    greenlit the show.· There was no distribution.· Mr. Harris
    15    knew there was no distribution.· He was on every single
    16    phone call that we had regarding the show before he
    17    invested.· That's my answer.
    18    · · · Q· ·Okay.· Well, yeah, we can ask Mr. Harris -- I'm
    19    sure your attorneys will -- his understanding so I -- we
    20    don't need to --
    21    · · · · · MR. FRIED:· Sam is doing that.· I'm not.
    22    · · · · · MR. JONELIS:· Okay.
    23    · · · · · THE WITNESS:· Great.
    24    · · · · · MR. FRIED:· No offense.
    25    · · · · · MR. JONELIS:· But, no, thank you.


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    ·1    · · · Q· ·When you told Mr. Harris on May 13th, 2021 that
    ·2    The Pathway had been greenlit for five seasons.
    ·3    · · · · · (Technical interruption)
    ·4    · · · · · MR. FRIED:· I was moving it, see.
    ·5    · · · · · I don't think you finished your question.
    ·6    · · · · · MR. JONELIS:· I -- there was a tape incident and
    ·7    then you spoke.· So I'm going to start over.
    ·8    · · · Q· ·Mr. Cloth -- and I'm cognizant that you want to
    ·9    take a break at 11:00 a.m.· It's 10:53.
    10    · · · · · THE WITNESS:· Yeah.
    11    · · · · · MR. JONELIS:· So I should finish this section by
    12    then.· And, if not, we'll break, because it's not an
    13    inquisition.
    14    · · · Q· ·When you told Mr. Harris on May 13th, 2021 that
    15    The Pathway had been greenlit for five seasons, what
    16    information were you relying upon?
    17    · · · A· ·The information from the producers.· That would
    18    be BRON.
    19    · · · Q· ·And from whom at BRON would you have received the
    20    information from the producers?
    21    · · · A· ·Aaron Gilbert.
    22    · · · Q· ·Other than Mr. Gilbert --
    23    · · · A· ·There is nobody else.
    24    · · · · · MR. FRIED:· Let him -- let him finish his
    25    question and then you can answer.· I can ant- -- a lot of


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    ·1    times you can anticipate it, but he -- he's right.· It's --
    ·2    · · · · · THE WITNESS:· Okay.
    ·3    · · · · · MR. FRIED:· -- going to screw up the record.                 I
    ·4    know it's frustrating, but he's actually asking questions
    ·5    that are fine.
    ·6    · · · · · THE WITNESS:· Okay.
    ·7    · · · · · MR. FRIED:· I'm sorry, David.· Go ahead.
    ·8    · · · · · MR. JONELIS:· Thank you.
    ·9    · · · Q· ·Other than Mr. Gilbert, is there anyone else at
    10    BRON who would have provided you with the information you
    11    were relying upon when you told Mr. Harris on May 13th,
    12    2021 that The Pathway had been greenlit for five seasons?
    13    · · · A· ·No.
    14    · · · Q· ·Had Mr. Gilbert ever told you that The Pathway
    15    had been greenlit for five seasons?
    16    · · · A· ·Yes.
    17    · · · Q· ·So Mr. Gilbert used the words "greenlit" when he
    18    spoke with you about the status of five seasons of The
    19    Pathway?
    20    · · · A· ·Yes.
    21    · · · Q· ·And this was prior to when you told Mr. Harris on
    22    May 13th, 2021 that The Pathway had been greenlit for five
    23    seasons?
    24    · · · A· ·Yes.· And, once again, you're confusing the term
    25    greenlight.· So, yes, you can ask it with as much facial


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    ·1    emphasis as you'd like.· It doesn't change my answer.· BRON
    ·2    greenlit the show for five seasons.· No, there was no
    ·3    distribution in place at the time when Mr. Harris made the
    ·4    investment.
    ·5    · · · Q· ·I appreciate, Mr. Cloth.· I -- I understand.
    ·6    And, again, there will be experts from your side and my
    ·7    side that can talk about --
    ·8    · · · A· ·Yeah.
    ·9    · · · Q· ·-- what greenlight means in the context of the
    10    entertainment industry.
    11    · · · A· ·Okay.
    12    · · · Q· ·It's a very specific meaning.· But I appreciate
    13    your answer.
    14    · · · · · Let me ask you this.· With respect to any times
    15    that Mr. Gilbert had told you that The Pathway was greenlit
    16    for five seasons, to your knowledge, did he ever tell that
    17    to you in a written communication?
    18    · · · A· ·Not to my recollection.
    19    · · · Q· ·Had Mr. Gilbert told you in a written
    20    communication, meaning a text or an e-mail, that The
    21    Pathway was greenlit for five seasons, that written
    22    communication would have been included in the documents
    23    that you produced to our firm, correct?
    24    · · · A· ·I assume so, yes.
    25    · · · Q· ·I don't want you to assume.


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    ·1    · · · A· ·I assume so, yes.
    ·2    · · · · · MR. FRIED:· Well, he's only saying assume because
    ·3    we did the --
    ·4    · · · · · THE WITNESS:· Yeah.
    ·5    · · · · · MR. FRIED:· -- we imaged his system and pulled
    ·6    the documents.· Just so you -- just so we're clear, when
    ·7    you ask him these questions, to save you time, Jason didn't
    ·8    go through every document we produced --
    ·9    · · · · · MR. JONELIS:· Thank you.
    10    · · · · · MR. FRIED:· -- but I can represent to you we went
    11    through everything.
    12    · · · · · MR. JONELIS:· Well, I'll ask --
    13    · · · · · MR. FRIED:· I think the answer to your question I
    14    think is yes, but you --
    15    · · · · · MR. JONELIS:· I'll ask it more eloquently.
    16    · · · Q· ·Did you -- had there been a written communication
    17    from Mr. Gilbert to you saying The Pathway was greenlit for
    18    five seasons, that would have been in the documents that
    19    you gave to your counsel to produce to us?
    20    · · · A· ·Yes.
    21    · · · Q· ·When you told Mr. Harris on May 13th, 2021 that
    22    The Pathway had been greenlit for five seasons, did you
    23    understand that he was taking you at your word?
    24    · · · A· ·Yes.
    25    · · · Q· ·Were you aware that Mr. Harris was asking you


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    ·1    about the status of the show's future seasons because he
    ·2    wanted to have all the relevant details about the project
    ·3    before turning over $6,000,000 of his money?
    ·4    · · · A· ·Yes.
    ·5    · · · Q· ·And, in fact, the reason you were even
    ·6    corresponding with him about The Pathway was because you
    ·7    were trying to convince him to make his investment,
    ·8    correct?
    ·9    · · · · · MR. FRIED:· Objection to form.
    10    · · · · · You can answer.
    11    · · · · · THE WITNESS:· I wouldn't say that, no.
    12    BY MR. JONELIS:
    13    · · · Q· ·Why were you speaking with him about The Pathway,
    14    then, Mr. Cloth?
    15    · · · A· ·It was, you know, to make the investment, but
    16    that probably wasn't the sole reason that, you know, we
    17    were speaking.
    18    · · · Q· ·Why else would you have been speaking about The
    19    Pathway with Mr. Cloth at the time that you told him --
    20    · · · · · MR. FRIED:· Mr. Harris.
    21    BY MR. JONELIS:
    22    · · · Q· ·-- it was greenlit?
    23    · · · A· ·You know what, it was the only reason why I was
    24    speaking to him.
    25    · · · Q· ·Would you agree that an investment in a show


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    ·1    would be much more appealing if you believe the show had
    ·2    already been given the go-ahead for numerous future
    ·3    seasons?
    ·4    · · · A· ·Yes.
    ·5    · · · Q· ·Isn't it true that just one day after you told
    ·6    Mr. Harris that The Pathway had been greenlit for five
    ·7    seasons, he signed his agreement to invest in that project?
    ·8    · · · A· ·Yes.
    ·9    · · · · · MR. JONELIS:· Let's take a break.
    10    · · · · · MR. FRIED:· Want to go do your call?
    11    · · · · · THE WITNESS:· Yeah.
    12    · · · · · MR. JONELIS:· 10:59.· Right on time.
    13    · · · · · MR. FRIED:· You can use that room.· Do you
    14    need privacy?
    15    · · · · · THE WITNESS:· Yeah.
    16    · · · · · MR. FRIED:· Do you want us to stay out of there?
    17    · · · · · THE WITNESS:· It doesn't matter.
    18    · · · · · MR. JONELIS:· Let's go off the record, please.
    19    · · · · · THE VIDEOGRAPHER:· Okay.· We'll go off the video
    20    record.· The time is now 10:58 a.m.
    21    · · · · · (Recess)
    22    · · · · · THE VIDEOGRAPHER:· Thank you.· We are back on the
    23    video record.· The time is now 11:35 a.m.
    24    BY MR. JONELIS:
    25    · · · Q· ·Mr. Cloth, would you consider yourself


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    ·1    experienced in the business of film and television finance?
    ·2    · · · A· ·Yes.
    ·3    · · · Q· ·How long have you been involved in that business?
    ·4    · · · A· ·12 years.
    ·5    · · · Q· ·In connection with the business of film and
    ·6    television finance, what's your understanding of the
    ·7    meaning of the word "loan"?· L-o-a-n, loan.
    ·8    · · · A· ·My understanding of a loan, an investment made
    ·9    with a stated interest rate and a date of repayment.
    10    · · · · · MR. JONELIS:· Could we put a flag on that, too,
    11    in the transcript?
    12    · · · · · (Reference requested)
    13    BY MR. JONELIS:
    14    · · · Q· ·All right.· You just let me jump now ahead of my
    15    outline, which is great.· Thank you.
    16    · · · · · In connection, Mr. Cloth, with the business of
    17    film and television finance, what's your understanding of
    18    the meaning of the word maturity date?
    19    · · · A· ·In the scope of film and television, it's an
    20    estimated date in which the show would be delivered and
    21    repaid by.
    22    · · · · · MR. JONELIS:· Let's mark as Exhibit 12 -- let's
    23    please mark as Exhibit 12 a document that I printed up off
    24    of Black's Law Dictionary.· Not responsive so not
    25    impeachment.· Just instructive.· Let's mark this as


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    ·1    Exhibit 11.
    ·2    · · · · · THE COURT REPORTER:· 12.
    ·3    · · · · · MR. JONELIS:· 12.· Sorry.
    ·4    · · · · · There you go.
    ·5    · · · · · (Exhibit 12 marked)
    ·6    BY MR. JONELIS:
    ·7    · · · Q· ·Mr. Cloth, if could you please turn to the second
    ·8    page of this document.· Do you see where the phrase
    ·9    "maturity date" is defined?
    10    · · · A· ·Yes.
    11    · · · Q· ·Okay.· And do you see that, according at least to
    12    the Black's Law Dictionary, a maturity date is "The date
    13    when a debt falls due, such as a debt on a promissory note
    14    or bond.· Also termed date of maturity"?
    15    · · · A· ·Yes.
    16    · · · Q· ·Do you see that?
    17    · · · · · Is that consistent with your understanding of the
    18    phrase "maturity date"?
    19    · · · · · MR. FRIED:· Objection to form.
    20    · · · · · You're now taking out within the context of the
    21    film and television industry, correct?
    22    · · · · · MR. JONELIS:· I love it.· Thank you.· Let me back
    23    up.
    24    · · · · · MR. FRIED:· Well, I'm not trying to help you.
    25    · · · · · MR. JONELIS:· No.


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    ·1    · · · · · MR. FRIED:· I just want to be clear --
    ·2    · · · · · MR. JONELIS:· That is helpful.
    ·3    · · · · · MR. FRIED:· -- for my client.
    ·4    · · · · · MR. JONELIS:· That's very helpful.· Let me ask
    ·5    you that.
    ·6    · · · Q· ·Is that consistent, Mr. Cloth, with your
    ·7    understanding of the phrase "maturity date" as used in the
    ·8    film and television finance industry?
    ·9    · · · A· ·Not -- not as rigid -- rigid as that, no.
    10    · · · Q· ·Okay.· When you say "not as rigid," what do you
    11    mean?
    12    · · · A· ·Do you want me to explain it?
    13    · · · · · MR. FRIED:· I think he asked for an explanation.
    14    · · · · · THE WITNESS:· Okay.
    15    · · · · · Payment to us occurs when a film is delivered to
    16    the distributor.· And there are a lot of factors that can
    17    delay that delivery.· Those delays sometimes can go past
    18    what we have put down as what we thought was a conservative
    19    maturity date.· Doesn't mean the person isn't going to be
    20    repaid, but it does mean that it has gone past the date at
    21    which they expected to be repaid on their loan.
    22    BY MR. JONELIS:
    23    · · · Q· ·Anything else?
    24    · · · A· ·Nope.
    25    · · · Q· ·Let's go back to what we marked as Exhibit 6,


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    ·1    Mr. Cloth.
    ·2    · · · · · MR. FRIED:· Which one was that, David?
    ·3    · · · · · MR. JONELIS:· Oh, it's --
    ·4    · · · · · THE WITNESS:· Oh, probably the one with all the
    ·5    maturity dates.
    ·6    · · · · · MR. JONELIS:· It's the biggest exhibit you have
    ·7    in -- perfect.
    ·8    · · · · · MR. FRIED:· The one with the -- the term sheets?
    ·9    · · · · · MR. JONELIS:· Yes.· Fantastic.
    10    · · · · · THE WITNESS:· Yes.
    11    BY MR. JONELIS:
    12    · · · Q· ·And if you could turn, Mr. Cloth, to -- they're
    13    in chronological order so it will be easy.
    14    · · · A· ·Yeah.
    15    · · · Q· ·The first page is 1764.· Please turn to 1792, if
    16    you could, please.
    17    · · · A· ·1792.· Yep.
    18    · · · Q· ·And this, I'm going to represent to you -- and
    19    you can tell me if you disagree, but I'm assuming you
    20    won't -- this is the term sheet that was entered into
    21    between your company, Creative Wealth, and my client in
    22    connection with the project entitled Fables.· Would you
    23    agree?
    24    · · · A· ·Yes.
    25    · · · Q· ·And looking at the first page of this term sheet


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    ·1    in the section entitled "Term," do you see where it says,
    ·2    "The term of the loan shall be 18 months with a Maturity
    ·3    date of November 30th, 2021"?
    ·4    · · · A· ·Yes.
    ·5    · · · Q· ·So is it your testimony here today that that
    ·6    maturity date was merely a goalpost or an estimate, not a
    ·7    hard-and-fast deadline?
    ·8    · · · A· ·Well, it wasn't a random goalpost.· It was done
    ·9    in connection with discussions with the producers to find
    10    out when their delivery date of the show was.· And so, um,
    11    18 months was very very reasonable at the time that we --
    12    that we drew these documents.
    13    · · · Q· ·Anything else?
    14    · · · A· ·Nope.
    15    · · · Q· ·Okay.· So just to be clear, your understanding
    16    when you entered into this agreement was that
    17    November 30th, 2021 was the estimated date of repayment,
    18    correct?
    19    · · · A· ·Yeah.· Maybe more than an estimate, but it was
    20    our -- it was our professional estimate as to when this
    21    show should have been delivered and repaid.· I mean, if you
    22    look at the date of the investment, um, the only thing that
    23    has impaired Fables -- what -- is it Fables, Hailey and
    24    Bubbles; are those the three that -- you know, is COVID.
    25    COVID just delayed the production.· Hailey and Bubbles are


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    ·1    just now starting all of their merchandise sales.· They
    ·2    will then go to market now.· Fables, you know, BRON has got
    ·3    their own issues.· So I've got to get in there and see what
    ·4    the estimated completion date of Fables is.· But,
    ·5    unfortunately, we ran into COVID and, you know, anything
    ·6    that had physical production just got slowed down.· But
    ·7    those three shows are still -- Hailey and Bubbles are
    ·8    delivering now.· And Fables, I just -- I need to get into
    ·9    BRON to find out what the update is.
    10    · · · Q· ·Oh, we're going to spend a bunch of time later
    11    today talking more about that.· I appreciate you previewing
    12    the issue, but let me ask two things.
    13    · · · · · First of all, you're aware that these agreements
    14    were entered into after we already had COVID as a thing,
    15    correct?
    16    · · · A· ·No, we didn't.· April 2020 is right when we had
    17    COVID.· April 17th, 2020.
    18    · · · Q· ·Oh, I'm sorry.· Go back to the first -- go back
    19    to the first page of the exhibit, if you could.· What's the
    20    date of this e-mail?
    21    · · · A· ·Monday, April 12, 2021.
    22    · · · Q· ·Okay.
    23    · · · A· ·But you're asking me about why would I have put
    24    an 18-month maturity date down on April 2020.
    25    · · · Q· ·Okay.


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    ·1    · · · A· ·Because we didn't realize that there was going to
    ·2    be something that went on for two plus years.
    ·3    · · · Q· ·Let me -- let me ask it a different way, then.
    ·4    Had these been entered into in 2021, would your analysis of
    ·5    the maturity date been different?
    ·6    · · · A· ·Yeah, probably.
    ·7    · · · · · MR. JONELIS:· Could we put a little umph next to
    ·8    that one, as well?
    ·9    · · · · · Thank you.
    10    · · · · · (Reference requested)
    11    · · · · · THE WITNESS:· We might not have chosen 18 months.
    12    We might have chosen 24 or 36 months.· Nobody wants to blow
    13    through a maturity date.
    14    BY MR. JONELIS:
    15    · · · Q· ·Why is the COVID such an issue?· Is it because
    16    COVID caused a recession?
    17    · · · · · THE WITNESS:· Oh, my God.
    18    · · · · · MR. FRIED:· Are you really asking him why has
    19    COVID affected the film and television industry?
    20    · · · · · MR. JONELIS:· I'd like to ask if the reason that
    21    COVID affected the film and television industry is because
    22    it created a recession.
    23    · · · · · THE WITNESS:· No.
    24    BY MR. JONELIS:
    25    · · · Q· ·Why did COVID impact the -- the ability --


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    ·1    · · · A· ·Um --
    ·2    · · · Q· ·It was -- you know what, we'll talk about that
    ·3    later.
    ·4    · · · A· ·Yeah, actually, I'm not -- I'm -- you know what,
    ·5    I don't know why.· I'm -- I'm going to leave it at that.                 I
    ·6    don't know why.
    ·7    · · · Q· ·Okay.· Let's just back up for one more moment
    ·8    because your attorney made a really good point that I want
    ·9    to flag here.
    10    · · · · · I had asked you -- if you go back and look at
    11    Exhibit 12, please.
    12    · · · A· ·Oh, this one?· Yeah.
    13    · · · Q· ·Yeah.· The definition.
    14    · · · · · Do you have it, Kelsey?
    15    · · · A· ·Yeah.
    16    · · · Q· ·Or did I put it back?· Oh, right here.
    17    · · · · · Exhibit 12.· I had asked you regarding the
    18    definition of maturity date in Black's Law Dictionary if
    19    this was consistent with your understanding of the phrase
    20    "maturity date," to which your attorney very helpfully
    21    said, "Well, are you talking about the film and television
    22    industry or in general?"· And I said, "You're absolutely
    23    right.· I should be more clear.· Let's start with the film
    24    and television industry."
    25    · · · · · Do you remember all that?


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    ·1    · · · A· ·I do.
    ·2    · · · Q· ·Now, forget about the film and television
    ·3    industry just for a moment here.
    ·4    · · · · · Is the definition of "maturity date" in Black's
    ·5    Law Dictionary as "the date when a debt falls due, such as
    ·6    a date on a promissory note or bond," consistent with your
    ·7    understanding of the phrase maturity date not in the film
    ·8    and television industry?
    ·9    · · · A· ·Yes, it is.
    10    · · · Q· ·Okay.· Thank you.· Let's take a look at -- give
    11    me one moment, here.
    12    · · · · · MR. FRIED:· Maybe Sam left and went to the
    13    airport.
    14    · · · · · MS. LEAKER:· He left you?· You guys are on the
    15    flight and he --
    16    · · · · · MR. FRIED:· He's not allowed to do that.
    17    · · · · · MR. JONELIS:· All right.· Let's take a look at a
    18    document that was produced by my client.· This was Bates
    19    marked PLNTF_01708, and I believe this is going to be
    20    Exhibit 13.· Lucky No. 13.
    21    · · · · · (Exhibit 13 marked)
    22    · · · · · MR. FRIED:· Thank you, sir.
    23    · · · · · MR. JONELIS:· Thank you.
    24    · · · Q· ·All right.· Mr. Cloth, if you look at the bottom
    25    half of this document.


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     ·1    · · · A· ·Yep.
     ·2    · · · Q· ·This appears to be an e-mail that Sandy Schmidt
     ·3    sent to someone named David Ahrens on March 8th, 2021.
     ·4    · · · A· ·I'm sorry.· To Dennis?
     ·5    · · · Q· ·Dennis Ahrens.
     ·6    · · · A· ·Yep.
     ·7    · · · Q· ·I'm sorry.
     ·8    · · · A· ·Yep.
     ·9    · · · Q· ·Have you seen this e-mail before?
     10    · · · A· ·No.
     11    · · · Q· ·Okay.· Do you know who Dennis Ahrens is?
     12    · · · A· ·No.
     13    · · · Q· ·Okay.· You have no idea?
     14    · · · A· ·Asked and answered.
     15    · · · · · MR. FRIED:· No.· Listen, he's just verifying.
     16    The answer is no?
     17    · · · · · THE WITNESS:· No, I don't know who this person
     18    is.
     19    BY MR. JONELIS:
     20    · · · Q· ·Do you know who David Ahrens is?
     21    · · · A· ·No.
     22    · · · Q· ·Have you ever heard of a company called Terco?
     23    · · · A· ·No.
     24    · · · Q· ·Okay.· Thank you.
     25    · · · · · Do you see where Mr. Schmidt wrote to Mr. Ahrens:


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     ·1    · · · · · "Over the weekend Netflix purchased
     ·2    · · · · · the Monkey Man production for 30
     ·3    · · · · · Million Dollars"?
     ·4    · · · A· ·Yes.
     ·5    · · · Q· ·"Cost to produce was 10 million."
     ·6    · · · A· ·Yep.
     ·7    · · · Q· ·Okay.· Do you have any idea why Mr. Schmidt would
     ·8    be telling this to Mr. Ahrens?
     ·9    · · · A· ·Because that's correct.
     10    · · · Q· ·Oh, okay.
     11    · · · · · MR. FRIED:· Well, he -- I don't think he answered
     12    your question.
     13    · · · · · He's telling you the information here is correct.
     14    · · · · · THE WITNESS:· Yeah, the information is correct.
     15    · · · · · MR. JONELIS:· Right.
     16    · · · · · MR. FRIED:· He asked you a question "Do you have
     17    any idea why he would be telling it to somebody?"
     18    · · · · · THE WITNESS:· I don't.· Okay?· Like --
     19    · · · · · MR. FRIED:· Answer his question.
     20    · · · · · THE WITNESS:· Okay.
     21    · · · · · Can we stop going through e-mails where I'm not
     22    on them?
     23    · · · · · MR. JONELIS:· No.
     24    · · · · · THE WITNESS:· Then I'm just not going to answer
     25    anything.


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     ·1    · · · · · MR. FRIED:· Well, no, Jason.· His question is
     ·2    fine.· Your answer is you don't know?
     ·3    · · · · · THE WITNESS:· Okay.· I don't know.· There you go.
     ·4    BY MR. JONELIS:
     ·5    · · · Q· ·Again, Mr. Cloth, just --
     ·6    · · · A· ·I don't know.
     ·7    · · · Q· ·-- for the record, since you brought it up, I'm
     ·8    going to be clear.
     ·9    · · · · · Your attorneys will have the opportunity to ask
     10    my client questions, at which time I'll have the
     11    opportunity to object, but --
     12    · · · A· ·Great.
     13    · · · Q· ·-- your attorney has not objected and has not
     14    instructed you --
     15    · · · A· ·Okay.
     16    · · · Q· ·-- not to answer.· And if I'm --
     17    · · · · · MR. FRIED:· Well, if you asked him a question to
     18    interpret this e-mail, I would object.
     19    · · · · · MR. JONELIS:· Of course.· But I'm not asking
     20    that.
     21    · · · Q· ·So let me ask you this.
     22    · · · A· ·Yes.
     23    · · · Q· ·To your knowledge, did Netflix purchase
     24    Monkey Man for $30,000,000?
     25    · · · A· ·Yes.


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     ·1    · · · Q· ·And, to your knowledge, was the cost to produce
     ·2    Monkey Man only $10,000,000?
     ·3    · · · A· ·Yes.
     ·4    · · · Q· ·Okay.· And we talked about this earlier.· I'm not
     ·5    great at math.· Okay?· I didn't go to business school.
     ·6    · · · · · But if you subtract 10,000,000 in Monkey Man
     ·7    costs from 30,000,000 in money from Netflix, isn't there
     ·8    $20,000,000 left over?
     ·9    · · · A· ·No.
     10    · · · Q· ·Is 30 minus 10, 20?
     11    · · · A· ·Yes.
     12    · · · Q· ·Okay.· So --
     13    · · · A· ·But that's not how you calculate profit on a
     14    film.
     15    · · · · · MR. FRIED:· He didn't ask you what --
     16    · · · · · THE WITNESS:· Well, but --
     17    · · · · · MR. FRIED:· -- the profit was.
     18    · · · · · THE WITNESS:· -- but --
     19    · · · · · MR. FRIED:· He didn't ask you what the profit is.
     20    Just answer his questions or we'll --
     21    · · · · · THE WITNESS:· I'm not --
     22    · · · · · MR. FRIED:· -- be here --
     23    · · · · · THE WITNESS:· -- answering those --
     24    · · · · · MR. FRIED:· -- all night.· Jason --
     25    · · · · · THE WITNESS:· Oh, my God.


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     ·1    · · · · · MR. FRIED:· He didn't -- you're not here to
     ·2    educate him.
     ·3    · · · · · THE WITNESS:· Okay.
     ·4    · · · · · MR. FRIED:· Please just answer his questions.
     ·5    · · · · · Sorry.
     ·6    · · · · · THE WITNESS:· I stand by my answer.· No, it's
     ·7    not.· 30 minus 10 is not 20.
     ·8    · · · · · MR. JONELIS:· Could you put an umph next to that
     ·9    one, too, please.· Thank you.
     10    · · · · · (Reference requested)
     11    BY MR. JONELIS:
     12    · · · Q· ·Well, if there's $30,000,000 that comes in from
     13    Netflix, and you just testified that it is true that the
     14    cost to produce Monkey Man was $10,000,000 -- now, we've
     15    agreed that 30 minus 10 is 20, notwithstanding your last
     16    answer that we flagged -- but what happened, then, to the
     17    $20,000,000 that's left over once you subtract 10,000,000
     18    cost from 30,000,000 from Netflix?
     19    · · · · · And let me -- that was very verbose and
     20    objectionable.
     21    · · · · · What happens, to your knowledge -- what
     22    happened -- let me start over.
     23    · · · A· ·I don't know.
     24    · · · Q· ·When Net- --
     25    · · · · · MR. FRIED:· Let him ask the question.· Let him


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     ·1    ask the question.
     ·2    BY MR. JONELIS:
     ·3    · · · Q· ·When Netflix paid $30,000,000 to purchase
     ·4    Monkey Man and there was only $10,000,000 incurred to
     ·5    produce Monkey Man, where, to your knowledge, does the
     ·6    $20,000,000 differential go?
     ·7    · · · A· ·I don't --
     ·8    · · · · · MR. FRIED:· I just want to clarify your question.
     ·9    · · · · · In this case do you want to know, or are you
     10    asking him a general question?
     11    · · · · · MR. JONELIS:· In this case.· Thank you for the
     12    clarification.
     13    · · · · · MR. FRIED:· Do you know where the 20,000,000
     14    went?
     15    · · · · · THE WITNESS:· I do not know.
     16    · · · · · MR. JONELIS:· We'll get back to that one.
     17    · · · · · Let's please mark as Exhibit No. 14 --
     18    · · · · · MR. FRIED:· Just answer his question.
     19    · · · · · THE WITNESS:· I know.· Just --
     20    · · · · · MR. FRIED:· Do you need to talk to me?
     21    · · · · · THE WITNESS:· Yeah.
     22    · · · · · MR. FRIED:· Can we take a minute?
     23    · · · · · MR. JONELIS:· No question pending.· So please.
     24    · · · · · THE WITNESS:· Yeah.
     25    · · · · · THE VIDEOGRAPHER:· Please remove the mic.


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     ·1    · · · · · MR. FRIED:· This is going to be quick.
     ·2    · · · · · THE WITNESS:· Yeah.
     ·3    · · · · · MR. FRIED:· We're going --
     ·4    · · · · · MR. JONELIS:· Are we going off the record?
     ·5    · · · · · MR. FRIED:· I'm going to try to be --
     ·6    · · · · · MR. JONELIS:· I'm going to keep it on the record
     ·7    if you're going for one minute.· Go.
     ·8    · · · · · Stay on the record.
     ·9    · · · · · MR. FRIED:· Maybe less.
     10    · · · · · MR. JONELIS:· Keep the camera rolling.
     11    · · · · · MR. FRIED:· Give us 30 seconds.
     12    · · · · · (Brief pause)
     13    · · · · · MR. FRIED:· How long was I?
     14    · · · · · THE VIDEOGRAPHER:· Probably about 30 seconds.                 I
     15    didn't -- I didn't actually put a clock on it.
     16    · · · · · MR. FRIED:· Next question.
     17    · · · · · Sorry about that.
     18    · · · · · MR. JONELIS:· Let's take a look at what's going
     19    to be marked as Exhibit No. 14.· This is a May 12th, 2021
     20    e-mail from you, Mr. Cloth, to Mr. Harris, Bates marked and
     21    produced by my client as PLNTF_02036.
     22    · · · · · (Exhibit 14 marked)
     23    BY MR. JONELIS:
     24    · · · Q· ·Do you recall, Mr. Cloth, sending this e-mail to
     25    Mr. Harris in May of 2021?


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     ·1    · · · A· ·Oh, this is Pathway?· We're flipping now to
     ·2    Pathway?
     ·3    · · · · · MR. FRIED:· He can ask any question he wants.
     ·4    · · · · · THE WITNESS:· Okay.· I just need to understand
     ·5    what show we're talking about.· We were --
     ·6    · · · · · MR. FRIED:· Well, he hasn't gotten to that.· He's
     ·7    just asking you if you remember the e-mail.· Yes, he's --
     ·8    · · · · · THE WITNESS:· I -- I -- I -- once again, the
     ·9    e-mail seems legitimate.
     10    BY MR. JONELIS:
     11    · · · Q· ·If you look at the subject line, this pertains to
     12    The Pathway, right?
     13    · · · A· ·(No audible response.)
     14    · · · Q· ·Do you see where you wrote to Mr. Harris --· this
     15    is at the top of the e-mail because he wrote to you at the
     16    bottom.· Do you see where you wrote to Mr. Harris:
     17    · · · · · "Currently we have interest at plus
     18    · · · · · 15M for the show, which means we
     19    · · · · · have no worries about repaying
     20    · · · · · principal plus fees plus preferred
     21    · · · · · return"?
     22    · · · · · Do you see that?
     23    · · · A· ·I do.
     24    · · · Q· ·Okay.· Does 15M stand for 15 million?
     25    · · · A· ·It does.


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     ·1    · · · Q· ·When you told Mr. Harris in May 2021 that you had
     ·2    interest for The Pathway at more than 15 million, what
     ·3    interest were you referring to?
     ·4    · · · A· ·From my recollection, Amazon was interested and
     ·5    Netflix was interested.· And TNT, which was part of
     ·6    Warner Bros.
     ·7    · · · Q· ·Let's talk about Amazon.· When you told
     ·8    Mr. Harris in May 2021 that you had interest for The
     ·9    Pathway of more than 15 million, is there any individual at
     10    Amazon whom you can identify who had relayed that interest
     11    to you?
     12    · · · A· ·No.· As I stated before, my information came from
     13    Aaron and BRON, who were the lead producers on the show.
     14    They were also selling the show.· So they would be the
     15    people I would get the information from.
     16    · · · Q· ·Okay.· That's helpful.
     17    · · · · · So -- and if this applies to Netflix and
     18    TNT/Warner --
     19    · · · A· ·It does.
     20    · · · · · MR. FRIED:· Let him ask the question.
     21    · · · · · MR. JONELIS:· Okay.· That's helpful.
     22    · · · Q· ·And if that pertains to Netflix and/or TNT/Warner
     23    Bros. as you've testified, let me know and it will
     24    foreclose having to ask you about those.· Okay, Mr. Cloth?
     25    · · · A· ·Yes.


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     ·1    · · · Q· ·With respect to your statement to my client in
     ·2    May 2021 that you had interest for The Pathway at more than
     ·3    15 million, was your sole basis for making that statement
     ·4    Aaron Gilbert at BRON?
     ·5    · · · A· ·Yes.
     ·6    · · · Q· ·When you wrote -- this is back on the e-mail,
     ·7    Exhibit 14 -- "We have no worries about repaying principal
     ·8    plus fees plus preferred returns," what did you mean by "no
     ·9    worries"?
     10    · · · A· ·The deals that were being discussed, both on the
     11    distribution side and the advertising side, were more than
     12    enough to repay the loan plus interest and so forth.
     13    · · · Q· ·And what was the basis of your knowledge that
     14    there were deals that were being discussed at that time?
     15    · · · A· ·BRON was updating both myself and Robert as to
     16    what was going on with the show.· They were the producers.
     17    · · · Q· ·And when you say BRON, is there anybody other
     18    than Aaron Gilbert who would have provided you with
     19    information leading you to believe that you had no worries
     20    about repaying principal plus fees plus preferred returns
     21    in connection with The Pathway?
     22    · · · A· ·Yes.· There was one of their sales guys that
     23    e-mailed that because Robert asked about it.· And, um, um,
     24    it -- I think his name is Josh.· I can't remember his last
     25    name, but there's probably an e-mail of Josh stating like,


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     ·1    "Hey, here are the -- here's how repayment is going to
     ·2    look.· We've got, you know, marketing dollars coming in,
     ·3    TNT licensing fees."· I'll just have to get Josh's last
     ·4    name.
     ·5    · · · · · MR. FRIED:· You can leave a space.
     ·6    · · · · · THE WITNESS:· Yeah.
     ·7    · · · · · MR. JONELIS:· Let's leave a space.
     ·8    · · · · · (Information requested: _______________________
     ·9    ________________________________________________________)
     10    BY MR. JONELIS:
     11    · · · Q· ·When you told Mr. Harris, "We have no worries
     12    about repaying principals plus fees plus preferred
     13    returns," was it your understanding that he knew you were
     14    relying entirely on BRON --
     15    · · · A· ·Yes.
     16    · · · Q· ·-- for that -- for that statement?
     17    · · · A· ·Yes.
     18    · · · Q· ·Okay.· And why was it your understanding that he
     19    knew you were relying entirely on BRON for that statement?
     20    · · · A· ·Because he was on many calls with Aaron and I
     21    discussing the show.
     22    · · · Q· ·Okay.· When you told Mr. Harris that "we have no
     23    worries about repayment," this was before he had signed his
     24    agreement for Pathway, correct?
     25    · · · A· ·Yes.


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     ·1    · · · Q· ·And this was before he made his
     ·2    6.5-million-dollar investment, correct?
     ·3    · · · A· ·Yes.
     ·4    · · · Q· ·At the time, he was still considering whether to
     ·5    do the deal, correct?
     ·6    · · · A· ·Yes.
     ·7    · · · · · MR. JONELIS:· Let's mark as Exhibit No. 15 an
     ·8    e-mail produced by your counsel, Mr. Cloth, and Bates
     ·9    marked CW_00182 through 183.
     10    · · · · · (Exhibit 15 marked)
     11    · · · · · MR. JONELIS:· And just to preview, after I ask
     12    about this exhibit, let's break for lunch.
     13    · · · · · MR. FRIED:· Whenever you want.
     14    · · · · · MR. JONELIS:· Okay.
     15    · · · Q· ·Mr. Cloth, subject line of this e-mail is "Robert
     16    Harris."· Do you see that?
     17    · · · · · MR. FRIED:· You're referring to the top e-mail,
     18    right?
     19    · · · · · MR. JONELIS:· I mean, it's --
     20    · · · · · MR. FRIED:· Well, it's a chain of e-mails.
     21    · · · · · MR. JONELIS:· I'm sorry.· It's an e-mail string.
     22    I thought that's what I said, if I misspoke.
     23    · · · · · The e-mail string, the subject line throughout
     24    the e-mail string --
     25    · · · · · MR. FRIED:· Oh, you're right.· I mis- --


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     ·1    · · · · · MR. JONELIS:· -- is "Robert Harris."
     ·2    · · · · · MR. FRIED:· I knew that.· Okay.
     ·3    · · · · · MR. JONELIS:· Let me give a clean question here,
     ·4    please.
     ·5    · · · Q· ·Mr. Cloth, the subject line of this e-mail string
     ·6    is "Robert Harris," correct?
     ·7    · · · A· ·Yes.
     ·8    · · · Q· ·Okay.· Please take a moment to review this
     ·9    e-mail.
     10    · · · A· ·I -- I've read it.
     11    · · · Q· ·Okay.· Looking at the second page, let's start
     12    there.
     13    · · · A· ·Yeah.
     14    · · · Q· ·Do you see where Sandy Schmidt initially e-mailed
     15    you on the morning of December 8th, 2021 and wrote:
     16    · · · · · "Good morning, having a hard time
     17    · · · · · sleeping.· Robert called me last
     18    · · · · · night anxious and nervous.· I have
     19    · · · · · been keeping him at bay.· When do
     20    · · · · · you think we will know more on
     21    · · · · · Pathway?· He is now getting
     22    · · · · · concerned with the return of his
     23    · · · · · money vs the return on his money."
     24    · · · · · Do you see that?
     25    · · · A· ·Yeah.


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     ·1    · · · Q· ·You're not looking at it, Mr. --
     ·2    · · · A· ·I read it.
     ·3    · · · Q· ·Do you see that?
     ·4    · · · A· ·Yeah.
     ·5    · · · Q· ·Okay.· And do you see at the top of the page --
     ·6    Mr. Cloth, you can look at the e-mail -- you responded:
     ·7    · · · · · "To be honest, I'd Rather pay him
     ·8    · · · · · off with this money and keep the
     ·9    · · · · · massive returns for us.· I like him,
     10    · · · · · but I won't work with him again.
     11    · · · · · He's always giving me the creeps."
     12    · · · · · Do you see that?
     13    · · · A· ·Yes.
     14    · · · Q· ·What did you mean when you wrote that "he's
     15    always giving me the creeps"?
     16    · · · · · MR. FRIED:· He asked the question.· Tell him.
     17    · · · · · THE WITNESS:· Well, he's an odd conspiracy
     18    theorist and just a weirdo.· And so it -- it was a shame
     19    that, you know, we had an investor that, you know, liked
     20    the space, some of the shows, you know, will do just fine.
     21    At the time of all of these e-mails, you know, we were
     22    pushing for a resolve, but there was no way, even if all of
     23    these things repaid exactly the way he wanted, that we
     24    would have taken any other money from him.
     25    · · · Q· ·Because he gave you the creeps?


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     ·1    · · · A· ·Yeah.· I get to choose who we work with and who
     ·2    we don't work with.
     ·3    · · · Q· ·Other than what you just told me, is there any
     ·4    other reason that Mr. Harris had always given you the
     ·5    creeps as of the December 8th, 2021?
     ·6    · · · A· ·No.· Just, you know, a general feeling.
     ·7    · · · Q· ·Did you think this was a polite way to describe
     ·8    somebody who loaned your company nearly 15 million in still
     ·9    unpaid funds?
     10    · · · · · MR. FRIED:· Objection.· I don't think he's
     11    describing anyone.
     12    · · · · · But you can answer.
     13    · · · · · MR. JONELIS:· I'll withdraw the question.
     14    · · · · · THE WITNESS:· Yeah.
     15    BY MR. JONELIS:
     16    · · · Q· ·Is this the only time, Mr. Harris -- withdraw the
     17    question.
     18    · · · · · Is this the only time, Mr. Cloth, you've ever
     19    disparaged my client in a written communication?
     20    · · · · · MR. FRIED:· Object to the form.· I don't agree
     21    that he's disparaged anyone either.
     22    · · · · · THE WITNESS:· I didn't disparage anybody.
     23    · · · · · MR. FRIED:· It's a mischaracterization.
     24    · · · · · THE WITNESS:· Just because I think he's creepy
     25    doesn't mean that I'm disparaging him.


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     ·1    · · · · · MR. FRIED:· With all due respect, I really am
     ·2    letting you go.· You're suing my client for fraud, and we
     ·3    all believe it's a ridiculous claim.· That's far more
     ·4    disparaging than saying somebody creeps them out.
     ·5    · · · · · THE WITNESS:· Yeah.
     ·6    · · · · · MR. FRIED:· Ask your next question and don't
     ·7    screw around with my client again.· I've been really
     ·8    respectful, David.· You're pushing me now.
     ·9    BY MR. JONELIS:
     10    · · · Q· ·Mr. Cloth, do you see you went on in this
     11    e-mail --
     12    · · · · · MR. FRIED:· By the way, just for the record, his
     13    personal opinion about Mr. Harris, who seems like a lovely
     14    man, is irrelevant to the case.
     15    BY MR. JONELIS:
     16    · · · Q· ·Mr. Cloth, looking back at Exhibit -- 15?
     17    · · · · · MS. LEEKER:· This last one's 15, yes.
     18    · · · · · MR. JONELIS:· Yeah.
     19    · · · Q· ·Looking back at Exhibit 15, do you see that you
     20    went on to write, "I'll tell him we're working on an exit
     21    not sure how it will work out."· Do you see that?
     22    · · · A· ·Yes.
     23    · · · Q· ·What did you mean by "not sure how it will work
     24    out"?
     25    · · · A· ·Well, by this time, you know, the information we


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     ·1    were getting from BRON was getting sketchier and sketchier
     ·2    and sketchier and, you know, BRON had other lines of
     ·3    revenue that -- that they were working on, namely, a large
     ·4    equity investment that was supposed to come into the
     ·5    studio.· And I had told Aaron that, you know, some of that
     ·6    money needs to go back to Robert for this show.
     ·7    · · · Q· ·So were you saying, "I'll tell him we're working
     ·8    on an exit but I'm not sure how it's going to work out" or
     ·9    were you telling him -- or were you -- did you mean, "I
     10    will tell him that we're working on an exit, but we're not
     11    sure how it's going to work out"?· Meaning when you said,
     12    "I'll tell him we're working on an exit not sure how it
     13    will work out," did you mean you were going to tell
     14    Mr. Harris that you weren't sure how it was going to work
     15    out?
     16    · · · A· ·So irrespective of the lawsuit, to this day, we
     17    are still working on the exits of the shows for Mr. Harris.
     18    Never since he made any of these investments have we ever
     19    given up on repaying these shows.· And the meaning of the
     20    e-mail was me trying to work with BRON to get other money
     21    to repay Robert for this Pathway investment.
     22    · · · Q· ·Did you ever tell Mr. Harris that if he filed a
     23    lawsuit against you, he would never get back a penny of his
     24    money?
     25    · · · A· ·Um, I don't know.· Maybe in the heat of an


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     ·1    argument maybe.
     ·2    · · · Q· ·Turning to the first page of the document,
     ·3    Exhibit 15.
     ·4    · · · A· ·Which -- oh, which -- which one?
     ·5    · · · · · MR. FRIED:· Same document that you've been
     ·6    looking at.
     ·7    · · · · · THE WITNESS:· No, no.· What -- what's the subject
     ·8    line?· Is it the one that says Robert Harris?
     ·9    · · · · · MR. JONELIS:· Robert Harris.
     10    · · · · · THE WITNESS:· Yeah.
     11    BY MR. JONELIS:
     12    · · · Q· ·Do you see at the bottom where Mr. Schmidt wrote
     13    to you, "We need to be more transparent with him as to
     14    where this is at and what has happened"?· Do you see that?
     15    · · · A· ·Yes.
     16    · · · Q· ·Okay.· And do you see that you responded, "He's
     17    not going to believe our transparency.· The fucking
     18    guy. . ."?· The "conspiracy theorist."· Do you see that?
     19    · · · A· ·Yes.
     20    · · · Q· ·Okay.· What did you mean when you referred to
     21    Mr. Harris as a conspiracy theorist?
     22    · · · A· ·Oh, that was just from a lunch that we had and he
     23    was talking about an anti-vaX shit that he -- you know, he
     24    didn't believe in, you know, any of the -- the COVID
     25    protocols or vaccines or -- I think he -- just more creepy


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     ·1    shit.· That's all.
     ·2    · · · Q· ·Other than what you just said, was there any
     ·3    other reason why you referred to him as a conspiracy
     ·4    theorist?
     ·5    · · · A· ·I -- I -- I think back then it was just based on
     ·6    a lunch that I had had with him, and coming out of the
     ·7    lunch going, "Wow, there are really people like this that
     ·8    exist."
     ·9    · · · Q· ·So your position as of December 8th, 2021 was
     10    that Mr. Harris doesn't need to get transparency because
     11    he's not going to believe it --
     12    · · · A· ·No, no, no.· No, no, no.
     13    · · · · · MR. FRIED:· Let him -- let him ask his question.
     14    · · · · · THE WITNESS:· Okay.
     15    · · · · · MR. FRIED:· I'll object.· Let him ask --
     16    · · · · · THE WITNESS:· Okay.
     17    · · · · · MR. FRIED:· -- his question.
     18    · · · · · MR. JONELIS:· Okay.· Let me rephrase the
     19    question.
     20    · · · Q· ·Your position as of December 8th, 2021 is that
     21    Mr. Harris was not going to believe your transparency with
     22    respect to the recoupment or status of his money because he
     23    had beliefs concerning COVID and masking that you
     24    considered to be conspiracy-like?
     25    · · · A· ·No.


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     ·1    · · · Q· ·Okay.· So when you wrote, "He's not going to
     ·2    believe our transparency.· The fucking guy is a conspiracy
     ·3    theorist," were you stating that he wasn't going to believe
     ·4    your transparency because he was a conspiracy theorist or
     ·5    are those two separate statements, Mr. Cloth?
     ·6    · · · A· ·They're two separate statements.
     ·7    · · · Q· ·Fantastic.· So why as of April -- sorry --
     ·8    December 8th, 2021 --· why as of December 8th, 2021 did you
     ·9    state, "He's not going to believe our transparency"?
     10    · · · A· ·Honestly, at the time, I was starting to believe
     11    it.· Because we were getting statements from the studio
     12    saying, "This is going on.· This is going on.· We're
     13    working on a sale here.· Oh, this licensing deal fell
     14    through.· Or this advertising deal fell through."· Like
     15    it -- it was like BRON could show him where the show was,
     16    but it -- it began to be unbelievable to me.· We weren't
     17    the producer.· You know, we had to take our information
     18    from the producers.· You know, I -- I -- I don't know what
     19    the resolve of Pathway will be to be honest with you.· But
     20    none of this shows at any given time that we said something
     21    that we didn't absolutely believe at the time of writing
     22    it.
     23    · · · · · MR. FRIED:· Just listen to his question and
     24    ask -- answer his questions.
     25    · · · · · THE WITNESS:· So I --


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     ·1    BY MR. JONELIS:
     ·2    · · · Q· ·Mr. Cloth --
     ·3    · · · A· ·So I answered your question.
     ·4    · · · Q· ·-- have you ever been credited on a motion
     ·5    picture as a producer?
     ·6    · · · A· ·Yes.
     ·7    · · · Q· ·Which motion pictures?
     ·8    · · · A· ·I don't know.· There's 120 of them.
     ·9    · · · Q· ·Too many to list?
     10    · · · A· ·Too many to list.
     11    · · · Q· ·What about the motion pictures or television
     12    projects in this case.· Let's start with Bubbles Hotel.
     13    Pursuant to the contracts in connection with that picture,
     14    are you entitled to a producer credit?
     15    · · · A· ·Yes.
     16    · · · Q· ·What about Fables?· Pursuant to the contracts in
     17    connection with Fables, are you entitled to a
     18    producer credit?
     19    · · · A· ·I'm entitled to an executive producer credit.
     20    · · · Q· ·Okay.· Pursuant to the contracts pertaining to
     21    Hailey and the Hero Heart, are you entitled to a producer
     22    credit?
     23    · · · A· ·To an executive producer credit.
     24    · · · Q· ·Okay.· Well, there's -- let's go through the
     25    projects.· That's easier.


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     ·1    · · · · · Pursuant to the contracts for the project
     ·2    Monkey Man, are you entitled to a producer credit?
     ·3    · · · A· ·Executive producer credit.
     ·4    · · · Q· ·Okay.· Pursuant to the contracts for
     ·5    GHOSTBUSTERS: AFTERLIFE -- well, actually, that one came
     ·6    out.· Did you get a producer credit on GHOSTBUSTERS:
     ·7    AFTERLIFE?
     ·8    · · · A· ·An executive producer credit, yes.
     ·9    · · · Q· ·No producer credit?
     10    · · · A· ·No producer credit.
     11    · · · Q· ·Okay.· What about The Pathway, are you entitled
     12    to a producer credit in connection with The Pathway?
     13    · · · A· ·As a TV show, yes.· I think -- TV and film flip
     14    the meaning of producer.· So in film, executive producer
     15    pertains to the business.· Producer pertains to physical
     16    production.· In television, producer is the business and
     17    executive producer is the physical production.· So my
     18    producing credits are always just on the business side.
     19    · · · Q· ·How do you know -- how do you know when you're
     20    talking about executive producer means one thing for film
     21    and producer means something, what's your basis for giving
     22    that testimony here today?
     23    · · · A· ·My basis is because I've done this 120 times.
     24    · · · Q· ·Done what?
     25    · · · A· ·Produced and executive produced films and


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     ·1    television shows.
     ·2    · · · · · MR. JONELIS:· Can we get a little star on that
     ·3    one, please.
     ·4    · · · · · (Reference requested)
     ·5    BY MR. JONELIS:
     ·6    · · · Q· ·What about Young Bear Grylls, did you get a
     ·7    producer credit on that one?
     ·8    · · · A· ·I assume contractually I do, but it's not out yet
     ·9    and not finished.
     10    · · · Q· ·Why do you assume you'd get a producer credit on
     11    Young Bear Grylls?
     12    · · · A· ·It would just be something we would negotiate.
     13    · · · Q· ·Okay.· And what would entitle you to a producer
     14    credit?
     15    · · · A· ·What would entitle me?· The fact that we're the
     16    contracting party to provide financing to the show.
     17    · · · Q· ·Okay.· Let's go back to your statement in
     18    Exhibit No. 15 that "He's not going to believe our
     19    transparency.· The fucking guy is a conspiracy theorist."
     20    · · · A· ·Yep.
     21    · · · Q· ·Tell me what you meant by "He's not going to
     22    believe our transparency."· You told me what he meant by --
     23    what you meant by "the fucking guy is a conspiracy
     24    theorist."· You understood, Mr. Cloth, that by the time you
     25    made that statement, Mr. Harris had already entered into


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     ·1    numerous agreements with your company that provided for his
     ·2    money to be paid back within a specific time period,
     ·3    correct?
     ·4    · · · A· ·Yes.
     ·5    · · · · · MR. FRIED:· Objection to form.
     ·6    · · · · · THE WITNESS:· Oh --
     ·7    · · · · · MR. FRIED:· You can answer.
     ·8    · · · · · THE WITNESS:· Yes.
     ·9    · · · · · MR. FRIED:· You can answer.
     10    BY MR. JONELIS:
     11    · · · Q· ·You understood that by the time of this e-mail
     12    exchange -- you understood that by the time of this e-mail
     13    exchange, Mr. Harris had already given you millions and
     14    millions of dollars based on your representations about the
     15    status of the various projects for which he was loaning you
     16    money, right?
     17    · · · · · MR. FRIED:· Objection to form.
     18    · · · · · You can answer.
     19    · · · · · THE WITNESS:· Yes.
     20    BY MR. JONELIS:
     21    · · · Q· ·You understood that by the time of this e-mail
     22    exchange not a single one of the representations you made
     23    to Mr. Harris about the project had actually come to
     24    fruition?
     25    · · · · · MR. FRIED:· Objection to form.


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     ·1    · · · · · You can answer.
     ·2    · · · · · THE WITNESS:· Yes.
     ·3    BY MR. JONELIS:
     ·4    · · · Q· ·So was it unreasonable at this point for
     ·5    Mr. Harris to be concerned about the status of his money?
     ·6    · · · A· ·No.· Not at all.
     ·7    · · · Q· ·So was he being a conspiracy theorist or was he
     ·8    just worried about where his money had gone?
     ·9    · · · · · MR. FRIED:· Objection to form.
     10    · · · · · THE WITNESS:· In a general sense, he was worried
     11    where his money went.· That was my understanding.· You
     12    know, you've pulled out a single e-mail, you know, based on
     13    a conversation that I was having with Sandy.· So, you know,
     14    I -- I -- I wouldn't say that there was much relevance to
     15    the conspiracy theorist comment in relation to whether or
     16    not we would work tirelessly to get these shows finished,
     17    sold, delivered, and repaid.
     18    · · · · · MR. JONELIS:· I said I'd stop after that exhibit
     19    for lunch.· Let's stop for lunch, and then we'll pick up
     20    where we left off.
     21    · · · · · Should we do 30 minutes?· Is that okay with you
     22    guys?
     23    · · · · · MR. FRIED:· Is that okay with you?
     24    · · · · · THE WITNESS:· I'm not eating so. . .
     25    · · · · · MR. JONELIS:· Most importantly, is that okay with


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     ·1    our court reporter and our videographer?
     ·2    · · · · · THE COURT REPORTER:· I'm fine.
     ·3    · · · · · MR. JONELIS:· Okay.· 30 minutes.· It's 12:16.
     ·4    Let's revert back at 12:46.
     ·5    · · · · · THE VIDEOGRAPHER:· Okay.· We'll go off the video
     ·6    record.· The time is now 12:15 p.m.
     ·7    · · · ·(Lunch recess taken from 12:15 p.m. until 12:56 p.m.
     ·8    · · · · · THE VIDEOGRAPHER:· Thank you everyone.
     ·9    · · · · · Back on the video record.· The time is 12:56 p.m.
     10
     11    · · · · · · · · · ·EXAMINATION (Resumed)
     12    BY MR. JONELIS:
     13    · · · Q· ·All right.· Welcome back from lunch.
     14    · · · · · Mr. Cloth, you recall in connection with this
     15    lawsuit, there was a request for documents that my firm
     16    sent to your firm, which I'm assuming they showed to you at
     17    this point.· Do you know what I'm talking about?
     18    · · · A· ·Sure.· Part of the lawsuit, yes.
     19    · · · Q· ·Right.· So it's a protocol that we do again.
     20    Your attorneys did the same thing to me, which then I
     21    showed it to my client.· It's a protocol pursuant to which
     22    we exchange the documents that we have that were requested
     23    subject to any objections that your attorneys may make,
     24    correct?
     25    · · · A· ·Yes.


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     ·1    · · · Q· ·Okay.· You understand that.
     ·2    · · · · · And in connection with that request -- and,
     ·3    again, we're not going to take the time to go through it; I
     ·4    want a general understanding -- did you provide your
     ·5    attorney with e-mails to be produced to us in connection
     ·6    with those requests?
     ·7    · · · A· ·Yes.
     ·8    · · · Q· ·And those e-mails came from your own computer or
     ·9    from somewhere else or both?
     10    · · · A· ·I think they were a complete e-mail dump from our
     11    server.
     12    · · · Q· ·When you say "our server," what does that mean?
     13    · · · A· ·Creative Wealth's server.
     14    · · · Q· ·Okay.· I appreciate that.
     15    · · · · · And just to be clear, other than Creative
     16    Wealth's server, did you go to any other third parties to
     17    get their e-mails?
     18    · · · A· ·I don't think so.
     19    · · · Q· ·Okay.· Again, I'm not trying to be controversial.
     20    · · · A· ·Yeah.
     21    · · · Q· ·I'm just trying to understand.
     22    · · · · · MR. FRIED:· It's all right.
     23    BY MR. JONELIS:
     24    · · · Q· ·So to the extent that we got e-mails in this case
     25    produced through your counsel, those all came from your


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     ·1    Creative Wealth's server?
     ·2    · · · A· ·Yes.
     ·3    · · · · · MR. JONELIS:· Okay.· I'm going to show you a
     ·4    document produced by your attorneys.
     ·5    · · · · · Where are we at now, Kelsey?
     ·6    · · · · · MS. LEEKER:· This will be 16.
     ·7    · · · · · MR. JONELIS:· 16.· Okay.· Let's please mark this
     ·8    as Exhibit No. 16.· Thank you so much.
     ·9    · · · · · THE WITNESS:· Is this an e-mail?
     10    · · · · · MR. JONELIS:· This is for Mr. Cloth.· Here is for
     11    your attorney.
     12    · · · · · (Exhibit 16 marked)
     13    BY MR. JONELIS:
     14    · · · Q· ·This appears to be an e-mail from Sandy Schmidt
     15    to undisclosed redacted recipients, dated as of January
     16    4th, 2021, with the subject line "CWM Monkey Man Update."
     17    Do you see that?
     18    · · · A· ·Yes.
     19    · · · Q· ·And, to your knowledge, have you ever seen this
     20    e-mail before?
     21    · · · A· ·No.
     22    · · · Q· ·The reason I ask -- I know you're not cc'd, but
     23    all of these, if they came from Creative's server, it's not
     24    like we got this from Sandy outside of the lawsuit.                I
     25    just, you know --


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     ·1    · · · · · MR. FRIED:· I think I can explain.
     ·2    · · · · · MR. JONELIS:· Please.
     ·3    · · · · · MR. FRIED:· Sam and I just confirmed, we believe
     ·4    that he was blind-copied on this.
     ·5    · · · · · MR. JONELIS:· Okay.
     ·6    · · · · · MR. FRIED:· That's why it's not showing.                 I
     ·7    believe that.· We can verify that for you, but I think --
     ·8    because you may see other documents --
     ·9    · · · · · MR. JONELIS:· I don't --
     10    · · · · · MR. FRIED:· -- like this one.
     11    · · · · · MR. JONELIS:· I don't need your -- your -- I
     12    appreciate it, first of all, saying that.
     13    · · · Q· ·But, your understanding -- just to piggyback,
     14    Mr. Cloth, on what your attorney said, is it your
     15    understanding you may have been blind-copied on this
     16    e-mail?
     17    · · · A· ·Yes.· It's conceivable, yes.
     18    · · · · · THE VIDEOGRAPHER:· Your microphone, I'm sorry,
     19    is --
     20    · · · · · MR. JONELIS:· Oh, my gosh, look at that.· My
     21    microphone fell off again.· Let me put that back on.
     22    · · · · · THE VIDEOGRAPHER:· Sorry.
     23    · · · · · MR. JONELIS:· Silly me.· Hold on.· I'll put that
     24    back on.· Okay.
     25    · · · Q· ·All right.· Mr. Cloth, let's take a look at this


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     ·1    e-mail.· You see the first line starts with "Happy"?
     ·2    · · · A· ·Yes.
     ·3    · · · Q· ·Second line starts with "I"?
     ·4    · · · A· ·Yes.
     ·5    · · · Q· ·Third line starts with "Monkey"?
     ·6    · · · A· ·Yep.
     ·7    · · · Q· ·Okay.· And the last one on that line is "The."
     ·8    Do you see that?
     ·9    · · · A· ·Yes.
     10    · · · Q· ·Okay.· So let's start with "The."· Do you see on
     11    January 4th, 2021, Sandy Schmidt stated to some undisclosed
     12    recipients in an e-mail with the subject line "CWM
     13    Monkey Man Update," he stated, "The pandemic has made this
     14    film more valuable due to the lack of content in the
     15    marketplace."· Do you see that?
     16    · · · A· ·Yes.
     17    · · · Q· ·Do you agree with that statement by Mr. Schmidt?
     18    · · · A· ·Um, yeah.· I mean, that's how the show turned
     19    out.· I mean --
     20    · · · Q· ·Okay.
     21    · · · A· ·-- this means nothing.· The show sold to Netflix.
     22    · · · · · MR. FRIED:· He just wants to know --
     23    · · · · · THE WITNESS:· Yeah.
     24    · · · · · MR. FRIED:· -- if you agree with the statement.
     25    · · · · · THE WITNESS:· In some instances, yes.· Some


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     ·1    instances, no.· And in the case of Monkey Man, yes, it
     ·2    became more valuable because it was a -- a show that we
     ·3    actually got through production during the pandemic.
     ·4    BY MR. JONELIS:
     ·5    · · · Q· ·And that's why you agree with the statement "The
     ·6    pandemic has made this form" -- and that's why you agree
     ·7    with this statement, "The pandemic has made this film more
     ·8    valuable due to the lack of content in the marketplace"?
     ·9    · · · A· ·Yes.· And the fact that the eventual sale was
     10    over $30,000,000.· That doesn't happen every day.
     11    · · · Q· ·So you agree with Mr. Schmidt's statement?
     12    · · · A· ·Yes.
     13    · · · Q· ·Thank you.
     14    · · · · · All right.· Let's mark as Exhibit No. --
     15    · · · · · MS. LEEKER:· 17.
     16    · · · · · MR. JONELIS:· -- 17, please, another document
     17    produced apparently from Creative Wealth servers, provided
     18    to your counsel and then provided to me, with the Bates
     19    number of CW_002786 through 2787.
     20    · · · · · Sorry.· Do you want me to -- I'll give them to
     21    you and then you can --
     22    · · · · · THE VIDEOGRAPHER:· Yeah, I think that's probably
     23    the best way.
     24    · · · · · MR. JONELIS:· Don't want to overreach there.
     25    · · · · · THE WITNESS:· Is this mine?


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     ·1    · · · · · MR. JONELIS:· Yeah --
     ·2    · · · · · THE WITNESS:· Okay.
     ·3    · · · · · MR. JONELIS:· -- that is yours.· Thank you,
     ·4    Mr. Cloth.
     ·5    · · · · · (Exhibit 17 marked)
     ·6    BY MR. JONELIS:
     ·7    · · · Q· ·All right.· The subject line of this e-mail,
     ·8    Mr. Cloth, is "Update Jan 27, 2022."· Do you see that?
     ·9    · · · A· ·Yes.
     10    · · · Q· ·And January, I assume you agree stands for
     11    January --
     12    · · · A· ·Yes.
     13    · · · Q· ·-- especially this was sent on January 27, 2022.
     14    Do you see that?
     15    · · · A· ·Yes.
     16    · · · Q· ·And if you look at the bottom half of the
     17    document, do you see the e-mail that you had sent to Sandy
     18    Schmidt at 1:45 PM on Thursday, January 27, 2022?
     19    · · · A· ·I do.
     20    · · · Q· ·Okay.· Do you recall sending this e-mail?
     21    · · · A· ·I do.
     22    · · · Q· ·Do you have any -- okay.
     23    · · · · · What was the purpose of this e-mail, as you
     24    recall?
     25    · · · A· ·It was to update people as to what's gone on with


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     ·1    various shows.
     ·2    · · · Q· ·Okay.· And you understood that then this update
     ·3    would then be forwarded by Sandy to his group of investors,
     ·4    correct?
     ·5    · · · A· ·I do.
     ·6    · · · Q· ·Okay.· And if you look at the first paragraph of
     ·7    your e-mail to Mr. Schmidt, first paragraph --
     ·8    · · · A· ·Yes.
     ·9    · · · Q· ·-- you go up six lines from the bottom.· I'm only
     10    trying to help because it's a big verbose paragraph.· So 1,
     11    2, 3, 4, 5, 6.· That's the line that starts "taking my
     12    call."· Are we on the same page?
     13    · · · A· ·Yes.
     14    · · · Q· ·Go over right after that and we're going to start
     15    at "We are. . ."· Do you see that?
     16    · · · A· ·Yep.
     17    · · · Q· ·Okay.· Do you see where you wrote:
     18    · · · · · "We are all at the end here.           I
     19    · · · · · anticipate funds closing very
     20    · · · · · shortly, as a matter of fact" --
     21    · · · · · this -- this is kind of funky here;
     22    · · · · · I'm assuming that's an error from
     23    · · · · · the production, but:· ". . .as a
     24    · · · · · matter of fact" something "being
     25    · · · · · told imminently."


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     ·1    · · · · · And I'll represent to you there's an identical
     ·2    e-mail sent subsequent to this where it says "As a matter
     ·3    of fact, I'm being told imminently."· So if we agree that's
     ·4    what you intended there, that will make it easier.
     ·5    · · · · · MR. FRIED:· We'll stipulate.
     ·6    · · · · · THE WITNESS:· That is what I was --
     ·7    BY MR. JONELIS:
     ·8    · · · Q· ·Okay.· So let's go back.· "We are all" -- okay.
     ·9    You write six lines from the bottom of the first paragraph:
     10    · · · · · "We are all at the end here.           I
     11    · · · · · anticipate funds closing very
     12    · · · · · shortly, as a matter of fact [I'm]
     13    · · · · · being told imminently.· The payments
     14    · · · · · being processed now will allow for
     15    · · · · · full exits with all outstanding
     16    · · · · · interest."
     17    · · · · · Do you see that?
     18    · · · A· ·I do.
     19    · · · Q· ·You sent this e-mail on January 27, 2022,
     20    correct?
     21    · · · A· ·Yes.
     22    · · · Q· ·And we're now in September of 2023, correct?
     23    · · · A· ·Yes.
     24    · · · Q· ·Okay.· Over the last one and a half years since
     25    you sent this e-mail to Mr. Schmidt, were payments actually


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     ·1    processed as you stated would happen in the e-mail?
     ·2    · · · A· ·Not a single penny.
     ·3    · · · Q· ·Okay.· Thank you.
     ·4    · · · · · Did any of your investors receive full exits with
     ·5    all outstanding interest as you stated in this e-mail?
     ·6    · · · A· ·Not from production, no.
     ·7    · · · Q· ·Okay.· So there's a condition there when you say
     ·8    "not from production."· Did any of your investors receive
     ·9    full exits with all outstanding interest from places other
     10    than production?
     11    · · · A· ·Yeah.· There might have been clients of ours
     12    that, you know, we paid certain people out of our own
     13    resources?
     14    · · · Q· ·Okay.· And as you sit here today, when you refer
     15    to clients, and I assume, based on my question, would that
     16    be investors?
     17    · · · A· ·Yes.
     18    · · · Q· ·Okay.· Investors of yours who you paid out of
     19    your own resources.
     20    · · · A· ·Right.
     21    · · · Q· ·As you sit here today, can you explain the
     22    circumstances that would have given rise to payment to
     23    those investors as opposed to investors in connection with
     24    the production?
     25    · · · A· ·No, not really.· They're unrelated to this matter


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     ·1    and, you know, we wouldn't give out any private information
     ·2    on other clients.
     ·3    · · · · · MR. FRIED:· He's not asking you for names.· He's
     ·4    asking you the circumstances.
     ·5    · · · · · THE WITNESS:· I -- I don't know.· Some -- you
     ·6    know, somebody said, you know, "My house was closing and I
     ·7    need my $50,000 back," then, you know, we would have paid
     ·8    them their $50,000 back.· Something like that.
     ·9    BY MR. JONELIS:
     10    · · · Q· ·What if somebody said, "I owe a bunch of people
     11    4.5 million that I took from them in connection with these
     12    investments that I need to give back to them," was that a
     13    situation where you might want to give it back to that
     14    person, as well?
     15    · · · A· ·Uh, we would want to repay everybody, but we only
     16    had limited resources.
     17    · · · Q· ·So was that -- was that just a exemplar when you
     18    talked about somebody that needed money for a house or was
     19    that --
     20    · · · A· ·It was just an example.
     21    · · · Q· ·Let me please finish my question.
     22    · · · · · When you referred to giving somebody some money
     23    back because they needed it for their house, for example,
     24    did you give any investors back money in connection with
     25    any of the productions that Sandy and you communicated


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     ·1    about on January 27, 2022 --
     ·2    · · · A· ·I --
     ·3    · · · Q· ·-- because they needed money for their house?
     ·4    · · · A· ·I would have to check my records.· So not to my
     ·5    recollection.
     ·6    · · · Q· ·As you sit here today, how many investors between
     ·7    January 27, 2022 at 1:45 PM, and today, September 20th,
     ·8    2023 at 1:08 PM have received money back in connection with
     ·9    the projects referenced in your e-mail that we're looking
     10    at here?
     11    · · · A· ·I don't know.· I would have to -- I would have to
     12    check.
     13    · · · Q· ·More than one?
     14    · · · A· ·Asked and answered.· I don't know.
     15    · · · Q· ·Can you estimate?
     16    · · · A· ·Can't estimate.· Not going to estimate.· I'll
     17    check for you.
     18    · · · Q· ·But there were some?
     19    · · · A· ·As I've said, none of these productions have paid
     20    anybody any money back.· That's my standard answer on the
     21    repayments of these shows.
     22    · · · Q· ·Other than the people who you referred previously
     23    got paid back?
     24    · · · · · MR. FRIED:· No.· Objection.· That's not -- you're
     25    misstating his testimony.· Blatantly.· That's not what he


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     ·1    said.
     ·2    · · · · · THE WITNESS:· None of these productions have paid
     ·3    back any investors.· That's my answer to your question.
     ·4    BY MR. JONELIS:
     ·5    · · · Q· ·Okay.· Looking back at the January 27th e-mail,
     ·6    now we're going to go three lines from the bottom of the
     ·7    first paragraph, and you see the bottom line starts with
     ·8    "owed," the one above that says "clarification" --
     ·9    · · · · · THE WITNESS:· Yeah.
     10    BY MR. JONELIS:
     11    · · · Q· ·-- and above that's "further."· Actually, let's
     12    go just to the one word before "further" which is "For,"
     13    four lines from the bottom.· For, f-o-r, and it's f-o-u-r
     14    lines from the bottom.· So starting there.
     15    · · · · · "For further comfort (and please do
     16    · · · · · not share any of this info with
     17    · · · · · anyone outside our group), I am
     18    · · · · · going to give out the purchase
     19    · · · · · details for each show."
     20    · · · · · Do you see that?
     21    · · · A· ·Yes.
     22    · · · Q· ·Just -- first of all, why wouldn't you want
     23    Mr. Schmidt to share any of this info with anyone outside
     24    the group?
     25    · · · A· ·Because distributors don't want any of their deal


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     ·1    information out in the general public's hands.
     ·2    · · · Q· ·And if you look below this paragraph where you
     ·3    just wrote that, are those in fact the purchase deals --
     ·4    sorry -- are those in fact the purchase details for each
     ·5    show that you stated you would be providing to Mr. Schmidt
     ·6    for further comfort?
     ·7    · · · A· ·They were at the time, yes.
     ·8    · · · Q· ·Absolutely correct.· So as of January 27th, 2022?
     ·9    · · · A· ·Yes.
     10    · · · Q· ·Yeah.· I appreciate the clarification.
     11    · · · · · So looking at this, for example, you see
     12    Monkey Man --
     13    · · · A· ·Yes.
     14    · · · Q· ·-- is the first line on the purchase details that
     15    you've provided.· And you see it says "10.5 million cost"?
     16    · · · A· ·Yes.
     17    · · · Q· ·And then next to that it says "Netflix"?
     18    · · · A· ·Yes.
     19    · · · Q· ·And next to that it says "$33,000,000 purchase
     20    price"?
     21    · · · A· ·Yes.
     22    · · · Q· ·And this seems consistent with what you were
     23    talking about earlier today.
     24    · · · · · This indicates that as of January 27, 2022, there
     25    was a 10.5-million-dollar cost for Monkey Man and a


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     ·1    $33,000,000 purchase price from Netflix for Monkey Man,
     ·2    correct?
     ·3    · · · A· ·That is correct.
     ·4    · · · Q· ·Okay.· And based on the details you provided in
     ·5    this e-mail to Mr. Schmidt on January 27, 2022, it appears
     ·6    each of the projects -- and more specifically, Monkey Man,
     ·7    Hailey and the Hero Heart, Bubbles Hotel, Fables, Gossamer,
     ·8    and Robin Hood had already been purchased for a sum in
     ·9    excess of their cost.· Would you agree or do you want me to
     10    go --
     11    · · · A· ·No.
     12    · · · Q· ·-- through them each --
     13    · · · A· ·That's --
     14    · · · Q· ·-- individually?
     15    · · · A· ·I don't need you to go through it individually.
     16    The only one that was sold was Monkey Man.· The others were
     17    at the time what the prices were for negotiated deals that
     18    the producers were working on for each of the shows.
     19    · · · Q· ·Going back to the language we read earlier that
     20    starts with "For" on line f-o-u-r of -- up from the bottom
     21    of the top paragraph.
     22    · · · A· ·Yep.
     23    · · · Q· ·(Reading):
     24    · · · · · "For further comfort (and please do
     25    · · · · · not share any of this with anyone


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     ·1    · · · · · outside of our group), I'm going to
     ·2    · · · · · give you the purchase details for
     ·3    · · · · · each show."
     ·4    · · · · · Do you see that?
     ·5    · · · A· ·I do, yes.
     ·6    · · · Q· ·So when you wrote "purchase details for each
     ·7    show," was it your intent that these are not actually the
     ·8    purchase price; this is just the contemplated or being
     ·9    negotiated price?
     10    · · · A· ·Yes.· These were the -- look, up until this
     11    point, um, when a distributor -- especially a major
     12    distributor -- makes an offer, they don't back out.· It
     13    just takes us time to negotiate long form and get executed
     14    copies done.
     15    · · · Q· ·Okay.
     16    · · · A· ·There were reasons for each of these shows
     17    falling out.
     18    · · · Q· ·So Monkey Man, when it says $33,000,000 purchase
     19    price, that actually had been purchased, correct?
     20    · · · A· ·Yes.
     21    · · · Q· ·And Netflix was the actual company that actually
     22    purchased for the actual purchase price?
     23    · · · A· ·That's correct.
     24    · · · Q· ·Okay.· But three lines down or four lines down,
     25    Bubbles Hotel, that says the cost is 50 -- sorry -- 5.5


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     ·1    million.· Do you see that?
     ·2    · · · A· ·Yes.
     ·3    · · · Q· ·And then it says "Warner Brothers (Cartoon
     ·4    Network)"?
     ·5    · · · A· ·Yes.
     ·6    · · · Q· ·And just like with Monkey Man, it has the words
     ·7    "purchase price" preceded by 8.7 million?
     ·8    · · · A· ·Right.
     ·9    · · · Q· ·But you're telling me that in this e-mail, that's
     10    not actually a price that was purchased; that's actually
     11    just a contemplated negotiated amount that had not yet been
     12    subject to a purchase?
     13    · · · A· ·Yes.· They were well into documents for this
     14    purchase price.· And in and around that time, AT&T got rid
     15    of Warner Bros. and Discovery came in and kiboshed all
     16    their deals.· And -- and that was one of the reasons why
     17    Pathway got kiboshed.· They were part of TNT, and we just
     18    couldn't get anything done at the time with Warner Bros.
     19    · · · Q· ·I've read snippets of e-mails.· I hate when I'm
     20    defending depositions when the other side takes stuff out
     21    of context and then I ask it.· Look, that's not what I'm
     22    trying to do here.· So just before I ask my next
     23    question --
     24    · · · A· ·I'm just tell- --
     25    · · · Q· ·Before I ask my next question --


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     ·1    · · · · · MR. FRIED:· Listen to his question.
     ·2    · · · · · THE WITNESS:· Dude.
     ·3    BY MR. JONELIS:
     ·4    · · · Q· ·Mr. Cloth, before I ask my --
     ·5    · · · A· ·Gees --
     ·6    · · · Q· ·-- next question, I'd like you -- so that I'm not
     ·7    talking about stuff in a vacuum -- to take the time to look
     ·8    at this entire --
     ·9    · · · A· ·I've read the e-mail.
     10    · · · Q· ·-- chain.
     11    · · · A· ·I crafted the e-mail.· I understand what you're
     12    asking.· I'm telling you.· What we had on the table was an
     13    8.7-million-dollar deal for Bubbles, a $17,000,000 deal for
     14    Netflix, and an 18.7-million-dollar deal for Gossamer.
     15    That was what was on the table.· They didn't materialize
     16    for various reasons.· Netflix didn't perform because, you
     17    know, they lost subscribers and they just kiboshed any
     18    deals that they had on the table.· Same with Warner Bros.
     19    We hadn't seen that before.· So people wanted to know what
     20    was going on with these shows.· So we told them what was
     21    going on.· "This is what we are working on."
     22    · · · Q· ·Mr. --
     23    · · · A· ·That's the -- that's the impetus of this e-mail.
     24    · · · Q· ·Mr. Cloth, when you wrote in this e-mail "I'm
     25    giving" -- "I'm going to give out purchase details for each


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     ·1    show" --
     ·2    · · · A· ·Okay.· I'm not answering --
     ·3    · · · Q· ·Let me ask you --
     ·4    · · · A· ·I'm not answering it anymore.
     ·5    · · · · · MR. FRIED:· Jason, he hasn't asked you a
     ·6    question.
     ·7    · · · · · THE WITNESS:· He has.· He's asked it three --
     ·8    you've -- you've asked the exact same question three times.
     ·9    · · · · · MR. FRIED:· He actually hasn't asked the
     10    question.· Let him ask it.· If I don't like it, I'll
     11    object.
     12    · · · · · THE WITNESS:· Okay.
     13    BY MR. JONELIS:
     14    · · · Q· ·You've stated, Mr. Cloth, that when this says
     15    "purchase price" in here, it's not actually a purchase;
     16    it's a contemplated purchase.
     17    · · · A· ·Yes, that's what I stated.
     18    · · · Q· ·And I've pointed out that the e-mail states in
     19    the part I took out of context in a vacuum, "For further
     20    comfort, I'm going to give out the purchase details for
     21    each show."· That's what you said to Mr. Schmidt.
     22    · · · · · So I'm asking you -- just so that I can't be
     23    accused of putting something in a vacuum -- "Where in this
     24    e-mail string that I'm putting before you do you explain or
     25    reference to Mr. Schmidt that this is a contemplated


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     ·1    purchase price, not an actual purchase price?"· Point me --
     ·2    take however long you want to point me to what you told
     ·3    Mr. Schmidt that you believe would indicate to him that
     ·4    this was not an actual purchase price, it was a TBD,
     ·5    contemplated, not --
     ·6    · · · A· ·It was --
     ·7    · · · Q· ·-- yet materialized purchase price.
     ·8    · · · · · Thank you, Mr. Cloth, if you can do that.
     ·9    · · · A· ·Great.· So I had numerous discussions with
     10    Mr. Schmidt.· Stop looking at him.· You know, you -- you --
     11    you barely understand the business that you're trying to
     12    depose on.· It's embarrassing --
     13    · · · · · MR. FRIED:· Jason --
     14    · · · · · THE WITNESS:· -- the level of understanding --
     15    · · · · · MR. FRIED:· Jason --
     16    · · · · · THE WITNESS:· -- that you have of this business.
     17    · · · · · MR. FRIED:· Jason, just answer his questions.
     18    You don't have to educate him.
     19    · · · · · THE WITNESS:· Sandy and I had numerous discussions
     20    on what these deals look like.· This is the e-mail that he
     21    wanted me to put out to his clients, and that's what we
     22    did.
     23    · · · · · Sandy knew that Monkey Man was a done deal, and
     24    we thought that all the other deals were almost done at
     25    this time.· That's why this e-mail went out.


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     ·1    BY MR. JONELIS:
     ·2    · · · Q· ·Mr. Cloth, can you please point me to where in
     ·3    this e-mail it states that for Hailey and the Hero Heart,
     ·4    Bubbles Hotel, Fables, Gossamer and Robin Hood the deals
     ·5    were not yet --
     ·6    · · · A· ·They're -- it's not in this e-mail.
     ·7    · · · · · MR. FRIED:· You've answered his question.
     ·8    · · · · · MR. JONELIS:· Thank you.
     ·9    · · · · · THE WITNESS:· Fucking moron.
     10    · · · · · MR. FRIED:· You've answered.· You're not here to
     11    educate him.· Answer his questions, please.
     12    · · · · · MR. JONELIS:· Did you get that on the record?
     13    · · · · · THE WITNESS:· Oh, yeah, better get it on the
     14    record.· Yeah.
     15    · · · · · MR. FRIED:· And with all due respect, there is no
     16    jury here.
     17    · · · · · MR. JONELIS:· I --
     18    · · · · · THE WITNESS:· Yeah.
     19    · · · · · MR. FRIED:· I know, but it's embarrassing --
     20    · · · · · THE WITNESS:· The way you --
     21    · · · · · MR. FRIED:· Do you want to --
     22    · · · · · THE WITNESS:· -- read those e-mails --
     23    · · · · · MR. FRIED:· No, no.· Let me do my job, please.
     24    · · · · · THE WITNESS:· Okay.
     25    · · · · · MR. FRIED:· Really the theatrics are really not


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     ·1    working for me.
     ·2    · · · · · MR. JONELIS:· All right.
     ·3    · · · · · MR. FRIED:· Ask your -- I'm trying to be
     ·4    respectful.· Stop showing off for your client and ask
     ·5    questions because you're not really not impressing anyone
     ·6    in the room.
     ·7    · · · · · MR. JONELIS:· Mr. Fried, it's not my job here to
     ·8    impress.
     ·9    · · · · · MR. FRIED:· It's Bill, by the way.
     10    · · · · · MR. JONELIS:· It's my job here to --
     11    · · · · · MR. FRIED:· You're right.· I agree.
     12    · · · · · MR. JONELIS:· It's my job to ask --
     13    · · · · · THE COURT REPORTER:· I can only do one at a time.
     14    · · · · · MR. FRIED:· I agree that --
     15    · · · · · MR. JONELIS:· It's my job --
     16    · · · · · MR. FRIED:· -- it is not your job to impress
     17    anyone.
     18    · · · · · MR. JONELIS:· It's my job to ask my questions.
     19    · · · · · MR. FRIED:· I agree --
     20    · · · · · MR. JONELIS:· I'm asking my questions.
     21    · · · · · MR. FRIED:· -- a hundred percent.· We finally
     22    agree on something.
     23    · · · · · MR. JONELIS:· If you don't like the tone of my
     24    voice, then you can make --
     25    · · · · · MR. FRIED:· It's not even the tone.· It's the


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     ·1    theatrics --
     ·2    · · · · · MR. JONELIS:· -- you can make your record.
     ·3    · · · · · MR. FRIED:· -- that aren't necessary.· No.
     ·4    Listen, you're being argumentative with my client --
     ·5    · · · · · MR. JONELIS:· We have --
     ·6    · · · · · MR. FRIED:· -- but he's being argumentative with
     ·7    you.
     ·8    · · · · · MR. JONELIS:· We have --
     ·9    · · · · · MR. FRIED:· That's the problem.
     10    · · · · · MR. JONELIS:· Mr. --
     11    · · · · · MR. FRIED:· I want you to both stop.
     12    · · · · · MR. JONELIS:· Bill -- Bill, we have a court
     13    reporter here.· We have a video.· We have this -- you can
     14    hear my voice on the thing.
     15    · · · · · MR. FRIED:· I agree with that.
     16    · · · · · MR. JONELIS:· That's fine.· And you're welcome to
     17    make any argument you want, but until then, I'm continuing
     18    to do my job here.
     19    · · · · · MR. FRIED:· I'm not stopping you.
     20    · · · · · MR. JONELIS:· Okay.
     21    · · · · · MR. FRIED:· I'm trying to get you answers.
     22    · · · · · MR. JONELIS:· Well, I think the record says what
     23    the record says.
     24    · · · · · MR. FRIED:· I agree.
     25    BY MR. JONELIS:


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     ·1    · · · Q· ·All right.· Let's talk about this chart again
     ·2    where you say purchase price for some, you say purchase
     ·3    price for others, but apparently there wasn't actually a
     ·4    purchase price.· For --
     ·5    · · · · · MR. FRIED:· Don't answer.
     ·6    BY MR. JONELIS:
     ·7    · · · Q· ·-- these projects, when you sent this information
     ·8    to Sandy Schmidt, what information were you relying upon
     ·9    when you put together this summary of purchase prices?
     10    · · · · · MR. FRIED:· You can answer the question.
     11    Objection to the testimony that plaintiff's counsel gave
     12    before he asked the question.
     13    · · · · · You can answer his question.
     14    · · · · · THE WITNESS:· It would have been sales updates
     15    that we got from BRON and their salespeople.
     16    BY MR. JONELIS:
     17    · · · Q· ·Okay.· And what would those sales updates have
     18    shown?
     19    · · · A· ·The sales updates would have shown discussions
     20    and progress with various studios for the shows themselves
     21    for the sale.
     22    · · · Q· ·Okay.· And just so we can do our job on our end,
     23    in the documents that were produced to our firm from
     24    Creative Wealth servers, any written communications from
     25    BRON that refer to the sales updates that you relied upon


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     ·1    in putting this e-mail together would have been included in
     ·2    those e-mails, correct?
     ·3    · · · A· ·Yes.
     ·4    · · · Q· ·Okay.· So we can look on our end.
     ·5    · · · · · Is it your understanding that the sales updates
     ·6    you received from BRON were put into writing?
     ·7    · · · A· ·I -- I don't know.· You -- you can go through the
     ·8    e-mails.· I -- I don't know.
     ·9    · · · · · MR. FRIED:· He's asking you if there are up- --
     10    if you got sales updates --
     11    · · · · · THE WITNESS:· No, no.· I would get calls
     12    regularly from Aaron and Josh, the guy who handled sales
     13    for BRON, as to what's going on with various shows.
     14    BY MR. JONELIS:
     15    · · · Q· ·And Aaron is Aaron Gilbert?
     16    · · · A· ·Yes.
     17    · · · Q· ·And Josh is?
     18    · · · A· ·I don't know his last name.
     19    · · · · · MR. FRIED:· We're going to get you that.
     20    · · · · · MR. JONELIS:· Okay.
     21    · · · Q· ·So Josh, going to get me the last name, and Aaron
     22    Gilbert provided you, potentially by phone, maybe we'll see
     23    if there were e-mails, with the information that you relied
     24    upon in putting together this e-mail to Sandy Schmidt on
     25    January 27, 2022?


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     ·1    · · · A· ·Yes.
     ·2    · · · Q· ·Okay.· Other than Aaron Josh, insert last name,
     ·3    is there anybody else at BRON whom you would have received
     ·4    information from that led you to update Sandy in this
     ·5    manner?
     ·6    · · · A· ·No.
     ·7    · · · Q· ·Let's take a look as -- we're going to mark as
     ·8    Exhibit --
     ·9    · · · · · MS. LEEKER:· 18.
     10    · · · · · MR. JONELIS:· -- 18 a document that was produced
     11    to us by your attorneys -- no.· Sorry.· no.· This was
     12    produced by us --
     13    · · · · · MR. FRIED:· Yeah.
     14    · · · · · MR. JONELIS:· -- to your attorneys as PLNTF_0224
     15    through 225.· And this appears to be a -- oh, I'm sorry.
     16    No.· Sorry.· This was -- this was PLNTF_ -- yeah, 0224 to
     17    225.· It's a May 7th, 2022 e-mail exchange between you and
     18    Mr. Harris.· Exhibit 18.
     19    · · · · · (Exhibit 18 marked)
     20    BY MR. JONELIS:
     21    · · · Q· ·Do you recall this exchange with Mr. Harris?
     22    · · · A· ·Yes.
     23    · · · Q· ·Okay.· If you could take a look at the e-mail
     24    from Mr. Harris to you.· This is at the bottom of the first
     25    page.· And do you see where he wrote -- this is 1, 2, 3, 4,


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     ·1    5, 6, 7 lines from the top:
     ·2    · · · · · "As of this date, other than the 1.5
     ·3    · · · · · to 2.0 million dispersed to Sandy's
     ·4    · · · · · desperate clients, nothing has gone
     ·5    · · · · · out.· At this point, I need to know
     ·6    · · · · · what's happening.· You've already
     ·7    · · · · · missed 25 million of payments.· If
     ·8    · · · · · you have a problem, then just tell
     ·9    · · · · · us.· I expect honesty.· I don't want
     10    · · · · · glossy renditions of what's going to
     11    · · · · · happen"?
     12    · · · · · Do you see that?
     13    · · · A· ·Yes.· I can read.
     14    · · · Q· ·Okay.· What's your understanding -- sorry.· Was
     15    it your understanding when you received this e-mail that my
     16    client was asking for complete honesty regarding the status
     17    of his money?
     18    · · · A· ·Yes.
     19    · · · Q· ·And when my client referred to the 1.5 to 2.0
     20    million dispersed to Sandy's desperate clients, do you know
     21    what he's referring to?
     22    · · · A· ·Not specifically, no.
     23    · · · Q· ·To your knowledge, was 1.5 to $2,000,000 returned
     24    to Mr. Schmidt's clients in connection with any of the
     25    investments at issue in this case?


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     ·1    · · · A· ·I would have to check.· My -- I can't remember --
     ·2    I can't remember this specific one and a half to two
     ·3    million dollars dispersed to Sandy's desperate clients.
     ·4    · · · Q· ·That's all -- if you can't recall, you can't
     ·5    recall.· That's fine.
     ·6    · · · · · Looking at the top of the page, this is your
     ·7    response to --
     ·8    · · · A· ·Yep.
     ·9    · · · Q· ·-- Mr. Harris, correct?
     10    · · · A· ·Yes.
     11    · · · Q· ·And do you see at the bottom of your response,
     12    right before your "It's a must see" --
     13    · · · A· ·Yeah.
     14    · · · Q· ·-- line, you wrote:
     15    · · · · · "We have $ coming next week and
     16    · · · · · regularly after that.· All your
     17    · · · · · shows will be repaid to you with all
     18    · · · · · outstanding interest."
     19    · · · · · Do you see that?
     20    · · · A· ·Yes.
     21    · · · Q· ·Was that an honest response?
     22    · · · A· ·It was.
     23    · · · Q· ·Did dollars start coming in the following week
     24    and regularly after that?
     25    · · · A· ·No.


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     ·1    · · · Q· ·As of now, more than a year later, has my client
     ·2    been paid back even a dollar of what he invested?
     ·3    · · · A· ·No.
     ·4    · · · · · MR. JONELIS:· Let's please mark as --
     ·5    · · · · · MS. LEEKER:· 19.
     ·6    · · · · · MR. JONELIS:· -- 19 -- as Exhibit 19 a document
     ·7    produced by my firm on behalf of my client as PLNTF_02258.
     ·8    · · · · · (Exhibit 19 marked)
     ·9    BY MR. JONELIS:
     10    · · · Q· ·This is a May 18th, 2022 e-mail from you,
     11    Mr. Cloth, to my client, Mr. Harris.· Do you see that?
     12    · · · A· ·Yes.
     13    · · · Q· ·Do you recall sending this e-mail?
     14    · · · A· ·Yes.
     15    · · · Q· ·Okay.· And as evidenced by the subject line,
     16    which states "Pathway," this e-mail pertained to The
     17    Pathway, correct?
     18    · · · A· ·Yes.
     19    · · · Q· ·To your knowledge, what was the purpose of this
     20    e-mail?
     21    · · · A· ·This was a further financial update from Aaron
     22    Gilbert as to the status of the show.
     23    · · · Q· ·The show being --
     24    · · · A· ·Pathway.
     25    · · · Q· ·Pathway.· Thank you.


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     ·1    · · · · · Looking at the second paragraph of your e-mail,
     ·2    do you see that you wrote:
     ·3    · · · · · "Show was very well received and
     ·4    · · · · · they are working on closing a season
     ·5    · · · · · 2" [detail] -- "a seasons 2 deal in
     ·6    · · · · · the coming weeks."
     ·7    · · · · · Do you see that?
     ·8    · · · A· ·Yes.
     ·9    · · · Q· ·To your knowledge, who are you referring to when
     10    you say "they"?
     11    · · · A· ·TNT.
     12    · · · Q· ·TNT.· And "working on closing a season 2 deal,"
     13    what does "closing a season 2 deal" mean?
     14    · · · A· ·Well, TNT was interested in the show, but they
     15    wanted more than one season.· So they were looking to, you
     16    know, agree to pick up season 1 and season 2.
     17    · · · Q· ·Were they looking to pick up seasons 3 through 5,
     18    Mr. Cloth?
     19    · · · A· ·No, they weren't, because they never greenlit the
     20    show.
     21    · · · Q· ·So as of May 2022, The Pathway had still not been
     22    greenlit for five seasons, correct?
     23    · · · · · MR. FRIED:· Objection to form.· It's a
     24    misstatement of what he's already testified to at least 10
     25    times in this deposition.


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     ·1    · · · · · Answer it again.
     ·2    · · · · · THE WITNESS:· BRON Studios, the producers of the
     ·3    show, had greenlit the show for five seasons.· We had every
     ·4    intention of producing the show for at least five seasons.
     ·5    Producing more than one season provides audience
     ·6    engagement, it provides value, but that is very different
     ·7    than the distributor coming on board and saying that
     ·8    they've greenlit five seasons.· No distributor would ever
     ·9    greenlight five consecutive seasons of anything.· It's not
     10    how the industry works.· So to get a two-season order, that
     11    was -- that would have been amazing, and that's what we
     12    were working towards.· And then after season 2 or partway
     13    through season 2, you would hope for a season 3 and 4
     14    pickup.· And that -- that's how you sell these things.
     15    BY MR. JONELIS:
     16    · · · Q· ·What happens if there's no season 3 or season 4
     17    pickup?
     18    · · · A· ·Well, in this case, the financial model would
     19    have been he still would have been repaid his money plus
     20    interest.· Seasons 2, 3, 4, 5 really didn't involve any
     21    capital outlay from -- from Mr. Harris, and -- and it all
     22    would have been net profits to him.· Just would have meant,
     23    you know, there would have been no subsequent net returns.
     24    · · · Q· ·As of May 18th, 2022, however, there was not even
     25    a closed distribution deal for the second season of The


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     ·1    Pathway, correct?
     ·2    · · · A· ·Yeah.· I got to tell you, you know, we -- we
     ·3    spoke about this on our way out, to have a major sports
     ·4    league break --
     ·5    · · · · · MR. JONELIS:· Hold on.· I'm going to in- --
     ·6    you're --
     ·7    · · · · · MR. FRIED:· Just answer --
     ·8    · · · · · MR. JONELIS:· -- not to tell me --
     ·9    · · · · · MR. FRIED:· He doesn't want to be educated.
     10    · · · · · MR. JONELIS:· I don't want to --
     11    · · · · · THE WITNESS:· He doesn't want --
     12    · · · · · MR. JONELIS:· -- know what you spoke about
     13    with --
     14    · · · · · THE WITNESS:· -- to be --
     15    · · · · · MR. JONELIS:· -- your counsel.
     16    · · · · · THE WITNESS:· Yeah.· No --
     17    · · · · · THE COURT REPORTER:· I can't do this.
     18    · · · · · THE WITNESS:· Okay.
     19    · · · · · MR. JONELIS:· I'm going to --
     20    · · · · · THE WITNESS:· There's no money that's come back.
     21    · · · · · MR. JONELIS:· I'm going to admon- -- I'm going to
     22    ask Mr. Cloth --
     23    · · · · · THE WITNESS:· Okay.
     24    · · · · · MR. JONELIS:· -- not to tell me anything he
     25    talked about with his attorneys.


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     ·1    · · · · · THE WITNESS:· Okay.
     ·2    · · · · · MR. FRIED:· It wasn't a --
     ·3    · · · · · THE WITNESS:· It wasn't --
     ·4    · · · · · MR. FRIED:· That's a fair point.· I appreciate
     ·5    that, Counselor.
     ·6    · · · · · THE WITNESS:· It --
     ·7    · · · · · MR. FRIED:· He was -- honestly, he's -- he's
     ·8    defying his lawyer and trying to help you.· I've asked him
     ·9    not to do that.
     10    · · · · · Answer his questions.
     11    · · · · · THE WITNESS:· Okay.· No, no money has come back
     12    to this day.
     13    · · · · · MR. JONELIS:· Could I get my question read?
     14    · · · · · MR. FRIED:· Yeah, I don't think you heard -- you
     15    didn't answer his question.
     16    · · · · · (Record read as follows:
     17    · · · · · "Question:· As of May 18th, 2022,
     18    · · · · · however, there was not even a closed
     19    · · · · · distribution deal for the second
     20    · · · · · season of The Pathway, correct?")
     21    · · · · · THE WITNESS:· Correct.
     22    BY MR. JONELIS:
     23    · · · Q· ·Do you see in the second to last paragraph, going
     24    back to this e-mail, Mr. Cloth, this is Exhibit 19, you
     25    wrote:


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     ·1    · · · · · "So off a 11M" --
     ·2    · · · · · I'm assuming that's 11,000,000, correct?
     ·3    · · · A· ·Yes.
     ·4    · · · Q· ·So you wrote:
     ·5    · · · · · "So off a 11 [million] total cost,
     ·6    · · · · · we should conservatively generate 20
     ·7    · · · · · plus [million] in revenue by
     ·8    · · · · · October."
     ·9    · · · · · Do you see that?
     10    · · · A· ·I do.
     11    · · · Q· ·Okay.· Were you referring to October of 2022?
     12    · · · A· ·Yes.
     13    · · · Q· ·Okay.· So a year ago?
     14    · · · A· ·Yes.
     15    · · · Q· ·Okay.· And what did you mean when you wrote
     16    "conservatively"?
     17    · · · A· ·So we had got updates in ranges from BRON.· And
     18    so we took the low end of everything and modeled it out.
     19    So if you go to, you know, the paragraph that starts with 8
     20    to 10 [million] in sponsorship, you know, that they
     21    apparently had signed at the time.· So we could be a little
     22    more exacting in that.· The NFT revenue, the NBA/NFT
     23    revenue, that was like three to six or seven million, but
     24    we didn't bother using that.· We -- we used the minimum
     25    amounts that we were given by Aaron and BRON.· And so


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     ·1    "conservatively" was supposed to mean, "Hey, if you're
     ·2    telling me it's three to seven and we're only looking at
     ·3    the bottom end, it could be considerably more than this."
     ·4    · · · Q· ·When you talk about 8 to 10 million in
     ·5    sponsorship had already -- I can read back your answer, you
     ·6    can clarify it -- you said closed or had been -- what were
     ·7    you referring to with 8 to 10 million, if you could -- it
     ·8    sounded like there was something --
     ·9    · · · A· ·So Aaron --
     10    · · · Q· ·-- more def- --
     11    · · · A· ·-- had --
     12    · · · Q· ·I'm sorry.· It sounded like there was something
     13    more definite for that.· Could you explain?
     14    · · · A· ·Well, Aaron had told Robert and I that they had
     15    closed Cadillac, Maxim Magazine, and there might have been
     16    another one.· There were at least three major advertising
     17    partners that they had signed and -- which is why, you
     18    know, on the repayment side, yeah, there was only three to
     19    four million that would come back within that first few
     20    weeks.· They were going to use the other money to shore up
     21    the production costs of season 2.
     22    · · · Q· ·When you wrote "will come back to you within a
     23    few weeks" -- to be more precise, this is where you said "8
     24    to 10 [million] in sponsorship $$, 3 to 4 [million] will
     25    come back to you within a few weeks," what did you mean by


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     ·1    "come back to you"?
     ·2    · · · A· ·Well, this e-mail is from me to Robert.· So "you"
     ·3    in this context would refer to Robert.
     ·4    · · · Q· ·On May 18th of 2022, you told Mr. Harris that --
     ·5    Robert, as you called him -- that 3 to $4,000,000 of his
     ·6    6.5-million-dollar investment was going to come back to him
     ·7    in just a few weeks?
     ·8    · · · A· ·Yes.
     ·9    · · · Q· ·Did it?
     10    · · · A· ·No.
     11    · · · Q· ·It's now September of 2023.· Has any revenue been
     12    generated by The Pathway?
     13    · · · A· ·No.
     14    · · · · · MR. JONELIS:· Let's take a look at another e-mail
     15    exchange between you and Mr. Harris from one day later, on
     16    May 19th, 2022.· This is a document produced by my firm
     17    Bates marked PLNTF_00 -- sorry -- 02284 through 2286.· And
     18    this is going to be Exhibit 20.
     19    · · · · · (Exhibit 20 marked)
     20    BY MR. JONELIS:
     21    · · · Q· ·Do you recall this exchange with Mr. Harris from
     22    May 19th, 2022?
     23    · · · A· ·Yes.
     24    · · · Q· ·Looking at the bottom half of the first page,
     25    this is Mr. Harris' e-mail to you.· Do you see where he


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     ·1    wrote, starting on the first line:
     ·2    · · · · · "Several of the notes are past due.
     ·3    · · · · · I think if you could provide some
     ·4    · · · · · details of, for example the
     ·5    · · · · · animation projects' sales, amounts,
     ·6    · · · · · payment terms, and parties, it would
     ·7    · · · · · deliver some transparency that is
     ·8    · · · · · comforting to an investor holding a
     ·9    · · · · · past due note."
     10    · · · · · Do you see that?
     11    · · · A· ·Yes.
     12    · · · Q· ·And looking at the top of the page, do you see
     13    your response?
     14    · · · A· ·Yes.
     15    · · · Q· ·You wrote, "None of these notes are past due."
     16    Do you see that?
     17    · · · A· ·Yes.
     18    · · · Q· ·What did you mean by "none of these notes are
     19    past due"?
     20    · · · A· ·Well, we would have explained to Sandy, because
     21    Robert came in through Sandy, that the reality of film and
     22    television is nobody's getting repaid until we have some
     23    sort of commercialization of the project.· Creative Wealth
     24    does not magically produce money.· The show has to be sold.
     25    And, in some cases, it's a lot more complex than that.


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     ·1    Netflix doesn't pay up front.· They pay over three years.
     ·2    BRON needed to provide a credit facility to cash-flow the
     ·3    sales deals to bring forward money.· There's a complexity
     ·4    in actually getting paid.
     ·5    · · · · · And so sometimes Sandy would say, "Well, the only
     ·6    way I can sell this note is if I shorten the maturity
     ·7    date."· And we would say, "Well, you can shorten it to
     ·8    whatever you want, but the reality is, nobody's getting
     ·9    repaid until the show is delivered and the distributor
     10    pays."
     11    · · · · · And, you know, they didn't shorten it to the
     12    point where it became completely unreasonable.· We're just
     13    all looking back on this, you know.· And looking at it
     14    today, based on what was said back then, it -- it was
     15    unreasonable.· But at the time, you know, none of what's
     16    happened since then to today we could have contemplated.
     17    · · · Q· ·I'll rephrase my question.· Your position as
     18    of --
     19    · · · · · MR. FRIED:· Objection.· He answered your
     20    question.
     21    · · · · · MR. JONELIS:· No, he didn't.
     22    · · · · · MR. FRIED:· Don't say that on the record.· Just
     23    ask a question.· Because you're disparaging my client by
     24    acting like he didn't answer it when he did.
     25    BY MR. JONELIS:


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     ·1    · · · Q· ·So your position as of May 19th, 2022, Mr. Cloth,
     ·2    was that the repayments to my client under his contracts
     ·3    were not yet due and payable, correct?
     ·4    · · · A· ·No.· I wasn't -- I wasn't saying that they were
     ·5    not due and payable.· I think it was more of an explanation
     ·6    that, you know, "Hold on.· We have to work out some of the
     ·7    sales.· BRON has got their own issues.· You know, we are
     ·8    working to get these things repaid."· But they're not CDs.
     ·9    They don't have like these defined maturity dates.· We try
     10    to be as accurate as we can.· Um, and, in this case, with
     11    BRON, BRON's impairments just blew up everything.
     12    · · · Q· ·Looking back at the e-mail, first page of
     13    Exhibit 20, after you wrote "None of these notes are past
     14    due," you wrote, "We chose these payment dates."· Do you
     15    see that?
     16    · · · A· ·Yes.
     17    · · · Q· ·What did you mean by "we chose these payment
     18    dates"?
     19    · · · A· ·Payment dates --
     20    · · · · · MR. FRIED:· Second --
     21    · · · · · THE WITNESS:· -- or maturity dates?
     22    · · · · · MR. FRIED:· He's asking you about the first line,
     23    the second -- second sentence.
     24    · · · · · THE WITNESS:· Yeah.· "We chose these payment
     25    dates.· Monkey Man" -- oh, sorry, "We chose" -- it


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     ·1    shouldn't have said payment.· It should have said maturity
     ·2    dates.
     ·3    · · · · · Well, because in some regards, we have to choose
     ·4    them.· You know, we discuss what the delivery dates are.
     ·5    To this day, Monkey Man has not delivered to Netflix.· Like
     ·6    to this current date, they have not delivered.· So it
     ·7    shouldn't have said payment.· Payment should have been more
     ·8    equal to delivery and maturity.· But, you know, we choose
     ·9    the maturity dates based on when the producers say they are
     10    delivering the film.
     11    · · · · · MR. JONELIS:· Let's mark as Exhibit 21, please.
     12    This is another e-mail produced by my firm to your counsel
     13    and Bates marked PLNTF_02301.
     14    · · · · · THE WITNESS:· Yes.
     15    · · · · · (Exhibit 21 marked)
     16    BY MR. JONELIS:
     17    · · · Q· ·This is another e-mail between you and Mr. Harris
     18    sent the following day, May 20th, from when you had the
     19    previous exchange?
     20    · · · A· ·Yes.
     21    · · · Q· ·Okay.· Do you recall this e-mail exchange,
     22    Mr. Cloth?
     23    · · · A· ·I do.
     24    · · · Q· ·Looking at the bottom half of this single page
     25    exhibit, do you see where Mr. Harris wrote to you:


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     ·1    · · · · · "Hi Jason,
     ·2    · · · · · "I checked the documents and found
     ·3    · · · · · the following.
     ·4    · · · · · "Bubbles has a term of 18 months as
     ·5    · · · · · of May 2020.
     ·6    · · · · · "Fables has a hard term of November
     ·7    · · · · · 2021.
     ·8    · · · · · "Haley (sic) has a term of 24 months
     ·9    · · · · · as of April 2020.
     10    · · · · · "Gossamer has a term of 18 months as
     11    · · · · · of April 2020.
     12    · · · · · "You were not correct.· All of these
     13    · · · · · are past due."
     14    · · · · · Do you see that?
     15    · · · A· ·Yep.
     16    · · · Q· ·Okay.· Looking at this e-mail, is it your
     17    understanding that Mr. Harris was responding to your
     18    statement from the day before that none of his notes were
     19    past due?
     20    · · · A· ·Right.
     21    · · · Q· ·Okay.· It was his position, in this e-mail at
     22    least, that some of the notes were in fact past due,
     23    correct?
     24    · · · A· ·Correct.
     25    · · · Q· ·That's what he stated.· And looking at the top of


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     ·1    the page, how did you respond to Mr. Harris after he
     ·2    pointed out that his notes were in fact past due?
     ·3    · · · A· ·"It doesn't matter what the docs say when the
     ·4    projects aren't complete."
     ·5    · · · Q· ·So is it your position that Mr. Harris' contracts
     ·6    don't matter?
     ·7    · · · A· ·They do matter.· But those dates on the document
     ·8    are not going to get his money back any quicker when the
     ·9    shows aren't complete.
     10    · · · · · MR. JONELIS:· Moving to June 2022, let's please
     11    mark as Exhibit 22 a June 15th, 2022 e-mail exchange
     12    produced by my firm to your counsel as document PLNTF_02392
     13    through 02393.
     14    · · · · · (Exhibit 22 marked)
     15    BY MR. JONELIS:
     16    · · · Q· ·This appears to be correspondence, Mr. Cloth,
     17    between you and Mr. Harris.· Please take a look at this and
     18    let me know if you recall this e-mail exchange.
     19    · · · A· ·Not specifically, but it looks like an exchange
     20    that Robert and I would have had.
     21    · · · Q· ·So you have no reason to doubt that this is an --
     22    · · · A· ·No.
     23    · · · Q· ·-- an actual e-mail exchanged --
     24    · · · A· ·No.
     25    · · · Q· ·-- between the two of you?


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     ·1    · · · · · Okay.· Thank you.
     ·2    · · · · · Do you see at the top of the first page you wrote
     ·3    to Mr. Harris:
     ·4    · · · · · "I'm stepping into your shoes which
     ·5    · · · · · is why I'm telling you you have zero
     ·6    · · · · · chance of loss and in fact you will
     ·7    · · · · · make considerably more than your
     ·8    · · · · · cost of capital."
     ·9    · · · · · Do you see that?
     10    · · · A· ·I do.
     11    · · · Q· ·When you told Mr. Harris on June 15th, 2022 that
     12    he had zero chance of loss, what did you mean?
     13    · · · A· ·Um, I think it's evident of what I meant by
     14    what's stated in the e-mail.
     15    · · · Q· ·When you told Mr. Harris on June 15th, 2022 that
     16    he had zero chance of loss, on what information were you
     17    basing that statement?
     18    · · · A· ·Um, on the same information that I've told you
     19    now no less than a dozen times.· As the financial producer,
     20    and not the physical producer, we can only rely on
     21    information that we get from the production company.· So
     22    I'm giving Robert information that I'm getting from BRON
     23    Studios.· That's going to be my answer for every e-mail you
     24    provide that has information like this.· There was a lot
     25    going on at BRON at this time.


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     ·1    · · · Q· ·So just, again, because that could make things go
     ·2    quicker, is it your position, we can then cut through a
     ·3    bunch of stuff, if I show you from 2021 through the present
     ·4    an e-mail where you're making a representation about these
     ·5    projects to my client or anybody else, the basis for that
     ·6    information would always be the two individuals that you
     ·7    identified at BRON Studios?
     ·8    · · · A· ·There might be more individuals at BRON Studios,
     ·9    but it's always BRON Studios.· They are the lead producer
     10    on all of these shows.
     11    · · · · · MR. FRIED:· Well, can we just be careful because
     12    you did ask him earlier and he did mention Epic, as well.
     13    So I just don't -- I don't want -- I want you to make sure
     14    you have a clean record.
     15    · · · · · MR. JONELIS:· I appreciate that, Bill.· And the
     16    reason is I -- I think I do have to ask for each one just
     17    to make sure.
     18    · · · · · THE WITNESS:· That's fine.
     19    · · · · · MR. JONELIS:· I just -- the way he even said, he
     20    said it's all the same, it sounds like it may not be.
     21    · · · · · So. . .
     22    · · · Q· ·As you sit here today in September 2023 -- again,
     23    back up for one moment.
     24    · · · · · Looking back at this e-mail where you wrote on
     25    June 15, 2022 to Mr. Harris, "I'm stepping into your shoes


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     ·1    which is why I'm telling you you have zero chance of loss
     ·2    and in fact you will make considerably more than your cost
     ·3    of capital."· Do you see that?
     ·4    · · · A· ·Yes.
     ·5    · · · Q· ·Okay.· That's what I'm referring to.
     ·6    · · · · · As you sit here today in September 2023, is it
     ·7    still your position that Mr. Harris has zero chance of
     ·8    loss?
     ·9    · · · A· ·No, that's not the case.
     10    · · · Q· ·Is it still your position that Mr. Harris will
     11    make considerably more than his cost of capital?
     12    · · · A· ·No.
     13    · · · Q· ·What's changed?
     14    · · · A· ·Well, I don't know how to answer because every
     15    time I try and give you an answer, I get shut down.
     16    · · · · · MR. FRIED:· He -- he gave you an open general
     17    question.· I think you can answer.
     18    · · · · · THE WITNESS:· I -- BRON is going through a
     19    bankruptcy and, in short order, the bankruptcy monitor will
     20    put out a full report from the studio and, you know, all
     21    the information regarding BRON projects will be answered at
     22    that time.
     23    · · · · · MR. JONELIS:· Okay.· Thank you.
     24    · · · · · Let's mark --
     25    · · · · · MR. FRIED:· Just -- I mean, you can question him


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     ·1    on that, but I think you -- you got your answer.· He -- I
     ·2    don't know that he has more information than that, but
     ·3    you're welcome to test it.
     ·4    · · · · · MR. JONELIS:· No.· I'm going on to the next
     ·5    exhibit.
     ·6    · · · · · MR. FRIED:· Okay.
     ·7    · · · · · MR. JONELIS:· I just thought I --
     ·8    · · · · · MR. FRIED:· I just didn't want you to feel that
     ·9    you couldn't ask.
     10    · · · · · MR. JONELIS:· You just cut me off.· No.· It's --
     11    it's -- you cut me off.· I'm going on to my next exhibit.
     12    · · · · · Let's mark as Exhibit 23, please, another
     13    document produced by my firm to your counsel and Bates
     14    marked PLNTF_02397 through 02398.
     15    · · · · · (Exhibit 23 marked)
     16    · · · · · MR. JONELIS:· Exhibit 23, correct?
     17    · · · · · THE COURT REPORTER:· Yes.
     18    · · · · · MR. JONELIS:· Okay.· Fantastic.
     19    · · · Q· ·So looking at the June 16th, 2022 date at the top
     20    of this e-mail exchange and looking back at Exhibit 22,
     21    which was June 15th, 2022, can we agree that this e-mail
     22    exchange took place one day after you told Mr. Harris that
     23    he had zero chance of loss?
     24    · · · A· ·Yes.
     25    · · · Q· ·At the top of the e-mail, do you see where you


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     ·1    wrote to Mr. Harris, "Here is the update.· See below."?
     ·2    · · · A· ·Yes.
     ·3    · · · Q· ·And do you see on the next page it looks like you
     ·4    have inserted responses in red --
     ·5    · · · A· ·Yes.
     ·6    · · · Q· ·-- concerning the status of the projects in which
     ·7    he was unpaid.· Am I interpreting this correctly?
     ·8    · · · A· ·That is correct.
     ·9    · · · Q· ·Okay.· So, for example, with respect to
     10    GHOSTBUSTERS: AFTERLIFE, you wrote in red:
     11    · · · · · "We need the BRON Comerica facility
     12    · · · · · to cash flow this.· Sandy has the
     13    · · · · · Sony statement showing we've made
     14    · · · · · back all our $ with profit.· This
     15    · · · · · will be sometime in July."
     16    · · · · · Do you see that?
     17    · · · A· ·Yes.
     18    · · · Q· ·Okay.· What did you mean by:· We've made back all
     19    our dollars with profit"?
     20    · · · A· ·GHOSTBUSTERS: AFTERLIFE is a profitable movie.
     21    · · · Q· ·What did you mean by "this will be sometime in
     22    July"?
     23    · · · A· ·Well, I'll just answer your question.· We thought
     24    by July that BRON's ultimates facility would be available
     25    at Comerica.


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     ·1    · · · Q· ·And the basis for making that statement was again
     ·2    Mr. --
     ·3    · · · A· ·Gilbert.
     ·4    · · · Q· ·-- Gilbert, and the other to be filled in last
     ·5    name gentleman at BRON?
     ·6    · · · A· ·It's Aaron Gilbert.· That -- he would have all
     ·7    the information regarding BRON, lines of credit, ultimates
     ·8    facilities.· It was BRON's ultimates facility.· Get all
     ·9    your information from Aaron.
     10    · · · Q· ·So it's true that as of June 16th, 2022, you had
     11    already made back all of your money in connection with
     12    GHOSTBUSTERS: AFTERLIFE plus profit?
     13    · · · A· ·As I said, from an ultimates basis, yes.· On a
     14    cash basis, no.
     15    · · · Q· ·When you say "we've made back all our dollars,"
     16    who is "we've"?
     17    · · · A· ·Creative Wealth.
     18    · · · Q· ·Okay.· So as of June 16th, 2022, to be more
     19    precise, Creative Wealth had already made back all of its
     20    money with profit in connection with GHOSTBUSTERS:
     21    AFTERLIFE?
     22    · · · A· ·Right.· You do understand what an ultimate is,
     23    right?· As the entertainment lawyer, you understand what a
     24    ultimate is?· You understand the difference between an
     25    ultimate and a cash statement?


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     ·1    · · · · · MR. FRIED:· If he wants to know the difference,
     ·2    he'll ask you.· Just let him ask his questions.
     ·3    · · · · · THE WITNESS:· Well, he's asking me questions that
     ·4    would indicate that he has no idea what he's --
     ·5    · · · · · MR. FRIED:· But --
     ·6    · · · · · THE WITNESS:· -- asking a --
     ·7    · · · · · MR. FRIED:· -- Jason --
     ·8    · · · · · THE WITNESS:· -- question on.
     ·9    · · · · · MR. FRIED:· -- let him ask his questions.
     10    BY MR. JONELIS:
     11    · · · Q· ·Mr. Cloth --
     12    · · · · · THE WITNESS:· But then I end up answering stupid
     13    questions.
     14    BY MR. JONELIS:
     15    · · · Q· ·Mr. Cloth --
     16    · · · A· ·Yeah.
     17    · · · Q· ·-- respectfully, if there is a deposition going
     18    on here, it's us taking your deposition, not vice versa.
     19    · · · A· ·Okay.· Well --
     20    · · · Q· ·If you'd like to ask my client questions, you're
     21    absolutely fair game, but I can assure you that I've
     22    thought long and hard about the outline that I have here
     23    and I'm asking questions that I believe --
     24    · · · A· ·I'm -- it seems like you have.
     25    · · · Q· ·-- are relevant.· So --


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     ·1    · · · A· ·It seems like you have.
     ·2    · · · Q· ·-- I'd appreciate if you could just answer the
     ·3    questions.
     ·4    · · · A· ·Yeah.
     ·5    · · · Q· ·All right.
     ·6    · · · A· ·So on an ultimates basis, we had made back our
     ·7    money and the show was profitable.
     ·8    · · · Q· ·So why hasn't my client been paid back a penny of
     ·9    his money in connection with that show?
     10    · · · A· ·Because as I just stated, on an ultimates basis,
     11    the show is profitable, and we would need a credit facility
     12    to cash-flow that ultimate to bring forward money for
     13    Mr. Harris.· BRON doesn't have a creditworthiness available
     14    to obtain an ultimates facility from a bank.· So we would
     15    then have to wait for the cash to actually flow through
     16    Sony and get back to us.
     17    · · · Q· ·Absent the credit facility?
     18    · · · A· ·Absent a credit facility.
     19    · · · Q· ·Thank you.· Next question.· You've previewed this
     20    great.
     21    · · · · · Look at Monkey Man on the next line here for 750K
     22    that Robert had in.
     23    · · · A· ·Yes.
     24    · · · Q· ·You wrote there in red:
     25    · · · · · "We delivered to Netflix July 31st.


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     ·1    · · · · · In the absence of the credit
     ·2    · · · · · facility being available, we will
     ·3    · · · · · have $ in August."
     ·4    · · · · · Do you see that?
     ·5    · · · A· ·I do.
     ·6    · · · Q· ·Okay.· So when you wrote "in the absence of the
     ·7    credit facility being available," what did you mean?
     ·8    · · · A· ·So Netflix's general payment terms are on a
     ·9    quarterly basis over a three-year period.· So, at minimum,
     10    upon delivery of the film, we would have had one-eighth of
     11    the $32,000,000 available for repayment and then we would
     12    have money every quarter after that.· But the film did not
     13    deliver in August of '22.· It's still not delivered as of
     14    today.
     15    · · · Q· ·But that has nothing to do with the credit
     16    facility, correct?
     17    · · · A· ·No.· But delivery is what triggers payment.· So
     18    it hasn't been delivered.· Netflix has not paid any money
     19    out for Monkey Man.
     20    · · · Q· ·So just to be clear, when you were having a
     21    conversation that I didn't understand the credit facility
     22    and all of these things were not paid out because of the
     23    credit facility, and I was asking dumb questions, to be
     24    clear, do you want to change your testimony --
     25    · · · A· ·No, not at all.


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     ·1    · · · Q· ·-- that all of these projects --
     ·2    · · · · · MR. FRIED:· Listen --
     ·3    BY MR. JONELIS:
     ·4    · · · Q· ·-- were not pay out to my client on account of
     ·5    BRON credit facility?
     ·6    · · · · · MR. FRIED:· Objection.· I -- you have to stop
     ·7    testifying.· If -- can you read back the question, which --
     ·8    at the end.· Maybe he can ask --
     ·9    · · · · · THE WITNESS:· He has to be the worst --
     10    · · · · · MR. FRIED:· -- the actual question.
     11    · · · · · THE WITNESS:· -- entertainment lawyer I've --
     12    · · · · · MR. FRIED:· Jason --
     13    · · · · · THE WITNESS:· -- ever come --
     14    · · · · · MR. FRIED:· -- please --
     15    · · · · · THE WITNESS:· -- across.
     16    · · · · · MR. FRIED:· -- he's doing --
     17    · · · · · THE WITNESS:· Oh, my God.
     18    · · · · · MR. FRIED:· -- he's doing his job.
     19    · · · · · THE WITNESS:· Really?
     20    · · · · · I testified as to GHOSTBUSTERS and a credit
     21    facility.· Now you're asking me about Monkey Man and
     22    everything else.· It shows a real deep understanding of how
     23    film and television are paid.
     24    BY MR. JONELIS:
     25    · · · Q· ·All right.· Let's go to Bear Grylls.· You see


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     ·1    there -- this is the next line -- it says $1,000,000 --
     ·2    that's Mr. Harris' --
     ·3    · · · A· ·Yes.
     ·4    · · · Q· ·-- loan in connection with that picture.· You
     ·5    wrote:
     ·6    · · · · · "Bear is selling to Netflix, in the
     ·7    · · · · · absence of the credit facility being
     ·8    · · · · · available, we will have $ in July."
     ·9    · · · · · What did you mean by "in the absence of the
     10    credit facility being available"?
     11    · · · A· ·Bear Grylls was selling to Netflix.· And then
     12    they decided to change direction and go from three movies
     13    to two movies.· And the deal with Netflix didn't close at
     14    that time.· I know that they're finished movie 1 now and
     15    almost finished movie 2.· This is all information that we
     16    would have gotten from the producers at the time.· Like
     17    you've proven nothing other than this is the information
     18    that we had available to Robert.
     19    · · · Q· ·When you wrote with respect to Bear Grylls, "We
     20    will have $ in July," what did you mean?
     21    · · · A· ·At that time, the show was supposed to deliver in
     22    June.· We would have had money in July.
     23    · · · Q· ·When you say "the show was supposed to be
     24    delivered in June," what do you mean?
     25    · · · A· ·The show was to be delivered.· It means it would


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     ·1    have been finished from a creative standpoint and finished
     ·2    from a legal standpoint.
     ·3    · · · Q· ·When in June?
     ·4    · · · A· ·I don't know.· I -- I'd have to check what the
     ·5    original delivery schedule was.
     ·6    · · · Q· ·I --
     ·7    · · · A· ·I mean, Bear isn't delivered now.· So it doesn't
     ·8    matter what the delivery schedule was then.
     ·9    · · · Q· ·The reason --
     10    · · · A· ·It's changed.
     11    · · · Q· ·The reason I'm asking is because this e-mail was
     12    sent on June 16th -- I'm sorry -- June 15th -- no -- June
     13    16th, you sent it June 16th, 2022 and you're talking about
     14    something happening just one month later.· So I'm
     15    wondering, when we're talking about concepts of delivery
     16    and films and distributors, what made you think, as of
     17    June 15th, 2022, that money would come in just one month
     18    later in July 2022?
     19    · · · A· ·Um, well, there was money that BRON had earmarked
     20    for repayments from a equity deal that they were doing.
     21    And so I'm not sure because I'm not going to speculate,
     22    but, um, in this $150,000,000 equity raise that BRON was
     23    doing, they had earmarked 50, 60 million for repayments.
     24    In other words, they acknowledged that people like Robert
     25    were well delayed in their repayments and that money was to


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     ·1    come back to us for, you know, repayments wherever we could
     ·2    make them.
     ·3    · · · · · So, you know, I'm not sure -- you know, I -- I
     ·4    can't be sure where the source of all of the funds for all
     ·5    of these shows -- like Fables and Gossamer, that would have
     ·6    come from this equity raise.· They tried the NFT thing.
     ·7    That didn't work.· You know, but there were -- there were
     ·8    monies earmarked for repayments on all of these shows from
     ·9    BRON.
     10    · · · Q· ·What still needs to be done to finish and deliver
     11    Bear Grylls, to your knowledge?
     12    · · · A· ·Um, well, I think their strategy is that they
     13    want to sell two movies, not one, because it's more
     14    valuable to sell two movies -- two better quality movies
     15    than the third.· But my understanding is they've signed
     16    multiple merchandising and licensing deals for products.
     17    So I don't know when revenue will come in, but they want to
     18    finish the second movie.
     19    · · · Q· ·Let me be more precise.· You're familiar with the
     20    term "delivery," correct, Mr. --
     21    · · · A· ·Yes.
     22    · · · Q· ·-- Harris -- I mean, Mr. Cloth, because you
     23    talked about it?
     24    · · · A· ·Yeah.
     25    · · · Q· ·So what still needs to be done in order to


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     ·1    deliver Bear Grylls?
     ·2    · · · A· ·The second movie needs to be finished, and then
     ·3    there would be whatever the legal delivery is for wherever
     ·4    the show is going to go.
     ·5    · · · Q· ·Okay.· But with respect to the first movie, is
     ·6    that movie finished?
     ·7    · · · A· ·I haven't seen it, but I heard the first movie is
     ·8    finished.
     ·9    · · · Q· ·Okay.· As of June of 2022, was the first movie
     10    finished?
     11    · · · A· ·No.
     12    · · · Q· ·What still needed to be done in June of 2022?
     13    · · · A· ·Um, I'm not sure.· I'm only -- I only know it
     14    was -- I only know that it wasn't delivered now that I'm
     15    looking back on it.· At the time when we're writing, we
     16    didn't realize that BRON and Bear Grylls had decided to
     17    change direction on the type of show that they were making.
     18    · · · Q· ·Okay.· So it was your understanding as of June of
     19    2021 -- 2022, when you stated you're going to have dollars
     20    just one month later or because, as you just testified
     21    previously, the film would be delivered in June, your
     22    understanding was that the film was ready to be delivered?
     23    · · · A· ·Yes.· My understanding was it was ready to be
     24    delivered.
     25    · · · Q· ·Okay.· Would the basis for your understanding


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     ·1    that the film was ready to be delivered be solely from
     ·2    BRON?
     ·3    · · · A· ·Yes.
     ·4    · · · Q· ·And that would be Aaron Gilbert?
     ·5    · · · A· ·Yes.
     ·6    · · · Q· ·Anybody else?
     ·7    · · · A· ·No.
     ·8    · · · Q· ·Okay.· Thank you.
     ·9    · · · · · Let's go to Fables.· If look at Fables -- and
     10    1,000,000, that's Mr. Harris' contribution to the
     11    picture -- you wrote:
     12    · · · · · "Fables and Gossamer have digital
     13    · · · · · tokens being sold now all of that
     14    · · · · · revenue will flow to investors."
     15    · · · A· ·Yes.
     16    · · · Q· ·When you said "digital tokens being sold now,"
     17    what were you referring to?
     18    · · · A· ·BRON had issued an NFT strategy around Fables.                 I
     19    don't think it was very successful.· We never saw any money
     20    that came back from the NFT strategy.
     21    · · · Q· ·So when you said "being sold now," you just meant
     22    they were trying to sell it?
     23    · · · A· ·That's correct.
     24    · · · Q· ·Okay.· All right.· And had it been sold, your
     25    position was all of that revenue would come back to


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     ·1    investors?
     ·2    · · · A· ·Yes.· That was my understanding with BRON.
     ·3    · · · Q· ·Why would that money from the digital tokens
     ·4    being sold come back to investors?
     ·5    · · · A· ·Uh, because typically the way all of our
     ·6    agreements are drafted is repayment comes from first dollar
     ·7    revenues.
     ·8    · · · Q· ·Thank you.· So that -- let's be a little more
     ·9    precise.· So let's just assume -- and, again, we're
     10    spec- -- this is a hypothetical -- that $10,000,000 in
     11    revenue is generated by the digital tokens.· You with me so
     12    far?
     13    · · · A· ·(No audible response.)
     14    · · · Q· ·How does that $10,000,000, to your knowledge, get
     15    distributed to people like Mr. Harris and similar
     16    investors?
     17    · · · A· ·Well, it should flow through what's called a
     18    collection account.· We would have got an accounting of how
     19    that revenue came to be.· We would have seen all of the
     20    expenses associated with that.· And we would have received
     21    a statement showing net proceeds to us.· That would have
     22    been wired to our trust account.· And then we would have
     23    known by all the documents in our computer system what
     24    percentage of that show Mr. Harris owned, and we would have
     25    repaid them proportionately based on the money we had


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     ·1    received.
     ·2    · · · Q· ·And what needs to take place from when a token is
     ·3    actually sold to when that money goes into the collection
     ·4    account to be disbursed?
     ·5    · · · A· ·No idea.· I have no understanding of NFTs or
     ·6    cryptocurrency.· It was something BRON undertook.· We never
     ·7    received any revenue from the sale of those NFTs.
     ·8    · · · Q· ·You used the term "first dollar."· What did you
     ·9    mean by that?
     10    · · · A· ·The dollar that would have arrived first.
     11    · · · Q· ·Okay.· So a dollar comes in to where, the first
     12    dollar?· When you said the dollar would have arrived.
     13    Arrived where?
     14    · · · A· ·The dollar would have been represented in a
     15    collection account.
     16    · · · Q· ·Okay.· So the moment the dollar goes into the
     17    collection account, then it can get disbursed to gentlemen
     18    like Mr. Harris and other similar investors?
     19    · · · A· ·Yeah, it's not quite like that, but, you know,
     20    there's a level of accounting.· There's -- you know,
     21    everybody that's signed off on this collection account has
     22    to agree that the revenue is what it is and they have to
     23    agree to the disbursement from the collection manager.
     24    It's a rather formal process, but that formal process
     25    should take about two weeks.


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     ·1    · · · Q· ·Okay.· How about if there's a credit facility
     ·2    involved, how long will it take?
     ·3    · · · A· ·Um, depends.· Like are you talking from when the
     ·4    credit facility is approved and money comes out?· It should
     ·5    be within days.
     ·6    · · · Q· ·How long does it take for a credit facility to
     ·7    get approved?
     ·8    · · · A· ·I don't know.· BRON's first credit facility took
     ·9    a year.
     10    · · · Q· ·Okay.· So June 16th, 2022, GHOSTBUSTERS:
     11    AFTERLIFE, according to your e-mail here, has made back all
     12    of the dollars with profit.
     13    · · · A· ·Notionally.· Because I -- I don't know if I --
     14    any other way to explain this to you because you keep
     15    asking the same question over and over and over again.· The
     16    film is profitable on an ultimates basis.· I'm either not
     17    going to answer the question again.· Or, if you'd like,
     18    I'll explain to you what an ultimate represents.
     19    · · · Q· ·Well, let me ask a question.· The dollars that
     20    were -- came in from GHOSTBUSTERS --
     21    · · · A· ·No dollars came in.
     22    · · · Q· ·I'll make it -- I'll make it easier.· They're --
     23    GHOSTBUSTERS was in the movie theaters, correct, on a
     24    limited basis?
     25    · · · A· ·Yes.


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     ·1    · · · Q· ·And it also streamed on television -- because my
     ·2    kids, I believe, watched it -- right?
     ·3    · · · A· ·Right.
     ·4    · · · Q· ·Or television is probably an antiquated word.· It
     ·5    streamed through streamers, correct?
     ·6    · · · A· ·Right.
     ·7    · · · Q· ·Okay.· And in connection with the movie theater,
     ·8    consumers paid money for tickets for GHOSTBUSTERS, correct?
     ·9    · · · A· ·That's correct.
     10    · · · Q· ·Okay.· And where -- and that money, it's
     11    collected by the movie theaters, and then a percentage of
     12    that money then goes where?
     13    · · · A· ·Back to Sony.
     14    · · · Q· ·Okay.· Now, let's just go back to your concept of
     15    "We've made" -- or your statement of "We've made back all
     16    our dollars with profit."· When you talk about "our
     17    dollars," what are you talking about?· What's "our
     18    dollars"?
     19    · · · A· ·Our investment.
     20    · · · Q· ·Our investment.· Okay.· So the money now that
     21    goes to Sony, I assume Sony is going to recoup their costs
     22    as the distributor from the ticket sales for GHOSTBUSTERS,
     23    correct?
     24    · · · A· ·Yeah.
     25    · · · Q· ·Talk about streaming.· When it goes on streaming,


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     ·1    if it's purchased by a streamer -- a Netflix or a Hulu or
     ·2    somebody -- they may pay a license fee, correct?
     ·3    · · · A· ·That's correct.
     ·4    · · · Q· ·And that goes to Sony, too, correct?
     ·5    · · · A· ·(No audible response.)
     ·6    · · · Q· ·Okay.· So now we've got Sony taking money from
     ·7    the box office, and Sony taking money from the streamers.
     ·8    Is that -- those are two forms of revenue that Sony would
     ·9    get, correct?
     10    · · · A· ·Two of eight or ten.
     11    · · · Q· ·Okay.· And what other forms of revenue would Sony
     12    put into their coffers with respect to GHOSTBUSTERS:
     13    AFTERLIFE?
     14    · · · A· ·There would be transactional revenues.· So you
     15    rent it on your TV.· There would be premium transactional.
     16    There would be airlines.· There would be hotels.· And then
     17    there would be all that revenue from an international
     18    source.
     19    · · · Q· ·And that's money that was actually given to Sony,
     20    correct?· Meaning they've received it?
     21    · · · A· ·No.· It means that that is the revenue that
     22    Sony -- so -- so we don't have to keep doing this, can I
     23    just explain to you what an ultimate is so that you --
     24    because you're asking like questions that, like when this
     25    all comes out, it's going to be quite embarrassing because


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     ·1    you're not asking questions --
     ·2    · · · · · MR. FRIED:· Jason --
     ·3    · · · · · THE WITNESS:· -- that -- well --
     ·4    · · · · · MR. JONELIS:· I'd listen to --
     ·5    · · · · · THE WITNESS:· -- then I --
     ·6    · · · · · MR. JONELIS:· -- your attorney --
     ·7    · · · · · THE WITNESS:· -- don't know --
     ·8    · · · · · MR. JONELIS:· -- Mr. Cloth.
     ·9    · · · · · THE WITNESS:· -- how to answer it.
     10    · · · · · MR. JONELIS:· I'd listen to your attorney.· We're
     11    going to have an expert that's going to testify on
     12    ultimates.· I'm asking you a little bit of a different --
     13    · · · · · THE WITNESS:· Then I don't know how to answer
     14    your question.
     15    · · · · · MR. JONELIS:· Then --
     16    · · · · · THE WITNESS:· I'm sorry.
     17    · · · · · MR. FRIED:· If you don't --
     18    · · · · · THE WITNESS:· I don't know how --
     19    · · · · · MR. FRIED:· -- know what he's talking about --
     20    · · · · · THE WITNESS:· Yeah.· I don't understand --
     21    · · · · · MR. FRIED:· -- please don't answer.
     22    · · · · · THE WITNESS:· I don't -- I don't understand how
     23    to --
     24    · · · · · MR. JONELIS:· So --
     25    · · · · · THE WITNESS:· Your question is so off base that


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     ·1    it's shocking to me that you would even come up with it.
     ·2    · · · · · MR. JONELIS:· Let me ask you a question.
     ·3    · · · Q· ·So we've said that monies go from the box office
     ·4    to the theater and from the theater to Sony, correct?
     ·5    · · · A· ·Yes.
     ·6    · · · Q· ·Where at Sony do those monies go?
     ·7    · · · A· ·I --
     ·8    · · · Q· ·It -- it's money that people took out of their
     ·9    pocket.· Where does it go?
     10    · · · · · MR. FRIED:· Do you know?
     11    · · · · · THE WITNESS:· No idea.
     12    BY MR. JONELIS:
     13    · · · Q· ·So you don't know --
     14    · · · A· ·Yeah.
     15    · · · Q· ·-- but did it go to Sony?
     16    · · · A· ·Of course it went to Sony.
     17    · · · Q· ·Okay.· So Sony has actual money from the picture?
     18    · · · A· ·Yes.
     19    · · · Q· ·So the question is:· Where did that money go
     20    other than back to Creative Wealth to repay Mr. Harris?
     21    · · · A· ·Once again, I'm just going to say I don't know.
     22    · · · Q· ·That's your sworn --
     23    · · · A· ·Yeah --
     24    · · · Q· ·-- testimony?
     25    · · · A· ·-- that's my sworn testimony.· I don't know.


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     ·1    · · · Q· ·Okay.· Thank you.
     ·2    · · · · · Let's go to Gossamer.
     ·3    · · · A· ·Yep.
     ·4    · · · Q· ·With respect to Gossamer, you wrote, "See above."
     ·5    Do you see that?
     ·6    · · · A· ·Yeah.· So it's probably more along the lines of
     ·7    where Fables was at.
     ·8    · · · Q· ·Okay.· So then going back to Fables which would
     ·9    apply to Gossamer, when you wrote:
     10    · · · · · "Fables and Gossamer have digital
     11    · · · · · tokens being sold now all of that
     12    · · · · · revenue will flow to investors."
     13    · · · · · Then you wrote:
     14    · · · · · "This revenue alone might be enough
     15    · · · · · to recoup everyone.· Absent that I
     16    · · · · · need the credit facility to open up
     17    · · · · · to get everyone repaid.· Without it
     18    · · · · · we are months away from delivering
     19    · · · · · the show."
     20    · · · A· ·Yes.
     21    · · · Q· ·What was your basis for stating you were months
     22    away from delivering the show?
     23    · · · A· ·The updates that I was getting from BRON.
     24    · · · Q· ·Purely BRON?
     25    · · · A· ·Correct.


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     ·1    · · · Q· ·Aaron Gilbert?
     ·2    · · · A· ·Aaron Gilbert.
     ·3    · · · Q· ·Okay.· Let's go to Bubbles Hotel.· So $1,000,000
     ·4    was Mr. Harris' investment?
     ·5    · · · A· ·Yes.
     ·6    · · · Q· ·You wrote "Both Bubbles and Hailey are sold."· Do
     ·7    you see that?
     ·8    · · · A· ·Yes.
     ·9    · · · Q· ·What did you mean by that?
     10    · · · A· ·At the time, there was a distribution deal that
     11    had been agreed to at the Cartoon Network, but then the
     12    turnover of AT&T and Warner Bros. and Discovery, they did
     13    not move forward with signing a distribution deal.
     14    · · · · · But Hailey and Bubbles are both live shows that
     15    are about to be delivered.· They are not in the same boat
     16    as Fables and Gossamer.· Hailey and Bubbles, there are toys
     17    that have been produced.· They're going to be for sale at
     18    this Christmas period.· Hailey and Bubbles, I mean I don't
     19    want to say any more because, you know, I don't want to
     20    speculate.
     21    · · · · · MR. FRIED:· Don't speculate --
     22    · · · · · THE WITNESS:· Right.
     23    · · · · · MR. FRIED:· -- and don't make promises.
     24    · · · · · THE WITNESS:· But if Mr. Harris wants to speak to
     25    the people who are producing the show, I would be more than


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     ·1    happy to put him on to them.
     ·2    · · · · · MR. JONELIS:· I'm actually just concerned with on
     ·3    June 16th, 2022 when you said that both Bubbles and Hailey
     ·4    are sold.
     ·5    · · · · · THE WITNESS:· It --
     ·6    · · · · · MR. JONELIS:· I just want to -- I just want --
     ·7    · · · · · THE WITNESS:· It --
     ·8    · · · · · MR. JONELIS:· -- to understand -- let me finish
     ·9    my sen- -- because it will make it easier.· Let me . . .
     10    · · · Q· ·When you use the word "are," that's present
     11    tense.· "Are sold."
     12    · · · · · So the question is -- I appreciate you testified
     13    that you thought they were going to be sold, but then they
     14    weren't.· At this time that you sent this e-mail --
     15    · · · A· ·Yes.
     16    · · · Q· ·-- on June 16th, 2022, when you told Mr. Harris
     17    "Both Bubbles and Hailey are sold" -- not looking at what
     18    happened afterwards, just right now in June 20 -- June
     19    16th, 2022, what did you mean by "are sold"?
     20    · · · A· ·That they were far enough down the path in
     21    negotiations that they were going to consummate and close a
     22    deal for them.
     23    · · · Q· ·But they hadn't yet?
     24    · · · A· ·No.· They were just on the cusp of it.
     25    · · · Q· ·Okay.· When you said "Toys have begun selling in


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     ·1    Asia" -- this is, again, with respect to Bubbles Hotel --
     ·2    what was your basis for that?
     ·3    · · · A· ·The toys are being sold in Asia.· The basis is
     ·4    that we saw the mock-ups of the toys.· We know that Ten
     ·5    Cent in China is selling them and producing them.· It's --
     ·6    it is what it is.
     ·7    · · · · · MR. FRIED:· He wants to know how you know that.
     ·8    He's asking a question that's useful --
     ·9    · · · · · THE WITNESS:· Because we got an update from Epic
     10    Story on it.
     11    BY MR. JONELIS:
     12    · · · Q· ·Is there a difference in the terms "are sold" and
     13    "begun selling"?· Meaning is -- is "are sold" -- your
     14    testimony is they -- it actually wasn't sold, it was just
     15    on the cusp was your testimony.· "The toys have begun
     16    selling."· Is there a difference there?
     17    · · · A· ·No.
     18    · · · Q· ·So at the time you sent this e-mail, had any
     19    sales of toys actually taken place in Asia, to your
     20    knowledge?
     21    · · · A· ·Yes.· But I couldn't give you the quantum.
     22    · · · Q· ·And your basis for that information was BRON?
     23    · · · A· ·Yes.
     24    · · · · · MR. FRIED:· Objection.
     25    BY MR. JONELIS:


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     ·1    · · · Q· ·Mr. Gilbert?
     ·2    · · · A· ·Yes.
     ·3    · · · Q· ·Okay.· You then wrote with respect to
     ·4    Bubbles Hotel, "We have approximately 20 [million] coming
     ·5    in very shortly that might be allocated to this."· Do you
     ·6    see that?
     ·7    · · · A· ·Yes.
     ·8    · · · Q· ·Okay.· When you wrote, "We have approximately 20
     ·9    [million] coming in very shortly, what were you referring
     10    to?
     11    · · · A· ·So this was part of the BRON equity raise that we
     12    had wanted to use to just pay people off these extended
     13    notes.
     14    · · · Q· ·Okay.· So when you wrote this, your understanding
     15    was $20,000,000 was actually going to come in very shortly?
     16    · · · A· ·Yes.
     17    · · · Q· ·Okay.· And when you wrote "that might be
     18    allocated to this," it seems a little uncertain.· What did
     19    you mean by "might"?
     20    · · · A· ·Well, we have a lot of shows to allocate money.
     21    So, you know, I would go to Sandy and say, you know, "How
     22    do we allocate all of this?· It's your client.· So I've
     23    only got a fixed amount of money to pay people back in this
     24    first tranche."
     25    · · · · · The 20 was a one-third advance off the 60,000,000


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     ·1    that BRON had indicated in their use of proceeds and their
     ·2    equity raise we would get for repayments.
     ·3    · · · Q· ·Did 20,000,000 come in very shortly?
     ·4    · · · A· ·No.· BRON never was able to raise any of the
     ·5    equity that they said that they were going to.· Um, and,
     ·6    hence, they're in bankruptcy proceedings now.
     ·7    · · · Q· ·And with respect to Hailey and the Hero Heart,
     ·8    the 1,000,000 -- this is back on the e-mail string --
     ·9    · · · A· ·Yeah.
     10    · · · Q· ·-- you wrote "Same as above."· That's because
     11    when you were responding to Bubbles Hotel, you when wrote
     12    both Bubbles and Hailey are sold, correct?
     13    · · · A· ·Yeah.· But Hailey and Bubbles are not BRON shows.
     14    So they're not covered in the bankruptcy.· They're not
     15    impaired.· You know, those shows will repay investors.· I'm
     16    not going to go into detail, but those shows will pay off
     17    investors.
     18    · · · Q· ·Well, then let's just be clear.
     19    · · · · · When you had the basis for making these
     20    statements, is your testimony that that wasn't from Aaron
     21    Gilbert?
     22    · · · · · Let me -- let me ask that less verbosely.
     23    · · · · · When you wrote, "Both Bubbles and Hailey are
     24    sold, and toys have begun selling in Asia," what was your
     25    basis --


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     ·1    · · · A· ·That was --
     ·2    · · · Q· ·-- actual basis for making that statement?
     ·3    · · · A· ·That was Aaron.· But now we go directly to the
     ·4    producers of the show.· We don't go through Aaron.
     ·5    · · · Q· ·Oh, so as of June of 2022, those were BRON shows?
     ·6    · · · A· ·No, they were never BRON shows, but BRON has an
     ·7    interest -- an economic interest in Epic Story.· So it was
     ·8    just easier to get all of our updates from Aaron.
     ·9    · · · Q· ·Let's go The Pathway.· It says 6.573 [million],
     10    and you write "See below."· And then below, you have in
     11    red, "The last Pathway update had the timeline in iy."· Do
     12    you know what "iy" stands for?· If you don't, that's okay.
     13    · · · A· ·I don't.
     14    · · · Q· ·Maybe you meant "it."· "In it."
     15    · · · A· ·Oh, yeah.· Yeah.
     16    · · · Q· ·Okay.
     17    · · · · · "The last Pathway update had the
     18    · · · · · timeline in it (that hasn't changed)
     19    · · · · · Sponsorship $(3 to 4 [million])
     20    · · · · · should start hitting the collection
     21    · · · · · account in July and payments will be
     22    · · · · · made throughout the Summer up to
     23    · · · · · October 2022 when Season 2 is paid
     24    · · · · · for."
     25    · · · · · Do you see that?


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     ·1    · · · A· ·Yeah.
     ·2    · · · Q· ·What was your basis for making that statement on
     ·3    June 16, 2022?
     ·4    · · · A· ·Josh and Aaron's assertions of what deals had
     ·5    been signed for Pathway.
     ·6    · · · Q· ·Any other basis?
     ·7    · · · A· ·No.
     ·8    · · · Q· ·And if there were written communications -- and
     ·9    we said this before -- with you and Josh and/or Aaron
     10    concerning the basis for this statement, they would have
     11    been produced to us, correct?
     12    · · · A· ·Yes.· And -- and there would be phone calls.
     13    Mr. Harris was on these phone calls.· I mean, we both heard
     14    the updated information at the same time.· You know,
     15    it's -- it's not lost on anyone that as months and months
     16    went by, that, you know, Mr. Harris would be skeptical of
     17    any information that was coming out.· Um, you know, I'm
     18    shocked at what happened with the show.
     19    · · · · · MR. FRIED:· I think you answered his question.
     20    · · · · · THE WITNESS:· Okay.· Well -- yeah.· We got all
     21    the information from BRON.· That's -- you know, none of it
     22    turned out to be true.· Um, but at the time, we didn't have
     23    any reason to believe that the information we were getting
     24    from them wasn't true.· It -- it -- there was just no
     25    reason to believe otherwise.


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     ·1    BY MR. JONELIS:
     ·2    · · · Q· ·Tell me about Epic Studios.· Where is Epic
     ·3    Studios located?
     ·4    · · · A· ·Toronto.
     ·5    · · · Q· ·Do they have an office?
     ·6    · · · A· ·They do.
     ·7    · · · Q· ·What's the location of the office?
     ·8    · · · A· ·151 Bloor Street West.
     ·9    · · · Q· ·What's the location of Creative Wealth's office?
     10    · · · A· ·151 Bloor Street West.
     11    · · · Q· ·So your office is the same as Epic Studios'
     12    office?
     13    · · · A· ·We share the office space.
     14    · · · Q· ·Okay.· Do you have any affiliation -- and I'll
     15    explain what I mean by that -- with Epic Studios?· Meaning
     16    are --
     17    · · · A· ·Zero.
     18    · · · Q· ·-- you --
     19    · · · · · MR. FRIED:· No.· Let him ask his question.
     20    · · · · · THE WITNESS:· There is no affiliation at all in
     21    any way, shape, or form, other than we share offices.
     22    BY MR. JONELIS:
     23    · · · Q· ·Are you an officer of Epic Studios?
     24    · · · A· ·No.
     25    · · · Q· ·Are you a director of Epic --


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     ·1    · · · A· ·No.
     ·2    · · · Q· ·-- Studios?
     ·3    · · · · · Are you an employee of Epic Studios?
     ·4    · · · A· ·No.
     ·5    · · · Q· ·Okay.· Are -- do you have a joint least with Epic
     ·6    Studios?
     ·7    · · · A· ·No.· They just sublease space from us.· And it
     ·8    was something that Aaron Gilbert wanted, saying that Epic
     ·9    needed space, and we had an abundance of it, and so we let
     10    them come in.
     11    · · · Q· ·And does Epic Studios have another office?
     12    · · · A· ·Not that I know of.
     13    · · · Q· ·So you're literally working at Creative Wealth in
     14    the same office as Epic Studios, correct?
     15    · · · A· ·That's correct.
     16    · · · Q· ·The same phone number?
     17    · · · A· ·No.
     18    · · · Q· ·Okay.· So there's two phones, but one office?
     19    · · · A· ·That's correct.
     20    · · · Q· ·What about -- when you say BRON, have you ever
     21    been an officer of BRON?
     22    · · · A· ·I was, yes.
     23    · · · Q· ·And can you tell me when?
     24    · · · A· ·Up until May of this year.
     25    · · · Q· ·Okay.· And when you were an officer of BRON, is


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     ·1    that just BRON in general or a particular entity?
     ·2    · · · A· ·BRON Media Corp., which is the parent.
     ·3    · · · Q· ·Okay.· The parent of?
     ·4    · · · A· ·All of the BRON entities.
     ·5    · · · Q· ·And as an officer of BRON, what was your formal
     ·6    title?
     ·7    · · · A· ·Member of the Board.
     ·8    · · · Q· ·And what were your responsibilities as a Member
     ·9    of the Board at BRON?
     10    · · · A· ·Zero.
     11    · · · Q· ·Did you receive compensation as a Member of the
     12    Board of BRON?
     13    · · · A· ·No, I didn't.
     14    · · · Q· ·So you had -- other than a title as a Member of
     15    the Board of BRON, you had absolutely no responsibilities?
     16    · · · A· ·That's correct.
     17    · · · Q· ·Okay.· Other than being a Member of the Board of
     18    BRON, have you held any other positions in connection with
     19    BRON?
     20    · · · A· ·None.
     21    · · · Q· ·Do you own any shares in BRON?
     22    · · · A· ·I do not.
     23    · · · Q· ·Do you have any other equity interest in BRON?
     24    · · · A· ·I do not.
     25    · · · Q· ·Okay.· What were the circumstances that led you


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     ·1    to become a member of the Board of BRON?
     ·2    · · · A· ·Um, we have an institutional pension plan that
     ·3    invested a couple hundred million dollars with them, and
     ·4    their Board thought it appropriate that I obtain a Board
     ·5    seat to look out for their financial interests.
     ·6    · · · Q· ·Okay.· And as a Board member, have there ever
     ·7    been any board meetings that you've attended?
     ·8    · · · A· ·Yes.· They had semiannual board meetings up until
     ·9    the beginning of COVID, and then they stopped.
     10    · · · Q· ·Have there been any Board meetings since the
     11    inception of COVID?
     12    · · · A· ·No.
     13    · · · Q· ·Have you received any communications from BRON in
     14    your capacity as a director?
     15    · · · A· ·No.
     16    · · · Q· ·Or a member of the Board.· Let me rephrase.
     17    · · · A· ·No.
     18    · · · Q· ·To be clear, do you consider yourself a former
     19    officer or former director?
     20    · · · A· ·Hm.
     21    · · · · · MR. FRIED:· If you don't know --
     22    · · · · · THE WITNESS:· Yeah, I don't know.
     23    BY MR. JONELIS:
     24    · · · Q· ·So you're not sure?
     25    · · · A· ·I'm not sure.


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     ·1    · · · Q· ·When did you start your tenure as a Member of the
     ·2    Board of BRON?
     ·3    · · · A· ·2017.
     ·4    · · · Q· ·Okay.· And so from 2017 until earlier this year,
     ·5    you were a Member of the Board of BRON?
     ·6    · · · A· ·Yes.
     ·7    · · · Q· ·Okay.· And that's the same BRON, when you're
     ·8    saying you received information pertaining to the projects
     ·9    in this case?
     10    · · · A· ·Yes.
     11    · · · Q· ·Okay.
     12    · · · · · MS. LEEKER:· Want to take a break?
     13    · · · · · MR. JONELIS:· Yeah, let's take a coffee break.
     14    · · · · · MR. FRIED:· Sure.
     15    · · · · · MR. JONELIS:· That would be a good idea.· All
     16    right.
     17    · · · · · MR. FRIED:· Okay.
     18    · · · · · MR. JONELIS:· 15?
     19    · · · · · MR. FRIED:· Whatever you --
     20    · · · · · MR. JONELIS:· Let's do 15.
     21    · · · · · MR. FRIED:· It's your deposition.
     22    · · · · · MR. JONELIS:· 15 minutes let's do.· I know you
     23    need to get home.· So let's do 15 minutes.
     24    · · · · · MR. FRIED:· I -- my flight doesn't leave until
     25    8:40 so don't worry about it.


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     ·1    · · · · · MS. LEEKER:· Pam, is 15 minutes okay?
     ·2    · · · · · THE VIDEOGRAPHER:· Okay.· So in that case, we'll
     ·3    go off the video record.· The time is now 2:17 p.m.· Thank
     ·4    you.
     ·5    · · · · · MR. JONELIS:· Thank you.
     ·6    · · · · · (Recess)
     ·7    · · · · · THE VIDEOGRAPHER:· And thank you.· Back on the
     ·8    video record.· The time is now 2:35 p.m.· Thank you.
     ·9    · · · · · THE COURT REPORTER:· This is 24.
     10    · · · · · MR. FRIED:· Do you want him to look at that?
     11    · · · · · MR. JONELIS:· Yeah.· I just handed Mr. Cloth
     12    what's going to be marked as Exhibit 24.· If we can please
     13    mark that.
     14    · · · · · (Exhibit 24 marked)
     15    · · · · · MR. JONELIS:· I'm going to represent to you that
     16    on the break, we went to what appears to be Creative Wealth
     17    Media Lending's website --
     18    · · · · · THE WITNESS:· Yep.
     19    · · · · · MR. JONELIS:· -- and found this.
     20    · · · Q· ·Is this a true and correct copy of the bio that
     21    you've got on the Creative Wealth website?
     22    · · · A· ·Yeah.· I think it's out of date, but, yeah,
     23    it's --
     24    · · · Q· ·Well, that was going --
     25    · · · A· ·Yes.


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     ·1    · · · Q· ·-- to be my question.
     ·2    · · · A· ·Yeah, it's out of date.
     ·3    · · · Q· ·So if you look at your bio, Mr. Cloth, it says,
     ·4    "Jason M. Cloth is a director of Bron Media Corp."
     ·5    · · · · · Do you see that?
     ·6    · · · A· ·Yes.
     ·7    · · · Q· ·That's out of date?
     ·8    · · · A· ·No.· You're just answering the question that you
     ·9    had before.· Am I a director or officer so --
     10    · · · · · MR. FRIED:· No.· He's -- you told him that you
     11    resigned and that you're no longer a --
     12    · · · · · THE WITNESS:· Oh, this is out of date.· Yeah,
     13    this is out of date.· Way, way --
     14    · · · · · MR. FRIED:· Excuse me.· I don't mean to
     15    interrupt.
     16    · · · · · THE WITNESS:· This is way way way out of date.
     17    Way way way out of date.· We just haven't updated this
     18    stuff.
     19    · · · · · MR. JONELIS:· I'm sorry.· Because we had me ask a
     20    question, your attorney asked -- let me just for a clean
     21    record. . .
     22    · · · · · MR. FRIED:· Sorry about that.
     23    BY MR. JONELIS:
     24    · · · Q· ·This is a printout from the current Creative
     25    Wealth Media Lending website, because I printed this out on


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     ·1    the break.· And just to be clear, the statement currently
     ·2    on your website that "Jason M. Cloth is a director of Bron
     ·3    Media Corp." is not a correct statement?
     ·4    · · · A· ·It is not a correct statement.
     ·5    · · · Q· ·Okay.
     ·6    · · · A· ·And Paul Tennyson is not a partner in the
     ·7    business either.· It's an outdated website.· Because we
     ·8    don't operate Creative Wealth Media Lending anymore.
     ·9    · · · · · But thank you for bringing that to my attention.
     10    I'll make sure the computer guys take it down immediately.
     11    · · · Q· ·Just some housekeeping based on your prior
     12    testimony, Mr. Cloth.
     13    · · · · · Have you ever owned stock in BRON?
     14    · · · A· ·No.
     15    · · · Q· ·So you don't currently own any stock and you
     16    never have, correct?
     17    · · · A· ·That's correct.
     18    · · · Q· ·Great.· Thank you.
     19    · · · · · Have you ever had any equity interest in BRON?
     20    · · · A· ·No, I haven't.
     21    · · · Q· ·Okay.· When did you first learn that BRON was in
     22    financial trouble?
     23    · · · · · MR. FRIED:· Objection to the form.
     24    · · · · · But you can answer it to the extent you
     25    understand what that means.


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     ·1    · · · · · You want his understanding of that?· Because
     ·2    everybody may have a different understanding.
     ·3    BY MR. JONELIS:
     ·4    · · · Q· ·When did you personally?
     ·5    · · · · · MR. FRIED:· Right.
     ·6    · · · · · THE WITNESS:· What are we now?· In September?
     ·7    August.· Six months ago maybe we -- we got a real sense
     ·8    that something was askew.
     ·9    BY MR. JONELIS:
     10    · · · Q· ·So if we're in September and six months ago -- I
     11    saw you counting back on your fingers -- what, around like
     12    March?
     13    · · · A· ·Yeah.· It -- it -- it occurred in a very very
     14    strange way.· It was sort of like -- well, you guys don't
     15    want explanations of anything.
     16    · · · · · MR. FRIED:· Finish your answer.· He is not
     17    stopping you.
     18    · · · · · THE WITNESS:· It -- it's okay.· Yeah, it's about
     19    six months.
     20    BY MR. JONELIS:
     21    · · · Q· ·And prior to about six months ago, you had no
     22    knowledge that BRON was in any form of financial trouble,
     23    correct?
     24    · · · A· ·That's correct.
     25    · · · Q· ·Okay.· Thank you.


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     ·1    · · · · · What's the amount of secured loans you currently
     ·2    have with BRON?
     ·3    · · · A· ·Um, according to the bankruptcy -- like from all
     ·4    Creative Wealth entities?
     ·5    · · · Q· ·Yes.
     ·6    · · · A· ·150, 200 million.
     ·7    · · · Q· ·And where did that money for those loans come
     ·8    from?
     ·9    · · · A· ·Our institutional investor and other individual
     10    investors.
     11    · · · Q· ·Any of Mr. Harris' money?
     12    · · · A· ·Yes.
     13    · · · · · MR. JONELIS:· Let's mark as Exhibit 25 a document
     14    produced, Mr. Cloth, by your attorneys in this action,
     15    Bates marked CW_0000455 through 457.· Appears to be an
     16    e-mail exchange between you and Sandy Schmidt --
     17    · · · · · THE WITNESS:· Yep.
     18    · · · · · MR. JONELIS:· -- from April 30th and May 1st of
     19    this year.
     20    · · · · · THE WITNESS:· Yes.
     21    · · · · · (Exhibit 25 marked)
     22    BY MR. JONELIS:
     23    · · · Q· ·Can you please take a look at the entire chain?
     24    · · · A· ·Yes.
     25    · · · Q· ·Okay.· Do you recall sending and receiving these


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     ·1    e-mails?
     ·2    · · · A· ·Yes.
     ·3    · · · Q· ·Okay.· If you look at the bottom of the second
     ·4    page -- well, let me back up for a moment.
     ·5    · · · · · Do you recall the circumstances under which these
     ·6    e-mails were exchanged?
     ·7    · · · A· ·Yeah.· Sandy would send regular e-mails asking
     ·8    for updates because he wanted to disseminate information to
     ·9    people.
     10    · · · Q· ·If you look at the bottom of the second page,
     11    Mr. Cloth --
     12    · · · A· ·Yes.
     13    · · · Q· ·-- do you see where Mr. Schmidt wrote on
     14    April 30th, 2022 --
     15    · · · A· ·Yes.
     16    · · · Q· ·(Reading):
     17    · · · · · "Jason, can we get on a call today
     18    · · · · · or early tomorrow morning to discuss
     19    · · · · · CWM, Bron and the return of capital
     20    · · · · · to investors.· I feel we are at an
     21    · · · · · inflection point where investors are
     22    · · · · · very nervous about the return of
     23    · · · · · their capital and when it will be
     24    · · · · · returned.· I provided an update to
     25    · · · · · YBG investors on Friday on where the


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     ·1    · · · · · status of sharing the production is
     ·2    · · · · · and the fact that the film is
     ·3    · · · · · underfunded which I just discovered
     ·4    · · · · · two weeks ago.· No previous updates
     ·5    · · · · · from you or Aaron ever mentioned
     ·6    · · · · · this fact."
     ·7    · · · · · Do you see that?
     ·8    · · · A· ·Yes.
     ·9    · · · Q· ·Okay.· When he -- Mr. Schmidt is referring to
     10    YBG, that's shorthand for Young Bear Grylls, correct?
     11    · · · A· ·That's correct.
     12    · · · Q· ·And if you look at your response midway on the
     13    page --
     14    · · · A· ·Yep.
     15    · · · Q· ·-- you wrote:
     16    · · · · · "Why would you do something stupid
     17    · · · · · like that?· Why can't you keep your
     18    · · · · · mouth shut and work on a solution?"
     19    · · · · · Do you see that?
     20    · · · A· ·Yes.
     21    · · · Q· ·What did you mean when you wrote "Why would you
     22    do something stupid like that?"
     23    · · · A· ·Well, Sandy has a tendency to shoot first and ask
     24    questions later.· And at this point, we knew there were
     25    issues with BRON.· There were potential improprieties, but


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     ·1    I didn't have all the available information.· And the last
     ·2    thing I wanted to do was give people incomplete
     ·3    information.
     ·4    · · · · · So the strong wording of the e-mail was to make
     ·5    it crystal clear to Sandy to stop going half-baked onto
     ·6    things.· And like "Let's gather the information before we
     ·7    tell people."
     ·8    · · · Q· ·So you were calling Mr. Schmidt stupid for
     ·9    updating investors with what you understood to be
     10    half-baked information?
     11    · · · · · MR. FRIED:· Objection to the form.
     12    Mischaracterizes what the document said.
     13    · · · · · THE WITNESS:· I didn't say he was stupid.                 I
     14    said, "Why would you do something stupid like that?"· And
     15    "like that," by giving investors half information.· Like
     16    we -- we didn't know what was going on.· It -- it just
     17    didn't seem like a good thing to do without getting all of
     18    our facts in order.
     19    BY MR. JONELIS:
     20    · · · Q· ·Okay.· And moving to the next part of your
     21    sentence, why did you want Mr. Schmidt to keep his mouth
     22    shut?
     23    · · · A· ·Well, I -- I think I answered that.· Because he
     24    goes half-baked into things and makes comments without
     25    fully thinking what the ramifications of the comments are.


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     ·1    · · · Q· ·So you wanted him to have the full information --
     ·2    · · · A· ·Yes.
     ·3    · · · Q· ·-- before he gave it?
     ·4    · · · · · Going back to Mr. Schmidt's e-mail at the bottom
     ·5    of the page.· Last sentence of the first paragraph, he
     ·6    wrote, "It would be very helpful to understand where you
     ·7    are at with this so we can all work together for the better
     ·8    good of everyone."
     ·9    · · · · · Do you see that?
     10    · · · A· ·Yes.
     11    · · · Q· ·And you see the first sentence, he started,
     12    "Jason, can we get on a call today?"
     13    · · · A· ·Yes.
     14    · · · Q· ·Okay.· Going back to your response.· You wrote:
     15    · · · · · "No I don't want to get on a call
     16    · · · · · with you."
     17    · · · A· ·Yes.
     18    · · · Q· ·If you wanted to make sure that Mr. Schmidt
     19    didn't have half-baked information, why didn't you want to
     20    get on a call with him?
     21    · · · A· ·As I stated previously, I didn't have all of the
     22    available information at that time.
     23    · · · · · THE WITNESS:· Can I talk to you for a second?
     24    · · · · · MR. FRIED:· There is no question pending, right?
     25    · · · · · MR. JONELIS:· No.


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     ·1    · · · · · THE WITNESS:· I just need to speak to him for a
     ·2    second.
     ·3    · · · · · MR. FRIED:· Don't go off the record.
     ·4    · · · · · THE WITNESS:· Yeah.· 10 seconds.
     ·5    · · · · · (Brief pause)
     ·6    · · · · · MR. FRIED:· Maybe it was 12 seconds.
     ·7    BY MR. JONELIS:
     ·8    · · · Q· ·To your -- to your knowledge, Mr. Cloth, who is
     ·9    Platinum Productions?
     10    · · · · · THE VIDEOGRAPHER:· I'm sorry.· Could you put your
     11    mic back on?
     12    · · · · · THE WITNESS:· Oh, sorry.
     13    · · · · · THE VIDEOGRAPHER:· Thank you.
     14    · · · · · THE WITNESS:· Platinum -- Platinum Productions I
     15    think are the producers of Young Bear Grylls.
     16    BY MR. JONELIS:
     17    · · · Q· ·Looking back at Exhibit 25.· This is
     18    Mr. Schmidt's e-mail to you on April 30th, 2023.· Second
     19    page, he refers to Young Bear Grylls as being underfunded.
     20    · · · A· ·Yes.
     21    · · · Q· ·He says, ". . .I just discovered two weeks ago.
     22    No previous updates from you or Aaron ever mentioned this
     23    fact."· Do you see that?
     24    · · · A· ·Yes.
     25    · · · Q· ·To your knowledge, is Young Bear Grylls


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     ·1    underfunded?
     ·2    · · · A· ·Yes, it is.
     ·3    · · · Q· ·By how much?
     ·4    · · · A· ·Approximately $3,000,000.
     ·5    · · · Q· ·Isn't it true that Sandy Schmidt's group of
     ·6    investors invested $12,000,000 towards Young Bear Grylls?
     ·7    · · · A· ·That's correct.
     ·8    · · · Q· ·And Mr. Harris' $1,000,000 contribution was
     ·9    included in that group, correct?
     10    · · · A· ·That's correct.
     11    · · · Q· ·And isn't it true that the budget for Young Bear
     12    Grylls was supposed to be capped at 12,000,000?
     13    · · · A· ·I would have to check the documents, but, you
     14    know. . .
     15    · · · · · MR. FRIED:· If you're representing that, we'll
     16    accept the representation.
     17    · · · · · THE WITNESS:· Yeah.· You don't need to check.· If
     18    you're telling me it was to be capped at 12 --
     19    · · · · · MR. JONELIS:· Well, I don't know.· I'm not a
     20    producer.· I -- I just want to show you Mr. Harris'
     21    contract to make sure we understand this.
     22    · · · · · Let's mark as Exhibit 26 a copy of the executed
     23    contract between my client and your company, Mr. Cloth --
     24    · · · · · THE WITNESS:· Yeah.
     25    · · · · · MR. JONELIS:· -- for Young Bear Grylls.


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     ·1    · · · · · (Exhibit 26 marked)
     ·2    BY MR. JONELIS:
     ·3    · · · Q· ·Just go in on the first page to the section that
     ·4    says "Budget."
     ·5    · · · A· ·Yep.
     ·6    · · · Q· ·Do you see where it says, "The final net budget
     ·7    for the Project will not exceed USD$12,061,467"?
     ·8    · · · A· ·Yes, that's true.
     ·9    · · · Q· ·All right.· So the budget for Young Bear Grylls
     10    was supposed to be capped at 12,000,000, correct?
     11    · · · A· ·Yes.· But we are not the producers.
     12    · · · Q· ·Isn't it true that in addition to the 12,000,000
     13    contributed by Mr. Schmidt's investor group, an additional
     14    approximately 3.5 million was contributed by Suraj
     15    Maraboyina's investor group?
     16    · · · A· ·Yes.
     17    · · · Q· ·Who is Suraj Maraboyina?
     18    · · · · · And for the record, that's M-a-r-a-b-o-y-i-n-a?
     19    · · · A· ·Another capital-raising individual.
     20    · · · Q· ·Okay.· What's your relationship with
     21    Mr. Maraboyina?
     22    · · · A· ·Business.
     23    · · · Q· ·He's provided, similar to Mr. Schmidt --
     24    · · · A· ·Yes.
     25    · · · Q· ·-- groups of investors for your projects,


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     ·1    correct?
     ·2    · · · A· ·Yes.
     ·3    · · · Q· ·So between Mr. Schmidt's and Mr. Maraboyina's
     ·4    investors, Creative Wealth received approximately 15.5
     ·5    million for Young Bear Grylls, correct?
     ·6    · · · A· ·Correct.
     ·7    · · · Q· ·Okay.· So help me out here.· The budget was
     ·8    supposed to be capped at 12,000,000 and at least 15.5
     ·9    million was raised.· How could the project be underfunded?
     10    · · · A· ·That is a very good question.· I only have a
     11    speculative answer, but there is a professional monitor in
     12    place looking at these issues right now at BRON.
     13    · · · Q· ·Are you aware the Platinum Productions claims it
     14    only received 4.5 million from Creative Wealth in
     15    connection with Young Bear Grylls?
     16    · · · A· ·This could be true, yeah.
     17    · · · Q· ·What could be true?
     18    · · · A· ·That Platinum would have only received 4-1/2
     19    million from us directly.· It would not be unreasonable
     20    where we would have sent the rest of the production budget
     21    to BRON, as we have done a hundred other occasions.
     22    · · · Q· ·So who determines, when you get 15.5 million, how
     23    much of that goes to the production company -- in this
     24    case, Platinum -- and how much goes to BRON?
     25    · · · A· ·There is no determining factor.· We could have


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     ·1    sent it all to BRON, and that would have satisfied our
     ·2    obligations to the show.
     ·3    · · · Q· ·What's the criteria for how the money gets
     ·4    allocated?
     ·5    · · · A· ·Usually the urgency in which the producer needs
     ·6    the money.· Like if there's an immediate need where we
     ·7    don't have time to send the money through BRON's accounting
     ·8    system and then have them forward it on to production, you
     ·9    know, we have sometimes sent funds to production itself.
     10    · · · Q· ·I guess the more specific question is how do
     11    you -- how do you determine the percentage allocation?
     12    · · · A· ·We don't determine it.· It's on the fly.
     13    · · · Q· ·Who makes that determination?
     14    · · · A· ·The producers of the show.· If they need money
     15    quickly, we'll send it to production.· Typically, for
     16    accounting purposes, we sent everything to BRON and BRON
     17    would send it out to production.
     18    · · · Q· ·But in this particular instance, it's feasible
     19    that 4.5 million went directly to Platinum and the rest
     20    went to BRON?
     21    · · · A· ·Yeah.· I don't think it was 4.5, but I -- I'd
     22    have to check your numbers, but the -- the show is
     23    underfunded by $3,000,000.
     24    · · · Q· ·Is it your position that the full 15.5 million
     25    that was raised went towards the production?


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     ·1    · · · A· ·At the time we thought it was, and we
     ·2    subsequently found out that it didn't.
     ·3    · · · Q· ·Where did it go?
     ·4    · · · A· ·No idea.
     ·5    · · · Q· ·So just to be clear, 15.5 million dollars is
     ·6    raised by Mr. Schmidt and Mr. Maraboyina for Creative
     ·7    Wealth?
     ·8    · · · A· ·Yes.
     ·9    · · · Q· ·And as of you sit here today, you have no idea
     10    where that money went?
     11    · · · A· ·Yes, that is correct.
     12    · · · Q· ·How is it possible that you, as the one who took
     13    the money for this project, have been kept in the dark as
     14    to where the money ended up?
     15    · · · A· ·I guess that's something for the bankruptcy
     16    monitor to get back to all of us.
     17    · · · Q· ·If you could take a look at the Young Bear Grylls
     18    agreement again.· This was marked as Exhibit No. 26.
     19    · · · · · You see at the bottom of the first page, there is
     20    a section called "Use of Investment"?
     21    · · · A· ·Yep.
     22    · · · Q· ·It says:
     23    · · · · · "[Use] of the loan" -- the loan here
     24    · · · · · being Mr. Harris' $1,000,000 --
     25    · · · · · "less the Facilitation Fee, shall be


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     ·1    · · · · · used exclusively to finance the
     ·2    · · · · · pre-production, production,
     ·3    · · · · · post-production, and delivery of the
     ·4    · · · · · Project."
     ·5    · · · · · Do you see that?
     ·6    · · · A· ·Yes.
     ·7    · · · Q· ·So you understand that's a contractual obligation
     ·8    imposed on Creative Wealth under this contract?
     ·9    · · · · · MR. FRIED:· Objection to form.
     10    · · · · · You can answer.
     11    · · · · · THE WITNESS:· Um, yes, I understand that.
     12    BY MR. JONELIS:
     13    · · · Q· ·In this particular instance, does it matter what
     14    the document says?
     15    · · · A· ·I'm not going to explain.· So of course it
     16    matters what the document says.
     17    · · · Q· ·So what efforts were taken by Creative Wealth to
     18    ensure that the proceeds of Mr. Harris' $1,000,000 were
     19    used exclusively to finance the pre-production, production,
     20    post-production, and delivery of Young Bear Grylls?
     21    · · · A· ·Uh, we have wire confirms of money going from our
     22    firm to BRON and Young Bear Grylls.· And that's where our
     23    obligation ends.· They were the co-producers of the show
     24    and they needed to make sure that the show was funded.· We
     25    have subsequently found out that money didn't get to the


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     ·1    show, and we're finding that on a number of other shows, as
     ·2    well.· But as I said, there's a professional monitor in
     ·3    place that's investigating, you know, where quite a bit of
     ·4    money ended up.
     ·5    · · · Q· ·So other than just wiring the money to BRON, is
     ·6    there any other effort undertaken by Creative Wealth to
     ·7    ensure that the proceeds of Mr. Harris' loan, less the
     ·8    facilitation fee, were used exclusively to finance the
     ·9    pre-production, production, post-production, and delivery
     10    of Young Bear Grylls?
     11    · · · · · MR. FRIED:· Objection to the form.· Asked and
     12    answered.
     13    · · · · · You can answer it again.
     14    · · · · · THE WITNESS:· No.· Nor would there be.
     15    BY MR. JONELIS:
     16    · · · Q· ·What was BRON's role with respect to the Young
     17    Bear Grylls?
     18    · · · A· ·Co-producer and sales agent.
     19    · · · Q· ·What production capacity did BRON have in
     20    connection with Young Bear Grylls?
     21    · · · A· ·Um, their animation division was working on Bear
     22    Grylls with -- with Platinum dudes -- with Platinum
     23    Studios.
     24    · · · Q· ·And this was at the time that you were a director
     25    of BRON, correct?


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     ·1    · · · A· ·Sure.· But we weren't updated as board members as
     ·2    to the intricacies of each production.
     ·3    · · · Q· ·Let's go on to The Pathway here, if we could.
     ·4    · · · · · Isn't it true that Mr. Harris' 6.5-million-dollar
     ·5    contribution was intended to cover the entire cost of the
     ·6    first season's production?
     ·7    · · · A· ·Yes.
     ·8    · · · Q· ·Okay.· I mean, that was in the waterfall that was
     ·9    attached to the e-mail we looked at earlier today.
     10    · · · · · So Mr. Harris' investment essentially is keyed to
     11    the production budget for the first season, correct?
     12    · · · A· ·That's correct.
     13    · · · Q· ·Yeah.· Did you take any money from other
     14    investors in connection with the first season of The
     15    Pathway?
     16    · · · A· ·No.· We took money from other investors in
     17    relation to the production of Pathway.· Since there was no
     18    distribution deal done, these things are fairly timely
     19    since it's essentially a reality show.· So they needed to
     20    go pretty quickly into pre-production on Season 2.
     21    · · · Q· ·Going back to Mr. Maraboyina, whom we spoke about
     22    earlier, isn't it true at the same time that you solicited
     23    Mr. Harris' 6.5 million dollars, you also solicited an
     24    investment from him in connection with the first season of
     25    Pathway in the amount of 2.5 million dollars?


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     ·1    · · · · · MR. FRIED:· Objection to form.
     ·2    · · · · · You can answer.
     ·3    · · · · · THE WITNESS:· No.· It would have been an
     ·4    investment into Pathway because, as I just stated, we
     ·5    needed to put season 1 and season 2 into production fairly
     ·6    quickly.
     ·7    BY MR. JONELIS:
     ·8    · · · Q· ·So what's your understanding of the purpose of
     ·9    Mr. Maraboyina's 2.5-million-dollar investment into
     10    Pathway?
     11    · · · A· ·It went into the production of Pathway and that's
     12    why we have season 1 and season 2 finished.
     13    · · · Q· ·Okay.· At the time that you took Mr. Maraboyina's
     14    money, was season 2 in production of The Pathway?
     15    · · · A· ·It would have been in pre-production, yes.
     16    · · · Q· ·Did you tell Mr. Maraboyina at any time that his
     17    money would be used in connection with season 1 of The
     18    Pathway?
     19    · · · A· ·I don't recall saying that to him, no.
     20    · · · Q· ·But you could have, or you deny saying it?
     21    · · · A· ·I'm telling you I don't recall.· So I'm not
     22    saying definitively one way or another.· I just don't
     23    recall what I said.· He knows that it was in the -- the
     24    money was raised in the scope of the production of Pathway.
     25    · · · Q· ·At the time that you took Mr. Harris' 6.5 million


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     ·1    dollars in connection with The Pathway, did you ever tell
     ·2    him that he was not actually the only investor that you
     ·3    were working with in connection with that project?
     ·4    · · · · · MR. FRIED:· Objection to form.
     ·5    · · · · · You can answer.
     ·6    · · · · · THE WITNESS:· Um, at the time, no.· Like at the
     ·7    time, the show was supposed to work out brilliantly.· It
     ·8    was supposed to be sold immediately.
     ·9    · · · · · No.· It -- it wasn't until, you know, we started
     10    to go down the path of distribution taking a longer time
     11    and then Aaron said, "Well, we've got season 1, but there's
     12    four new high school guys that we have to get into
     13    pre-production on."· You know, we weren't going back to
     14    Robert and asking for more money for season 2 for Robert.
     15    · · · Q· ·Other than Mr. Harris and Mr. Maraboyina, at the
     16    same time that you were soliciting Mr. Harris' investment
     17    of 6.5 million dollars, were you soliciting additional
     18    investments in connection with season 1 of The Pathway?
     19    · · · · · MR. FRIED:· Objection to form.
     20    · · · · · You can answer.
     21    · · · · · THE WITNESS:· We might have been talking to
     22    people before Robert signed onboard.
     23    BY MR. JONELIS:
     24    · · · Q· ·Okay.· Other than Mr. Harris' 6.5 million and the
     25    2.5 million dollars from Suraj Maraboyina, did you receive


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     ·1    any other investor money in connection with The Pathway?
     ·2    · · · A· ·Not to my recollection.
     ·3    · · · Q· ·Okay.· Let's talk for a few minutes about the
     ·4    money that Mr. Harris contributed to each of the eight
     ·5    projects at issue here.
     ·6    · · · · · We've already talked about, in connection with
     ·7    Young Bear Grylls, that that agreement provided that the
     ·8    proceeds of Mr. Harris' money could only be used for the
     ·9    production, pre-production, delivery, et cetera, et cetera,
     10    of each of those projects.· Do you want to go through all
     11    the agreements or can we agree that that provision is
     12    included in all of the agreements in connection with all of
     13    the projects at issue here?
     14    · · · A· ·Let's just state that that's in the provision of
     15    all of the agreements.
     16    · · · Q· ·Okay.· That saves time.
     17    · · · · · So when Mr. Harris gave you his money, the
     18    expectation was it was going to be used exclusively in
     19    connection with the production, pre-production, delivery,
     20    post-production of the projects for which he was providing
     21    you with this money?
     22    · · · A· ·That's correct.
     23    · · · Q· ·Okay.· And as you sit here today under oath,
     24    you've already testified with respect to Young Bear Grylls,
     25    but with respect to the other projects, as you sit here


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     ·1    today under oath, can you say with certainty that all of
     ·2    the money that Mr. Harris gave to you was in fact used
     ·3    exclusively for the pre-production, production,
     ·4    post-production, or delivery of each of the other seven
     ·5    projects at issue other then Young Bear Grylls?
     ·6    · · · A· ·The only one I could think of is GHOSTBUSTERS.
     ·7    Because the reality was, by the time we funded
     ·8    GHOSTBUSTERS, the show was done, it was, you know, weeks
     ·9    before it came out in theaters.· So -- but that's normal in
     10    the studio world.· Right?· Like just because Sony pays for
     11    it, I put up $50,000,000 for MISSION IMPOSSIBLE, and I put
     12    it up the day before it was released in theaters.· Even
     13    though our agreement says it's to be used for
     14    post-production, pre-production and so forth, it's just --
     15    it's a balance sheet transaction for Paramount.
     16    · · · Q· ·Did you tell that to Mr. Harris when he gave you
     17    his money for GHOSTBUSTERS?
     18    · · · A· ·Why would we need to tell that to Mr. Harris?
     19    He's entitled to the return of GHOSTBUSTERS.· So once
     20    BRON's accounts with Sony open up, he will get his
     21    GHOSTBUSTERS money and his return.
     22    · · · Q· ·So you say "Why would we need to tell
     23    Mr. Harris?"· Are you saying why would you need to tell
     24    Mr. Harris that his money was not in fact being used for
     25    the production, pre-production, post-production, or


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     ·1    delivery of GHOSTBUSTERS?
     ·2    · · · A· ·It was used for it.· Let -- let's just leave it
     ·3    at that.
     ·4    · · · Q· ·How do you know it was used for it?
     ·5    · · · A· ·Because we sent it to Sony.· So take it up with
     ·6    Sony.
     ·7    · · · Q· ·But you just said that by the time Mr. Harris --
     ·8    · · · A· ·Take it up with Sony --
     ·9    · · · Q· ·-- gave you --
     10    · · · A· ·I just --
     11    · · · · · MR. FRIED:· Just let him ask the question and
     12    then I'll make my objection.
     13    · · · · · THE WITNESS:· Okay.
     14    · · · · · MR. FRIED:· Just let him ask the question.
     15    BY MR. JONELIS:
     16    · · · Q· ·So you testified that by the time Mr. Harris gave
     17    you the money for GHOSTBUSTERS, GHOSTBUSTERS didn't need
     18    the money anymore for pre-production, production,
     19    post-production or delivery --
     20    · · · A· ·That's correct.
     21    · · · Q· ·-- so then why didn't you tell Mr. Harris that
     22    his money was no longer needed for the sole intended
     23    purpose under the written contract that he signed?
     24    · · · A· ·I don't know.
     25    · · · Q· ·After Mr. Harris wired you his monies in


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     ·1    connection with all of the eight projects, what steps did
     ·2    you take to ensure that the money was actually used for the
     ·3    intended purpose?
     ·4    · · · · · MR. FRIED:· Objection to form.· Asked and
     ·5    answered.
     ·6    · · · · · You can answer it again.
     ·7    · · · · · THE WITNESS:· We have contractual obligations
     ·8    with the producers for the show.· And we advance money to
     ·9    the producers, and it's their obligation to use that money
     10    to produce the show.· There was no indication that money
     11    was not being used for the production of these last shows.
     12    · · · · · Unfortunately, you know, Mr. Harris got involved
     13    with BRON at the very tail end of their existence.· Prior
     14    to that, we had produced 50 films with them where we had no
     15    issues.· Money went to the studio.· Money got used for the
     16    production.
     17    · · · · · You know, underneath BRON, there were obvious
     18    financial cracks that we were not aware of.· Nobody was
     19    aware of it.· Not the banks, not anybody who lent them
     20    money were aware of some of the issues that they had.
     21    · · · · · But as I said before, there's a monitor in place,
     22    and they will be issuing a report at some time in the
     23    future discussing all of the irregularities that they found
     24    in the financing of the shows.
     25    · · · Q· ·Thank you.


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     ·1    · · · · · Mr. Cloth, since you're here today under oath,
     ·2    thought it might be a good opportunity to get your sworn
     ·3    testimony about the current status of each of the projects
     ·4    at issue in this lawsuit, at least as they pertain to
     ·5    Mr. Harris.· And that way, going forward, we don't have to
     ·6    rely on the unsworn e-mail correspondence.
     ·7    · · · · · So let's start with GHOSTBUSTERS: AFTERLIFE.
     ·8    Mr. Harris contributed $1,000,000 towards that project,
     ·9    correct?
     10    · · · A· ·Yes.
     11    · · · Q· ·And unlike some of the projects in this case,
     12    GHOSTBUSTERS: AFTERLIFE was actually delivered, correct?
     13    · · · A· ·That's correct.
     14    · · · Q· ·And released two years ago, correct?
     15    · · · A· ·That's correct.
     16    · · · Q· ·And we've previously agreed here and you've
     17    testified that the film was profitable, correct?
     18    · · · A· ·Yes.· On a 10-year total revenue basis --
     19    · · · Q· ·Okay.
     20    · · · A· ·-- it's profitable.
     21    · · · Q· ·So why hasn't Mr. Harris received any money back
     22    in connection with GHOSTBUSTERS?
     23    · · · A· ·Because the film is notionally profitable.· That
     24    means from a total revenue minus total cost basis over the
     25    initial 10 years of the film, the film is profitable.


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     ·1    · · · · · The only way I can get that revenue is to
     ·2    bank-finance the paper from Sony.· And BRON does not have
     ·3    the creditworthiness any longer for me to bank it.· So I
     ·4    now have to wait for actual cash to come in from the
     ·5    theaters, from the streamers, from the free TV deals, from
     ·6    the airlines.· And that occurs over a 10-year period.
     ·7    · · · Q· ·Has any money come in from the theaters in
     ·8    connection with GHOSTBUSTERS: AFTERLIFE?
     ·9    · · · A· ·Of course.
     10    · · · Q· ·How much money?
     11    · · · · · MR. FRIED:· Are you asking come in to Creative?
     12    · · · · · MR. JONELIS:· Uh-huh.
     13    · · · · · THE WITNESS:· Oh, no, no.· It hasn't -- none --
     14    none has come in to Creative.
     15    BY MR. JONELIS:
     16    · · · Q· ·Okay.· Well, how long -- because you said that
     17    you -- and I assume "you" means Creative -- have to wait
     18    for the money to come in from the theaters.
     19    · · · A· ·Well, right now, because the show was produced
     20    under a BRON/Creative label, Sony is holding cash on our
     21    behalf until the BRON bankruptcy issue is resolved.
     22    · · · Q· ·Okay.· Is Sony aware that there's numerous
     23    investors who are owed money from Creative Wealth in
     24    connection with that picture?
     25    · · · A· ·Sure they are.· They couldn't care less.


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     ·1    · · · Q· ·Okay.· Moving on to Monkey Man.· Mr. Harris
     ·2    contributed $750,000 towards that project, correct?
     ·3    · · · A· ·Yes.
     ·4    · · · Q· ·So as you sit here today under oath, why hasn't
     ·5    Mr. Harris received any of his money back in connection
     ·6    with Monkey Man?
     ·7    · · · A· ·There is a professional monitor that is
     ·8    overseeing the bankruptcy proceedings of BRON Studios.· We
     ·9    have made numerous inquiries as to exactly where and what
     10    happened to the Monkey Man money.· And I assume they will
     11    be issuing their report in the future and we can all find
     12    out what happened at that point.
     13    · · · Q· ·Are you the largest credit bidder in the current
     14    bankruptcy proceeding?
     15    · · · A· ·Uh, that's also a difficult question to answer.
     16    I -- I don't mean to be like vague, but there's so much
     17    crap that has gone on at BRON.· Shows that we had security
     18    in, BRON had inserted other people on top of us.· Like I've
     19    literally got to go to court for a number of shows to
     20    unwind the mess that Aaron created.· It's just not as easy
     21    a question to answer as you think it is.· Conceptually,
     22    yes, I am the largest creditor.
     23    · · · Q· ·And what happens if your credit bid is accepted
     24    in connection with the BRON bankruptcy?
     25    · · · A· ·If our credit bid is accepted?


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     ·1    · · · Q· ·Is accepted.· I-s.
     ·2    · · · A· ·So our thought was that we would then foreclose
     ·3    on all of the shows.· We would set up a separate
     ·4    corporation for the express purpose of collecting receipts
     ·5    from all of those shows so that we could repay investors
     ·6    with that money.
     ·7    · · · Q· ·Have you made that representation in the
     ·8    bankruptcy proceeding?
     ·9    · · · A· ·Yes.
     10    · · · Q· ·In a filed document?
     11    · · · A· ·Yes.
     12    · · · Q· ·Okay.
     13    · · · · · MR. FRIED:· Just be careful when you're giving
     14    him answers about bankruptcy.· I don't have a problem with
     15    your answers so far, but if you're giving him information
     16    you got from your attorneys, that's privileged.
     17    · · · · · THE WITNESS:· Okay.
     18    · · · · · MR. JONELIS:· And I -- and I completely agree
     19    with what --
     20    · · · · · THE WITNESS:· Look --
     21    · · · · · MR. JONELIS:· I was not trying to --
     22    · · · · · MR. FRIED:· That's my job --
     23    · · · · · THE WITNESS:· I'm glad you mentioned that, you
     24    know.
     25    · · · · · MR. FRIED:· Your answers are fine.


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     ·1    · · · · · THE WITNESS:· Okay.
     ·2    · · · · · MR. FRIED:· Just be as --
     ·3    · · · · · THE WITNESS:· Look, I'm try- -- he's sitting
     ·4    here.· I'm trying to give, you know, information so that
     ·5    you can take something away that it's just not, you know, a
     ·6    giant shitshow.
     ·7    · · · · · MR. FRIED:· Yes, it is.
     ·8    · · · · · THE WITNESS:· The reality is BRON is a shitshow,
     ·9    but I think we will be successful on, you know, on a number
     10    of fronts outside of monies that were invested just in
     11    these shows.· And in that case, we will use all monies that
     12    are generated from whatever we are able to scoop from the
     13    studio to repay people.
     14    BY MR. JONELIS:
     15    · · · Q· ·What's the specific date when you no longer were
     16    a director for BRON?
     17    · · · A· ·I -- I would have to check.· My lawyers handled
     18    that dissolution.· I think it was sometime in May.
     19    · · · Q· ·The financial problems happened, to your
     20    knowledge -- you just discovered them in March,
     21    approximately?
     22    · · · A· ·Yes.
     23    · · · Q· ·Okay.· What were the circumstances that led you
     24    from stepping down as a director of BRON?
     25    · · · A· ·I think it --


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     ·1    · · · · · MR. FRIED:· If this has to do with communications
     ·2    from your attorneys, he doesn't want to know that.
     ·3    · · · · · Can you answer that without disclosing
     ·4    attorney-client communication?· If you can, answer it.
     ·5    · · · · · THE WITNESS:· I think at the time BRON could no
     ·6    longer make payroll, and there were certain withholdings on
     ·7    the payroll side that were going to fall to the directors
     ·8    of the studio.· And none of us wanted that responsibility.
     ·9    So we all resigned.
     10    BY MR. JONELIS:
     11    · · · Q· ·What's your understanding as why those payment
     12    responsibilities would fall on your personal shoulders?
     13    · · · A· ·Um, I don't know the exact reason other than our
     14    lawyer said that -- you know, they -- they would.
     15    · · · Q· ·So advice of counsel?
     16    · · · A· ·Yes.
     17    · · · Q· ·So just to be clear, your understanding was your
     18    position as a director at BRON would somehow render you
     19    personally liable should there be payroll issues in
     20    connection with the company?
     21    · · · A· ·Yeah.· It was a little more complicated than that
     22    as it was explained to me, but essentially that was it.
     23    · · · Q· ·Let's talk about Young Bear Grylls.· Mr. Harris
     24    contributed $1,000,000 towards that project, correct?
     25    · · · A· ·Yes.


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     ·1    · · · Q· ·Why hasn't Mr. Harris received any money back in
     ·2    connection with Young Bear Grylls?
     ·3    · · · A· ·Not finished and it's not sold.
     ·4    · · · Q· ·When you say it's not finished, is any of it
     ·5    finished?
     ·6    · · · · · MR. FRIED:· I think he's testified about this at
     ·7    length.
     ·8    · · · · · You can --
     ·9    · · · · · THE WITNESS:· It --· it doesn't matter if part of
     10    the show is finished.· A distributor -- from what I
     11    understand, you know, Disney is interested in it, and they
     12    want a completed show.· They -- you know, distributors
     13    nowadays aren't -- they don't act the way they did three or
     14    four years ago.· They're more prudent with their money.
     15    They don't go crazy on purchase prices.· And they want to
     16    see finished product.· They don't want to see -- especially
     17    on digital animation, they don't want to see half done
     18    shows.· So the show was underfunded.· That slowed
     19    production down.· You know, what is not in any of your
     20    documents is, you know, my institutional fund put in
     21    $4,000,000 to Young Bear Grylls.· None of that money got to
     22    Bear Grylls.· There are real freaking issues that we have
     23    to deal with as a collective group with this studio.
     24    BY MR. JONELIS:
     25    · · · Q· ·Have you personally or your company, Mr. Cloth,


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     ·1    received any payments in connection with Monkey Man?
     ·2    · · · A· ·No.
     ·3    · · · Q· ·Let's talk about Fables.· You understand that
     ·4    Mr. Harris contributed $1,000,000 towards that project,
     ·5    correct?
     ·6    · · · A· ·Yes.
     ·7    · · · Q· ·Why hasn't Mr. Harris received any of his money
     ·8    back in connection with Fables?
     ·9    · · · A· ·The show is not finished.
     10    · · · Q· ·How far away from finished is the show?
     11    · · · A· ·Um, is this part of the whole candor thing that
     12    you wanted to go through on each of the shows?
     13    · · · · · MR. FRIED:· Yeah.· He wants to know what the
     14    status is.
     15    · · · · · You can answer.
     16    · · · · · THE WITNESS:· So once BRON filed for bankruptcy,
     17    everyone left.· There's -- out of 200 people, there might
     18    be eight people working there now.· So the ex-head of
     19    digital animation, Jason Chen, called me said, "Hey, I want
     20    to meet with you.· I want to tell you what went on with
     21    some of the shows, especially Gossamer and Fables."· And
     22    the direction -- the creative direction of Fables changed
     23    partway through to everybody in the digital animation's
     24    chagrin.· When you want to change creative direction, you
     25    do it at the script level where it's cheap and you just


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     ·1    rewrite things.· You don't do it after you've spent
     ·2    millions of dollars on a show.· And so the show might be
     ·3    impaired, but Jason thinks he also has the original shows
     ·4    that were mostly done on a backup drive someplace.· If we
     ·5    can get those and cheaply finish those and sell them, we
     ·6    might be okay.· I just need to get in there.· The monitor
     ·7    will not let me in to see any of the work until after, you
     ·8    know, we essentially win the credit bid.
     ·9    · · · · · And it's the same with Gossamer.· Like I need to
     10    see -- I need to see what was done and whether or not, you
     11    know, they can be saved.· Hailey, Bubbles and Bear are not
     12    related to BRON.· And the last update that I've had with
     13    the principals of those production companies is, although
     14    they're delayed, um, they're not -- they're only impaired
     15    in terms of delivery date, but they are not impaired in
     16    terms of quality or what they think they will be able to
     17    sell them for.
     18    BY MR. JONELIS:
     19    · · · Q· ·That's with respect to which projects?
     20    · · · A· ·Hailey, Bubbles and Bear.· Those are three that
     21    are unrelated to BRON, and those productions are coming to
     22    an end, and they will -- they will start selling those in
     23    the coming months.
     24    · · · Q· ·And when you say you want to get back the footage
     25    from the hard drive if you can do that with Jason, footage


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     ·1    for what?
     ·2    · · · A· ·Fables is eight original episodes of Aesop's
     ·3    Fables.· So they were made for children.· And then we heard
     ·4    that the direction of the show turned darker for some odd
     ·5    stupid reason.· So the darker versions of Aesop's Fables
     ·6    are not sellable to anybody.· The lighter versions would be
     ·7    appealing to children, that we might be able to, you know,
     ·8    quickly flip, especially since there is no new work being
     ·9    done because of the actors' and writers' strikes.· So that
     10    might help us in selling these things.
     11    · · · Q· ·And when you said you could finish them up
     12    cheaply, what do you mean?
     13    · · · A· ·Fables is a $15,000,000 show depending on the
     14    cost.· What I'm hoping is that if we put in another dollar,
     15    we can yield something higher than that dollar.· I just
     16    don't know yet.
     17    · · · Q· ·What would be done to finish it cheaply?
     18    · · · A· ·I don't know yet.· I've got to see what we have
     19    and what needs to be done.
     20    · · · Q· ·And when you say "I want to see what we have,"
     21    what do you mean?
     22    · · · A· ·So we heard that Jason Chen, the CFO of BRON, and
     23    a couple of senior animation people, they're making a
     24    credit bid for BRON Digital.· And they would -- because
     25    they don't have a ton of cash, we might be open to a deal


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     ·1    whereby they would finish the show in lieu of putting up
     ·2    money to buy the digital.· So I just sort of need to see
     ·3    where we are, how much it needs to fix it, can it be fixed.
     ·4    I mean, that would be my worst nightmare, that it's so
     ·5    impaired that we can't fix it.· But from what Jason told
     ·6    me, he doesn't think they're that far gone.· And then Robin
     ·7    Hood, I don't know.
     ·8    · · · · · Do you have Robin Hood?
     ·9    · · · · · MR. FRIED:· You can't ask him questions.
     10    · · · · · THE WITNESS:· Oh, sorry.· Well, the third one was
     11    so early on that they didn't have a chance to ruin that.
     12    So like there's a few shows that -- you know, that we would
     13    go in and take a look at.
     14    BY MR. JONELIS:
     15    · · · Q· ·When you keep saying "we," who are you referring
     16    to as "we"?
     17    · · · A· ·Myself, my creative partner, the digital
     18    animation team.· We brought in a producer, Brian Cavanaugh
     19    Jones.· Like we brought in a whole creative team to come
     20    and take a look.· Even the digital guys at Epic said,
     21    "Look, we understand how difficult this is.· We'll come in
     22    and give you an assessment of the value of the shows, as
     23    well."
     24    · · · Q· ·And can you personally take a look at the footage
     25    and know what needs to be done to finish it?


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     ·1    · · · A· ·No.
     ·2    · · · Q· ·Who does that?
     ·3    · · · A· ·It would be the creative team, you know, who does
     ·4    digital animation.
     ·5    · · · Q· ·At Creative Wealth?
     ·6    · · · A· ·No.· I'd bring in outside professionals.
     ·7    · · · Q· ·Has any investor been paid back in connection
     ·8    with Young Bear Grylls?
     ·9    · · · A· ·From Young Bear Grylls, no.
     10    · · · Q· ·So two of Sandy Schmidt's investors were not paid
     11    back in connection with Young Bear Grylls?
     12    · · · A· ·They might have been prepaid.· They were not paid
     13    back by Young Bear Grylls revenues.
     14    · · · Q· ·When you say they might have been repaid, repaid
     15    by whom?
     16    · · · A· ·We went through this earlier today.· I -- I'd
     17    have to check.· You know, we might have paid smaller
     18    investors off through our own resources unrelated to the
     19    shows themselves.· But no investor has been paid by the
     20    production itself, nor has any revenue come in from any of
     21    these shows where that revenue was not proportionately
     22    distributed to the investors.
     23    · · · Q· ·When you say that some investors may have been
     24    paid back not from the shows, but just paid back, was that
     25    any interest paid back on top of that investment?


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     ·1    · · · A· ·I would have to check.· I -- I -- I can't say
     ·2    offhand.
     ·3    · · · Q· ·So you can't say for sure that it was not paid?
     ·4    · · · A· ·That's correct.
     ·5    · · · Q· ·So there's a chance that investors who were paid
     ·6    back their money that they put into Young Bear Grylls were
     ·7    also paid interest on top of their investment?
     ·8    · · · A· ·That's correct.
     ·9    · · · Q· ·And why were they paid and not Mr. Harris?
     10    · · · A· ·Because --
     11    · · · · · MR. FRIED:· Objection to form.
     12    · · · · · THE WITNESS:· I don't.
     13    · · · · · MR. FRIED:· Answer it.
     14    · · · · · THE WITNESS:· Because we legitimately felt at the
     15    time that these shows would mature to success.· I mean, if
     16    I had any idea that the shit that BRON is putting us
     17    through was real way back when, you know, we would have
     18    taken drastically different steps.· But every time we got
     19    an update, you know, everything was fine, everything was
     20    fine, until it wasn't fine.
     21    BY MR. JONELIS:
     22    · · · Q· ·Moving back to Fables, has any investor been paid
     23    back in connection with Fables?
     24    · · · A· ·I don't know.· I -- I would have to check.· But
     25    not from Fables, you know.· Like, look, when -- when we


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     ·1    financed THE JOKER, we made $25,000,000 of profit, you
     ·2    know.· We had money to pay people back.· It -- it might not
     ·3    have come from Fables itself, but, you know, we made
     ·4    decisions at the time, you know, of what we wanted to do.
     ·5    We certainly would not be able to do something like that if
     ·6    it was a multi-million-dollar redemption.
     ·7    · · · Q· ·So let me be more precise.· With respect -- I'm
     ·8    not concerned about where the money came from.· With
     ·9    respect to investors who gave Creative Wealth their money
     10    in an agreement, like these have, that say Fables on it --
     11    · · · A· ·Yes.
     12    · · · Q· ·-- did any of those investors get back some or
     13    all of the money that they gave to Creative Wealth?
     14    · · · A· ·I think I've answered that question on numerous
     15    fronts.
     16    · · · · · MR. FRIED:· Answer it again.
     17    · · · · · THE WITNESS:· Not from Fables production, no.
     18    BY MR. JONELIS:
     19    · · · Q· ·But did they get back the money that they had
     20    given to you under the agreement for Fables?
     21    · · · A· ·I don't know.· I would have to check.· But I --
     22    you know, I -- I don't -- I can tell you definitively that
     23    no money from any of these shows has come back to
     24    investors.
     25    · · · Q· ·When you say you'd have to check, we'll put a


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     ·1    blank in the transcript here and you can tell me --
     ·2    · · · · · MR. FRIED:· No.· We've produced documents that
     ·3    respond to the very questions that you're asking him.
     ·4    · · · · · THE WITNESS:· Yeah.
     ·5    · · · · · MR. FRIED:· You already have the documents.· If
     ·6    you want to put a blank, you can, but we're just going to
     ·7    refer to the document you already have.
     ·8    · · · · · MR. JONELIS:· Well, if you can refer us to the
     ·9    document, I'm not aware of that document.
     10    · · · · · MR. FRIED:· Sure.
     11    · · · · · MR. JONELIS:· Okay.· Unless there was a redaction
     12    on it where it wasn't clear.
     13    · · · · · Was the document redacted to --
     14    · · · · · MR. FRIED:· You know, I'll follow up with you on
     15    this.· My understanding is that we -- whatever we had on
     16    that topic, we gave you, but --
     17    · · · · · MR. JONELIS:· I -- I'd like --
     18    · · · · · MR. FRIED:· -- I don't want to clutter up your
     19    record so let's do it separate and apart --
     20    · · · · · MR. JONELIS:· I'd like to --
     21    · · · · · MR. FRIED:· -- from this.
     22    · · · · · MR. JONELIS:· -- see it.· Okay.
     23    · · · Q· ·Moving to Gossamer.· Mr. Harris contributed
     24    $250,000 towards that project, correct?
     25    · · · A· ·That's correct.


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     ·1    · · · Q· ·Okay.· And I appreciate you touched on Gossamer
     ·2    in connection with some of your answers, but I -- I'd like
     ·3    to specifically talk about Gossamer.· Why hasn't Mr. Harris
     ·4    received any money back in connection with Gossamer?
     ·5    · · · A· ·It has not been commercialized yet.
     ·6    · · · Q· ·And what do you mean by that?
     ·7    · · · A· ·So right now Gossamer is in the final stages of
     ·8    beta testing as a skin in Fortnite with Epic Games, not to
     ·9    be confused with Epic Story that did Hailey and Bubbles,
     10    but Epic Games that created Fortnite.· I need more
     11    information as to what that means.· But it's supposedly
     12    very significant that you've got a game skinned inside
     13    Fortnite.· Fortnite has 750 million players a month.· And
     14    it's always pay-per-play.· So there is a possibility that
     15    revenue will come in from that long before they actually
     16    sell Gossamer as a show.
     17    · · · Q· ·Does the reason that Mr. Harris hasn't gotten any
     18    money back from Gossamer have anything to do with BRON?
     19    · · · A· ·Yes.
     20    · · · Q· ·Okay.· So can you please explain that to us?
     21    You've talked about Fortnite and that it's not complete,
     22    but what's BRON's impairment on Mr. Harris getting his
     23    money back in connection with Gossamer?
     24    · · · A· ·Well, the show was never intended to be a game.
     25    It was intended to be a multi-episodic TV show.· And then


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     ·1    they just changed direction in midstream and now made it a
     ·2    game that, by a fluke, happens to be a skin in Fortnite.
     ·3    But we've been asking and asking for months to give us
     ·4    projections on the potential revenue.· These are all things
     ·5    that we will have to dive into when we get into BRON and we
     ·6    can see the shows.
     ·7    · · · Q· ·How has the game been paid for on the production
     ·8    end?
     ·9    · · · A· ·Once again, I -- I -- it's a good question
     10    because we didn't pay for it.
     11    · · · Q· ·Okay.· So when you gave Mr. Harris' money to the
     12    producers, which was, again, exclusively to be used for
     13    pre-production, production, post-production and delivery,
     14    did you make it clear to them that they couldn't use that
     15    money for a game, that it only had to be on the actual
     16    show?
     17    · · · · · MR. FRIED:· Objection.
     18    · · · · · THE WITNESS:· Yeah, that --
     19    · · · · · MR. FRIED:· Answer it.
     20    · · · · · THE WITNESS:· Yeah.· That's going to be a real
     21    dicey edge to get through.· Right?· Because there's an
     22    argument that can be made that that is production, that
     23    that falls in line with what the show could or could not
     24    be.
     25    BY MR. JONELIS:


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     ·1    · · · Q· ·And what's your basis that that could be
     ·2    production?
     ·3    · · · A· ·It -- it -- it just is.· Like digital animation
     ·4    is not -- you know, it's not like taking a live action show
     ·5    and then converting it into a game.· They -- they built
     ·6    Gossamer on the Unreal Engine.· Like they have a deal with
     ·7    Epic.· So they are the high-end beta testers for the unreal
     ·8    engine.· They brought Jason Chen on because he essentially
     ·9    is like that race car driver that puts a car through an
     10    unbelievable test.
     11    · · · · · I don't know what is going to come out of it.
     12    And arguing whether or not BRON had the authority to create
     13    a game or not is really not where I'm going to spend my
     14    money and resources.· It's going to be finishing the show
     15    and trying to sell it in the best way possible to get
     16    people their money back.
     17    · · · Q· ·Let's go on to Bubbles Hotel.
     18    · · · · · So Mr. Harris contributed a million dollars
     19    towards that project, correct?
     20    · · · A· ·Yes.
     21    · · · Q· ·Why hasn't Mr. Harris received any money back in
     22    connection with Bubbles Hotel?
     23    · · · A· ·Um, COVID slowed down the production of that
     24    show.· It used to be a very collaborative thing.· There
     25    were many animators working in close side-by-side


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     ·1    proximity.· That stopped.· Production just slowed down.
     ·2    But they picked things back up again when people moved back
     ·3    into the office.· And they're almost done.· Um, the show
     ·4    had to be run in China exclusively through Ten Cent for I
     ·5    think a year.· And that made it exclusive Chinese content,
     ·6    which made it more valuable in China.· Then they could do a
     ·7    deal in North America.· And they're looking at doing that
     ·8    now.· They're almost finishing delivering all the episodes
     ·9    for both Hailey and Bubbles.
     10    · · · · · And in my office are all of the mock-ups of all
     11    the toys and so forth that will be for sale for both shows,
     12    as well.· And there are other merchandising and licensing
     13    deals that they're signing on behalf of those two shows, as
     14    well.
     15    · · · Q· ·All right.· As you're here under oath, is there
     16    anything else that you want to say about why Mr. Harris
     17    hasn't received any money back from Bubbles?
     18    · · · A· ·No.
     19    · · · Q· ·Okay.· Let's move, then, to Hailey.· And, again,
     20    I'm just -- I appreciate you touched on Hailey a few
     21    moments ago.· But you understand that Mr. Harris
     22    contributed a million dollars towards Hailey and the Hero
     23    Heart, correct?
     24    · · · A· ·Yes.
     25    · · · Q· ·Okay.· So why hasn't Mr. Harris received any


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     ·1    money back in connection with Hailey and the Hero Heart?
     ·2    · · · A· ·It's the same answer as Bubbles.· It just got
     ·3    delayed due to COVID.· They've ramped things back up again,
     ·4    and they are not too far away from selling the show and
     ·5    commercializing it.
     ·6    · · · Q· ·All right.· Moving to The Pathway.· Mr. Harris
     ·7    contributed $6,573,024 towards that project, correct?
     ·8    · · · A· ·That's correct.
     ·9    · · · Q· ·So why hasn't Mr. Harris received any of his
     10    money back in connection with The Pathway?
     11    · · · A· ·That is such a difficult question to answer.
     12    I -- and I'm not being evasive.· I -- I don't even know
     13    where to start.· I need to -- it's -- it's one of the
     14    questions that eats at me every day, to be honest with you.
     15    · · · · · It should have been -- all those e-mails that you
     16    provided, The Pathway should have been a proverbial lay-up.
     17    It was a show branded by a major sports league, produced by
     18    a major producer, executive produced with Steph Curry.
     19    Like this should have been a no-brainer.· We'll have to do
     20    a postmortem to see what went on.· But it doesn't mean
     21    that, once I get the show, that we're not going to try and
     22    sell it in some way.· What we found was BRON was completely
     23    inept at selling shows.· Like -- and so, unrelated to
     24    Mr. Harris, we have found shows that BRON said were
     25    unsellable and worthless, and my partner and I have sold


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     ·1    them either through our output deal at Paramount or to
     ·2    other contacts.· And we have been able to yield revenue
     ·3    that way.
     ·4    · · · · · So we are going to look at Pathway to try and
     ·5    monetize it.· Do I think it will turn out to be the way the
     ·6    spreadsheets looked?· No.· But we are going to do
     ·7    everything we can to monetize it.
     ·8    · · · Q· ·Okay.· As you sit here today at your deposition,
     ·9    is there anything else you'd like to say about why
     10    Mr. Harris has not received his money back in connection
     11    with Pathway?
     12    · · · · · MR. FRIED:· Well, no.· Ask him ques- -- answer
     13    his question.
     14    · · · · · Objection.· That's a completely inappropriate
     15    question.
     16    · · · · · You can answer it.
     17    · · · · · It's not a question.
     18    · · · · · THE WITNESS:· Yeah, I --
     19    · · · · · MR. FRIED:· Yes or no?· Do you have anything else
     20    to add?
     21    · · · · · THE WITNESS:· No, there's nothing else.
     22    BY MR. JONELIS:
     23    · · · Q· ·So you've now told me everything to your
     24    knowledge today that you're aware of as to why Mr. Harris
     25    has not received any money back in connection with Pathway?


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     ·1    · · · A· ·Right now, everything that I -- everything that
     ·2    I -- what's left to say is just things that I've got
     ·3    roaming around in my head.· I don't know them for sure yet.
     ·4    I need to get in there and see what went on.
     ·5    · · · Q· ·And when you say, "get in there," what do you
     ·6    mean?
     ·7    · · · A· ·Well, once we can gain access to the creative
     ·8    elements of the show and gain all of the underlying
     ·9    documents, I can see the discussions that BRON had with
     10    TNT.· Like there's a lot of nefarious shit that went on and
     11    so I'm -- I'm -- I just -- I can't comment because what I
     12    thought I knew I don't know, and I need to see -- I need to
     13    see all of the underlying documents.
     14    · · · Q· ·In addition to the projects we just discussed,
     15    Mr. Harris also contributed $500,000 towards a group of
     16    projects known as the MGM slate, right?· Are you aware of
     17    that?
     18    · · · A· ·Yes.
     19    · · · Q· ·What is the current status of those projects?
     20    · · · · · MR. FRIED:· Objection.· Can we go off the rec--
     21    can I talk to you outside for a second?· I don't want to
     22    clutter your record, but you know I'm not going to let him
     23    answer your questions about this.
     24    · · · · · Actually, I want to do this on the record because
     25    I have to.· I admit that I'm not the only person in the


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     ·1    room who's ever practiced law, but the way I was taught,
     ·2    you're not allowed to use a deposition to get information
     ·3    about something that's not part of your case so you can
     ·4    file another lawsuit.
     ·5    · · · · · So I don't believe -- and I've read your
     ·6    Complaint -- that you have any claims having to do with the
     ·7    MGM slate.· I also know that you're thinking or filing a
     ·8    lawsuit about the MGM slate.· And my answer -- my
     ·9    suggestion is that you go ahead and do that, but you're not
     10    going to ask my client questions about something that has
     11    nothing to go with the lawsuit.· And I'm perfectly happy to
     12    have a conversation with you and the judge or the
     13    magistrate about this.· But I suggest to you that you would
     14    likely by sanctioned for what you're doing right now.
     15    · · · · · So why don't you just take your best shot and
     16    file another lawsuit and I might even consent to the
     17    consolidation that you talked about with my partner, but
     18    you can't do it at this deposition, David.· You know you
     19    can't.· So move on.
     20    · · · · · MR. JONELIS:· I -- I just want to be clear so we
     21    have a record.· Your position on the record is you're
     22    instructing Mr. Cloth not to answer any questions about
     23    that and you're telling me that I'll be sanctioned if I ask
     24    the questions?
     25    · · · · · MR. FRIED:· Well, do you disagree with me that


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     ·1    you're not allowed to use a deposition to gain information
     ·2    about something that has nothing to do with the case?
     ·3    · · · · · MR. JONELIS:· I believe that there is a pattern
     ·4    and practice here of various projects that my client
     ·5    invested in with Mr. Cloth for which he hasn't gotten his
     ·6    money.· And --
     ·7    · · · · · MR. FRIED:· Okay.
     ·8    · · · · · MR. JONELIS:· -- I'd like to find out --
     ·9    · · · · · MR. FRIED:· Okay, Mr. Jonelis.
     10    · · · · · MR. JONELIS:· -- about how it was --
     11    · · · · · MR. FRIED:· Show me where in your Complaint you
     12    have an allegation of pattern and practice.· Here's your
     13    Complaint.· Show it to me.· Where do you say in that --
     14    where do you --
     15    · · · · · MR. JONELIS:· Bill --
     16    · · · · · MR. FRIED:· -- say -- no.· Listen to me.
     17    · · · · · MR. JONELIS:· -- I'd appreciate you --
     18    · · · · · MR. FRIED:· I'm not -- I'm not mad.
     19    · · · · · MR. JONELIS:· -- not yelling -- I'd appreciate it
     20    if you --
     21    · · · · · MR. FRIED:· I am going to yell --
     22    · · · · · THE COURT REPORTER:· I can't do this.
     23    · · · · · MR. FRIED:· -- because I'm tired of this.
     24    · · · · · MR. JONELIS:· I'd appreciate it if you don't
     25    raise your voice.


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     ·1    · · · · · MR. FRIED:· Show me -- show me -- I want your
     ·2    client to hear --
     ·3    · · · · · MR. JONELIS:· I'd appreciate it --
     ·4    · · · · · MR. FRIED:· I want you to hear this.
     ·5    · · · · · MR. JONELIS:· I'd appreciate it --
     ·6    · · · · · MR. FRIED:· Show me where in the Complaint you
     ·7    assert a pattern and practice.
     ·8    · · · · · MR. JONELIS:· I'd --
     ·9    · · · · · MR. FRIED:· I'll tell you what, let's take a
     10    break, Mr. Jonelis.
     11    · · · · · MR. JONELIS:· No.· I -- I'd appreciate it --
     12    · · · · · MR. FRIED:· Move on.
     13    · · · · · MR. JONELIS:· I'd appreciate it if --
     14    · · · · · MR. FRIED:· Move on.
     15    · · · · · MR. JONELIS:· I'd appreciate it if you don't yell
     16    at me in the deposition.
     17    · · · · · MR. FRIED:· What you're doing is so outrageous
     18    and so slimy, you can't do it.· Move on.· He's not
     19    answering questions.
     20    · · · · · MR. JONELIS:· So you're instructing your client
     21    under threat of sanctions not to answer a question
     22    concerning --
     23    · · · · · MR. FRIED:· Threat of sanctions against my
     24    client?
     25    · · · · · MR. JONELIS:· No.· Against me.· You're telling me


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     ·1    I'm going to be sanctioned.
     ·2    · · · · · MR. FRIED:· No.· What I said to you is if you
     ·3    brought this up to a judge, you might be sanctioned.
     ·4    · · · · · MR. JONELIS:· Okay.· So --
     ·5    · · · · · MR. FRIED:· Now, If you want to amend your
     ·6    Complaint --
     ·7    · · · · · MR. JONELIS:· No.
     ·8    · · · · · MR. FRIED:· -- to assert a pattern and practice,
     ·9    make a motion to amend your Complaint.· But you don't have
     10    actually -- if you actually had that claim in here, you
     11    might have an argument, but I just --
     12    · · · · · MR. JONELIS:· Bill --
     13    · · · · · MR. FRIED:· It's not in there.
     14    · · · · · MR. JONELIS:· Bill, just to be clear, once you
     15    please calm down.
     16    · · · · · MR. FRIED:· I'm not going to calm down.· You know
     17    what, David, I've been really calm during this.· You've
     18    asked some absurd questions.· You're not interested in
     19    being educated about what really happened here and it's --
     20    it's really insulting to my client who, like you, has a
     21    business to run.
     22    · · · · · Next question.· He's not answering questions
     23    about the MGM slate.· It has nothing to do with this case.
     24    · · · · · MR. JONELIS:· Bill, I'm an Officer of the court.
     25    I've been in here, as are you.· I haven't --


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     ·1    · · · · · MR. FRIED:· Keep that in mind --
     ·2    · · · · · MR. JONELIS:· I haven't --
     ·3    · · · · · MR. FRIED:· -- Mr. Officer of the Court.
     ·4    · · · · · MR. JONELIS:· I haven't raised my voice at you.
     ·5    I haven't --
     ·6    · · · · · MR. FRIED:· I know, but I actually haven't --
     ·7    · · · · · THE COURT REPORTER:· I can only do one at a time.
     ·8    · · · · · MR. FRIED:· -- done something that --
     ·9    · · · · · No.· I want this on the record.
     10    · · · · · I haven't --
     11    · · · · · THE COURT REPORTER:· Then one at a time.
     12    · · · · · MR. FRIED:· -- done what you're trying to do now.
     13    · · · · · MR. JONELIS:· Okay.
     14    · · · · · MR. FRIED:· We don't practice law like this,
     15    David.· It's unethical and you know it.
     16    · · · · · And, by the way, I also know you spoke to my
     17    partner about this.
     18    · · · · · MR. JONELIS:· Uh-huh.
     19    · · · · · MR. FRIED:· So I'm not talking out of my head out
     20    of this.· I know exactly -- you told my partner that you --
     21    you didn't say anything about a pattern and practice.· You
     22    told my partner, as I understand it, that you were thinking
     23    of filing a separate lawsuit having to go the MGM slate,
     24    and maybe you might want to consolidate it with this case.
     25    · · · · · MR. JONELIS:· Uh-huh.


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     ·1    · · · · · MR. FRIED:· You are entitled to do that.· But
     ·2    that you don't get to ask questions about to use it for a
     ·3    separate lawsuit.· You didn't say to my partner, "Well, we
     ·4    see a pattern and practice here.· We might want to ask
     ·5    questions about it in this case."
     ·6    · · · · · So I'm going to say this one more time.· He's not
     ·7    answering questions about something that has nothing to do
     ·8    with this case.
     ·9    · · · · · And what I would say to you is if you want to
     10    take it up with the judge, we can do that, but I strongly
     11    suggest you think before you do that.
     12    · · · · · MR. JONELIS:· I appreciate the threat that I'm
     13    going to get sanctioned, but here is what I'll ask you,
     14    Bill.
     15    · · · · · I've -- even an offer of proof, that I believe
     16    there is other investments my client made where he didn't
     17    get his money back and I would like to see the consistency
     18    and the explanations so I can establish a pattern and
     19    practice, which is one of the elements to show for
     20    character evidence under the Federal Rules of Evidence with
     21    respect to a fraud claim.· So that's my offer of proof.
     22    · · · · · MR. FRIED:· All right.
     23    · · · · · MR. JONELIS:· And if you're instructing him not
     24    to answer, let's just make a record of it, and you're
     25    right, we'll go to the judge.


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     ·1    · · · · · MR. FRIED:· I'm instructing him not to answer.
     ·2    · · · · · (Instruction not to answer)
     ·3    · · · · · MR. JONELIS:· All you need to say.· You don't
     ·4    need to yell.· Just instruct him.
     ·5    · · · · · MR. FRIED:· And if the Court orders him to answer
     ·6    it, he will come back to answer the questions.
     ·7    · · · · · MR. JONELIS:· I appreciate that.· Let's go to the
     ·8    next one and see if you're going to instruct him not to
     ·9    answer.
     10    · · · Q· ·With respect --
     11    · · · · · MR. FRIED:· Anything having to do with MGM he's
     12    not answering.
     13    · · · · · MR. JONELIS:· Okay.
     14    · · · · · MR. FRIED:· So save yourself the time.
     15    · · · · · MR. JONELIS:· Okay.· No.· I understand.· You've
     16    instructed your client not to answer any questions
     17    concerning the MGM slate.
     18    · · · Q· ·With respect to the project Bombshell, Mr. Harris
     19    contributed a million dollars towards that film, correct?
     20    And don't answer because I'd like to know if your attorney
     21    is going to instruct you not to answer any questions about
     22    Bombshell.· That's also not at issue in this lawsuit.
     23    · · · · · THE WITNESS:· Well, then, why would we answer it?
     24    · · · · · MR. JONELIS:· Are you going to instruct him not
     25    to answer?· Because I -- just to preview it, I was going to


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     ·1    ask him the same questions.· What happened to that money?
     ·2    Why hasn't -- I mean, that's -- I was going to ask that.
     ·3    · · · · · So do you want to instruct him not to answer?
     ·4    · · · · · MR. FRIED:· Why don't you just amend your
     ·5    Complaint?
     ·6    · · · · · I would let him answer any of these questions if
     ·7    it was part of this case.· The answer is he's not answering
     ·8    questions that have nothing to do with this case.· And the
     ·9    offer of proof or proof argument you just made,
     10    Counselor -- I -- I've said this -- we're not at trial
     11    here.· You don't do what you just said during a deposition.
     12    I've never seen some of this -- this stuff you're doing
     13    here.· There is no jury here.
     14    · · · · · MR. JONELIS:· Then why are you screaming at me
     15    and using --
     16    · · · · · MR. FRIED:· Because you're --
     17    · · · · · MR. JONELIS:· -- gesticulations?
     18    · · · · · MR. FRIED:· -- wasting my time and my client's
     19    time --
     20    · · · · · MR. JONELIS:· There's no jury.
     21    · · · · · MR. FRIED:· -- with questions -- right.· I'm --
     22    · · · · · MR. JONELIS:· So why are you --
     23    · · · · · MR. FRIED:· -- making a record.
     24    · · · · · MR. JONELIS:· Why are you doing this?· I've been
     25    calm --


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     ·1     · · · · · MR. FRIED:· Because --
     ·2     · · · · · MR. JONELIS:· I've been --
     ·3     · · · · · MR. FRIED:· -- you know what --
     ·4     · · · · · MR. JONELIS:· -- asking my questions here.
     ·5     · · · · · MR. FRIED:· -- we've been --
     ·6     · · · · · MR. JONELIS:· You're --
     ·7     · · · · · THE COURT REPORTER:· You know what --
     ·8     · · · · · MR. JONELIS:· -- screaming at me.
     ·9     · · · · · THE COURT REPORTER:· -- I can't do this, guys.
     10     · · · · · MR. JONELIS:· Yeah.
     11     · · · · · MR. FRIED:· I -- I didn't fly out here --
     12     · · · · · MR. JONELIS:· You're screaming at me.
     13     · · · · · MR. FRIED:· -- for this deposition --
     14     · · · · · MR. JONELIS:· I'm not screaming at you.· I'm
     15     respectful of you.
     16     · · · · · MR. FRIED:· I didn't scream until you started
     17     asking --
     18     · · · · · MR. JONELIS:· You were --
     19     · · · · · MR. FRIED:· -- my client questions --
     20     · · · · · MR. JONELIS:· -- screaming earlier --
     21     · · · · · MR. FRIED:· -- that have nothing to do --
     22     · · · · · MR. JONELIS:· -- today, too.
     23     · · · · · MR. FRIED:· No, I was --
     24     · · · · · MR. JONELIS:· It's on the record.
     25     · · · · · MR. FRIED:· -- not.


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     ·1    · · · · · MR. JONELIS:· It's on the record.
     ·2    · · · · · MR. FRIED:· That's not true.
     ·3    · · · · · MR. JONELIS:· It's -- I just would appreciate the
     ·4    professional courtesy.
     ·5    · · · · · That's fine.· We can -- you're -- are you going
     ·6    to instruct him not to answer questions concerning --
     ·7    · · · · · MR. FRIED:· I'm going to instruct him not to
     ·8    answer any questions that have nothing to do with this
     ·9    case.
     10    · · · · · MR. JONELIS:· So are you instructing him not to
     11    answer any questions concerning the film BOMBSHELL?
     12    · · · · · MR. FRIED:· Do you have a claim about the
     13    BOMBSHELL investment in this case?
     14    · · · · · MR. JONELIS:· I'd like to establish --
     15    · · · · · MR. FRIED:· Do you have a claim about the
     16    BOMBSHELL in this case?
     17    · · · · · MR. JONELIS:· Not directly, no.
     18    · · · · · MR. FRIED:· He's not answering questions about
     19    it.
     20    · · · · · (Instruction not to answer)
     21    · · · · · MR. JONELIS:· Okay.· Okay.· I appreciate the
     22    instruction.
     23    · · · Q· ·All right.· Mr. Cloth, are you currently married?
     24    · · · A· ·Yes.
     25    · · · Q· ·What's the name of your wife?


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     ·1    · · · A· ·Bari Hochman, H-o-c-h-m-a-n.
     ·2    · · · Q· ·I'm sorry?· First name?
     ·3    · · · A· ·Bari, B-a-r-i.
     ·4    · · · Q· ·B-a-r-i.· Spell the last name again, please.
     ·5    · · · A· ·H-o-c-h-m-a-n.
     ·6    · · · Q· ·Prior to being married to Ms. Hochman, were you
     ·7    married to anyone else?
     ·8    · · · A· ·Yeah.
     ·9    · · · Q· ·Okay.· And what year?· So I can establish if it's
     10    within the relevant time period.
     11    · · · A· ·I don't know.· 18 years ago.
     12    · · · Q· ·Okay.· So not anytime within the last -- it was
     13    18 years?
     14    · · · A· ·Okay.
     15    · · · Q· ·Okay.· Then I don't need to ask that question.
     16    · · · · · Are you aware of someone named Jenifer George?
     17    · · · A· ·Yes.· She's been my assistant for almost 30
     18    years.
     19    · · · Q· ·Was she your assistant during the time period at
     20    issue in this lawsuit?
     21    · · · A· ·Of course, yes.
     22    · · · Q· ·Okay.· Was Jenifer George, as your assistant,
     23    involved in any of the projects at issue in this lawsuit?
     24    · · · A· ·Sorry.· Can you define "involved's?
     25    · · · Q· ·Yeah.· Fair -- fair question.


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     ·1    · · · · · Was Ms. George involved in any of the
     ·2    decision-making in connection with the projects --
     ·3    · · · A· ·No.
     ·4    · · · Q· ·-- at issue in this lawsuit?
     ·5    · · · · · Okay.· What was Ms. George's general role in
     ·6    connection with the projects at issue in this lawsuit?
     ·7    · · · A· ·Back office administration.
     ·8    · · · Q· ·And can you describe more what that would consist
     ·9    of?
     10    · · · A· ·Making sure documents were executed, helping
     11    Sandy's people fill out documents.· Making sure wires were
     12    done properly.· Things like that.
     13    · · · Q· ·So just so I can close the book on this and
     14    hopefully take her off the table.· If there was a document,
     15    for example, that needed to be executed -- and we've seen
     16    these e-mails -- it would be -- you'd say to her, "Can you
     17    send that over to Mr. Harris to get signed?"· She doesn't
     18    look at it.· She doesn't understand it.· She's just purely
     19    effectively --
     20    · · · A· ·That's correct.
     21    · · · Q· ·-- ministerial?
     22    · · · A· ·That's right.
     23    · · · Q· ·Okay.· I appreciate that.
     24    · · · · · Let's talk briefly, Mr. Cloth, about any other
     25    lawsuits against you or your company.


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     ·1    · · · · · Prior to being named as a defendant in this case,
     ·2    were you ever named as a defendant in any other lawsuit?
     ·3    · · · · · MR. FRIED:· You're asking him personally?
     ·4    · · · · · MR. JONELIS:· Personally first, yes.
     ·5    · · · · · MR. FRIED:· Yes or no?
     ·6    · · · · · THE WITNESS:· Yes.
     ·7    BY MR. JONELIS:
     ·8    · · · Q· ·Okay.· How many times?
     ·9    · · · A· ·It was -- I don't know -- five, six.· Maybe more.
     10    · · · Q· ·Within the last how many years?
     11    · · · A· ·The last couple of years.
     12    · · · Q· ·What about before that, was there any lawsuits
     13    against you personally?
     14    · · · A· ·No.
     15    · · · Q· ·Okay.· So just the last couple of years?
     16    · · · A· ·Yeah, maybe -- let's say over the last three
     17    years, but not before that.
     18    · · · Q· ·So before that, you'd never been sued in your
     19    personal capacity?
     20    · · · A· ·No.
     21    · · · Q· ·Okay.· Appreciate that.· That's helpful.· I can
     22    pull the lawsuits if I need to ask about them.
     23    · · · · · Let's talk about Creative Wealth.· Again,
     24    Creative Wealth Media Finance Corp.
     25    · · · · · Prior to being named as a defendant in this case,


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     ·1    has Creative Wealth ever previously been named as a
     ·2    defendant in a lawsuit?
     ·3    · · · A· ·Just in the same lawsuits that I would have been
     ·4    named at.
     ·5    · · · Q· ·Is there any --
     ·6    · · · A· ·So over the last three years.
     ·7    · · · Q· ·Is there any lawsuit where Creative Wealth is
     ·8    named as a defendant, but you personally are not?
     ·9    · · · A· ·I think so, yes.
     10    · · · Q· ·Okay.· But all within the last three years?
     11    · · · A· ·Yes.
     12    · · · Q· ·Meaning there is not from ten years ago a lawsuit
     13    against Creative Wealth?
     14    · · · A· ·Creative Wealth Media --
     15    · · · Q· ·Yeah.
     16    · · · A· ·-- no.
     17    · · · Q· ·Okay.· That's helpful.
     18    · · · · · Did you review any documents in preparation for
     19    your deposition today, Mr. Cloth?
     20    · · · A· ·Yeah.· E-mails that were produced by our server
     21    and delivered to my lawyers.
     22    · · · Q· ·Okay.· Other than those documents that were
     23    produced, did you review any other documents?
     24    · · · A· ·No.
     25    · · · Q· ·And did you meet with your attorneys in


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     ·1    preparation for your deposition here today?
     ·2    · · · A· ·Yes.
     ·3    · · · Q· ·Okay.· And just to foreclose any more yelling,
     ·4    I'm not entitled to know what specifically you discussed
     ·5    with your attorneys.· But what I am entitled to know is how
     ·6    many times you met with them.· How many times?
     ·7    · · · · · MR. FRIED:· He's asking you how many times you
     ·8    met with us just to prepare for your deposition, just to be
     ·9    clear on that.
     10    · · · · · THE WITNESS:· Oh, formally, just once over Zoom.
     11    BY MR. JONELIS:
     12    · · · Q· ·Okay.· And when did that Zoom meeting take place?
     13    · · · A· ·Couple days ago.
     14    · · · Q· ·Okay.· And who was present on the Zoom?
     15    · · · A· ·Both my lawyers and I think my third lawyer.
     16    · · · · · MR. FRIED:· Mr. Kopach, who is listening.
     17    · · · · · THE WITNESS:· Yeah.
     18    · · · · · MR. JONELIS:· Oh, fantastic.· Great.
     19    · · · Q· ·And how long did that meeting take?
     20    · · · A· ·It was quite a few hours.
     21    · · · Q· ·Okay.· And more than two?
     22    · · · A· ·Yes.
     23    · · · Q· ·More than three?
     24    · · · A· ·Yes.
     25    · · · Q· ·More than four?


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     ·1    · · · A· ·Might have been four or five hours.
     ·2    · · · Q· ·But it wasn't ten hours?
     ·3    · · · A· ·No.
     ·4    · · · Q· ·Okay.· So more than four, less than ten.
     ·5    · · · · · Other than that one meeting -- formal meeting by
     ·6    Zoom more than four hours, approximately, less than ten, of
     ·7    which your three attorneys were present, did you have any
     ·8    other meetings with your attorney in preparation for your
     ·9    deposition here today?
     10    · · · A· ·No.
     11    · · · Q· ·Okay.· Other than meeting with your attorneys,
     12    did you speak with anyone else in preparation for your
     13    deposition here today?
     14    · · · A· ·No.
     15    · · · · · MR. JONELIS:· All right.· I'm going to take a
     16    five-minute break.· I may have another one or two
     17    questions, but I think we're definitely in the home
     18    stretch.
     19    · · · · · THE WITNESS:· Okay.
     20    · · · · · MR. JONELIS:· So let's go off the record, please.
     21    · · · · · THE VIDEOGRAPHER:· Okay.· We'll go off the video
     22    record.· The time is now 3:44 p.m.
     23    · · · · · (Recess)
     24    · · · · · THE VIDEOGRAPHER:· And thank you.· We are back on
     25    the video record.· The time is now 3:58 p.m.


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     ·1    · · · Q· ·All right.· Mr. Cloth, let's go back to Exhibit
     ·2    6, if we could, please.
     ·3    · · · · · MR. FRIED:· Just tell him which one that is so we
     ·4    know.
     ·5    · · · · · MR. JONELIS:· It's the agreements for Bubbles,
     ·6    Fables, and Hailey and the Hero Heart.
     ·7    · · · · · MR. FRIED:· The big -- the big exhibit.
     ·8    · · · · · MR. JONELIS:· Yeah, it's the biggest exhibit.
     ·9    · · · · · MR. FRIED:· Right there.
     10    · · · · · THE WITNESS:· Oh.
     11    BY MR. JONELIS:
     12    · · · Q· ·You previously testified, Mr. Cloth, that when
     13    the money was given to you by Mr. Harris in connection with
     14    these three projects, it was up to BRON ultimately to
     15    determine where that money went; am I correct or am I
     16    mischaracterizing your testimony?
     17    · · · · · MR. FRIED:· Objection to form.
     18    · · · · · You can answer.
     19    · · · · · THE WITNESS:· Up to BRON to where it went.· BRON
     20    was always the lead producer.· BRON owns a piece of Epic
     21    Story.· BRON owns a piece of Platinum Studios.· They are
     22    the TopCo. in all of it.
     23    BY MR. JONELIS:
     24    · · · Q· ·So just for housekeeping purposes, if you turn to
     25    the first page of the Bubbles Hotel term sheet.


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     ·1    · · · A· ·Yep.
     ·2    · · · Q· ·Okay.· And you see that "Underlying Beneficiary"
     ·3    is listed as Bubble Up Productions, Inc.
     ·4    · · · · · Do you see that?
     ·5    · · · A· ·Yes.
     ·6    · · · Q· ·Is Bubble Up Productions, Inc., which I'm
     ·7    assuming is an SVP, affiliated with BRON?
     ·8    · · · A· ·I'm not sure.· I would have to check the
     ·9    corporate documents.
     10    · · · Q· ·So do you know as you sit here today what Bubble
     11    Up Productions, Inc.'s role was in connection with the
     12    picture Bubbles Hotel?
     13    · · · A· ·Well, as you stated, it's most likely the SPV
     14    responsible for production of the show.
     15    · · · Q· ·Okay.· So when it's stated as the underlying
     16    beneficiary, that means that it's the beneficiary of the
     17    monies to be provided by Mr. Harris, correct?
     18    · · · A· ·Yes.· So whether we sent it to Bubble Up
     19    Productions or we sent it to BRON and BRON would capitalize
     20    Bubble Up Productions, Bubble Up Productions would be the
     21    production entity.
     22    · · · Q· ·And why would you send it to BRON instead of
     23    Bubble Up Productions?
     24    · · · A· ·Like I said, as the main production entity, it is
     25    not unusual that we would send money to the studio and the


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     ·1    studio would fund the production.
     ·2    · · · Q· ·And with respect to this agreement, the only
     ·3    reference to BRON in the entire agreement is on Schedule A,
     ·4    the waterfall, where BRON is referred to as the
     ·5    administrative agent.· If you turn -- it's 01 -- sorry --
     ·6    01769 is the Bates number.
     ·7    · · · A· ·Yep.
     ·8    · · · Q· ·Okay.· What is your understanding of what it
     ·9    means that Bron Releasing, Inc. is the administrative
     10    agent?
     11    · · · A· ·They --
     12    · · · · · MR. FRIED:· Do you have the doc- -- that's not
     13    what he's talking about.
     14    · · · · · THE WITNESS:· No.· I -- I -- I --
     15    · · · · · MR. JONELIS:· I gave the Bates page.
     16    · · · · · MR. FRIED:· No, no.
     17    · · · · · THE WITNESS:· Yeah, I -- I understand.· First
     18    off, this is one relatively light term sheet.· The
     19    underlying documents for these films are a foot thick of
     20    legal paperwork.· You should really start plowing through
     21    those instead of the financing term sheet between us and
     22    the client.
     23    · · · · · MR. FRIED:· He just wants to know what
     24    "administrative agent" means.
     25    BY MR. JONELIS:


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     ·1    · · · Q· ·And, respectfully, Mr. Cloth, this is a term
     ·2    sheet, as light as it may be, that is the only term sheet
     ·3    that my client entered into with respect to giving you
     ·4    millions of dollars.
     ·5    · · · A· ·Okay.· They would be responsible for administrating
     ·6    the financial aspect of -- of the show from our clients to
     ·7    production.
     ·8    · · · Q· ·So does that include administrating -- when
     ·9    Mr. Harris' money comes in, administrating that money going
     10    to the production company?
     11    · · · A· ·Yes.
     12    · · · Q· ·Okay.· That's what I want to understand.
     13    · · · · · Let's go to the term sheet for Hailey and the
     14    Hero Heart.· This is -- 1779 is the Bates number.
     15    · · · A· ·1779.
     16    · · · Q· ·Uh-huh.
     17    · · · A· ·Yep.
     18    · · · Q· ·And do you see that the Underlying Beneficiary
     19    for that project is Hunted Production Services, Inc.?
     20    · · · A· ·Yes.
     21    · · · Q· ·Okay.· And just for completeness, is your
     22    testimony with respect to Hunter Production Services, Inc.
     23    similar to your testimony with respect to Bubble Up
     24    Productions, Inc. --
     25    · · · A· ·Yes.


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     ·1    · · · Q· ·-- in so far as it's just the underlying SPV?
     ·2    · · · A· ·That's correct.
     ·3    · · · Q· ·And is it your testimony that it would be BRON's
     ·4    obligation to move Mr. Harris' money from Creative Wealth
     ·5    to Hunted Production Services, Inc. or whomever ultimately
     ·6    ended up producing the project?
     ·7    · · · A· ·Yes, that's correct.
     ·8    · · · Q· ·Okay.· And, again, on this particular one, if you
     ·9    turn to 1784 --
     10    · · · A· ·Yep.
     11    · · · Q· ·-- the administrative agent is referred to as
     12    BRON Ventures 1 (Canada) Corp. which is different than how
     13    BRON was listed on the last one.
     14    · · · · · Do you know what the distinction is between BRON
     15    Ventures 1 (Canada) Corp. and BRON Releasing, Inc.?
     16    · · · A· ·I don't know why there would be two different
     17    corporations listed as administrative agent.
     18    · · · Q· ·That's fine.
     19    · · · · · Moving to the term sheet for Fables, this is on
     20    1792.
     21    · · · A· ·Yep.
     22    · · · Q· ·You look there, the underlying beneficiary again
     23    is the SPV Fables Holding USA, LLC?
     24    · · · A· ·Yes.
     25    · · · Q· ·And just -- you incorporate the same testimony


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     ·1    you gave with respect to the last two pictures as to the
     ·2    role of Fables?
     ·3    · · · A· ·That's correct.
     ·4    · · · Q· ·And you likewise agree that it would be BRON's
     ·5    responsibility to move Mr. Harris' money from Creative
     ·6    Wealth to Fables Holdings USA at its discretion?
     ·7    · · · A· ·Even more so, in Fables and Bubbles, BRON acted
     ·8    as administrative agent.· In Fables and Gossamer, they own
     ·9    everything.· They -- it's their production.· They are the
     10    lead producer.· There is nobody else.· So somewhere in all
     11    the other financing documents, it would be BRON, BRON,
     12    BRON, BRON everywhere.
     13    · · · Q· ·Okay.· So is Fables impacted by BRON's bankruptcy?
     14    · · · A· ·Yes.· Fables and Gossamer would be.· Hailey and
     15    Bubbles and Bear not.
     16    · · · Q· ·Okay.· That's consistent with what you said
     17    earlier.
     18    · · · · · With respect to Bubbles and Hailey -- let's
     19    actually go to Fables.· You brought in from Mr. Schmidt's
     20    company, at least, 5.7 million dollars in connection with
     21    Fables, correct?
     22    · · · A· ·Yes.
     23    · · · Q· ·And in addition to that, Mr. Maraboyina brought
     24    in an additional 3.4 million dollars, correct?
     25    · · · A· ·That's correct.


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     ·1    · · · Q· ·Okay.· And the loan commitment for that was
     ·2    10.485, correct?
     ·3    · · · A· ·(No audible response.)
     ·4    · · · Q· ·Okay.· Where did the rest of the money come from
     ·5    for those projects?
     ·6    · · · A· ·Sorry.· What do you mean the rest of the money?
     ·7    · · · Q· ·Well, it doesn't -- it doesn't satisfy the full
     ·8    loan commitment.· There is still a little extra right
     ·9    there.
     10    · · · A· ·I think our -- our -- I'd have to check.· It
     11    might be our equity fund or our debt fund would have put in
     12    the difference.
     13    · · · Q· ·Okay.· And just to be clear, is Fables currently
     14    underfunded?
     15    · · · A· ·Well, it's underfunded not because money didn't
     16    get there.· It's underfunded because they just kept
     17    changing the creative direction and it just kept getting
     18    more and more expensive.· We stopped funding them almost
     19    two years ago.· And it's one of the questions that we have
     20    to the monitor and the bankruptcy people, which is "How the
     21    hell did you keep this showing going for two years if we
     22    weren't giving you any money?"
     23    · · · Q· ·Okay.· With respect to Hailey and the Hero Heart,
     24    you accepted -- accepted -- money came in from Sandy
     25    Schmidt's group in the amount of $6,596,250, correct?


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     ·1    · · · A· ·Sorry?· Which one?
     ·2    · · · Q· ·This is Hailey.
     ·3    · · · A· ·Okay.· Let me just --
     ·4    · · · · · MR. FRIED:· I don't think you have that in front
     ·5    of you.· He's asking you a question.
     ·6    · · · · · THE WITNESS:· No, no.· I want to get the term
     ·7    sheet.· Yep.
     ·8    BY MR. JONELIS:
     ·9    · · · Q· ·And with respect to Mr. Maraboyina, it was 1.648
     10    million dollars, correct?
     11    · · · A· ·Yes.
     12    · · · Q· ·Okay.· So that's a total of $8,244,000 invested.
     13    Yet if you look at the term sheet, the loan commitment and
     14    the budget is 4,170,513.
     15    · · · A· ·Yes.
     16    · · · Q· ·So the question is:· What happened to the excess
     17    money in connection with Hailey and the Hero Heart?
     18    · · · A· ·Well, that's only part of the production budget.
     19    The total production budget approaches $10,000,000.· And I
     20    think this was a debt term sheet, and we did take in
     21    some -- some equity to satisfy the additional requirements.
     22    · · · Q· ·So when it says in the term sheet that you and my
     23    client signed that the final budget, inclusive of the
     24    contribution from the Chinese co-production partner, will
     25    not exceed 4,175,013, it's your testimony that the budgets


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     ·1    subsequently went up?
     ·2    · · · A· ·Yes.
     ·3    · · · Q· ·Okay.· With respect to Hailey and the Hero Heart,
     ·4    is that currently underfunded as you understand it?
     ·5    · · · A· ·Not that I understand it to be, no.
     ·6    · · · Q· ·Okay.· So there's plenty of money to complete
     ·7    production?
     ·8    · · · A· ·Well, there should never be plenty of money.
     ·9    There should be the right amount of money to complete
     10    production.
     11    · · · Q· ·Okay.· With respect to Bubbles Hotel, is that
     12    underfunded as you understand it?
     13    · · · A· ·Not to my understanding, no.
     14    · · · Q· ·And you accepted 6.5 million dollars from Sandy's
     15    people in connection with that, correct?· If I'm wrong,
     16    tell me.
     17    · · · A· ·Yes.· I -- I'm sorry.· It's the first one.· Yes.
     18    · · · Q· ·Okay.· And Suraj put in around 2.3 million?
     19    · · · A· ·Yes.
     20    · · · Q· ·So that's actually less than the loan commitment.
     21    Where did the extra money come from on Bubbles Hotel?
     22    · · · A· ·Like I said, probably our -- one of our funds.
     23    · · · Q· ·Okay.· I appreciate that.
     24    · · · A· ·We're not in any different position, you know,
     25    Pathway excluded.· You know, we're going to have to sue


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     ·1    BRON ourselves for a bunch of this stuff.· So, you know, I
     ·2    understand everybody's just exercising their rights and
     ·3    notwithstanding, you know, some of the comments I might
     ·4    have made in anger, we are not giving up on any of the
     ·5    shows that you've invested in or anybody else invested in.
     ·6    It's not going to stop anything.· It's not going to change
     ·7    anything, but, you know, if you can leave here with
     ·8    anything, I hope you leave here semi-believing that that's
     ·9    what we're going to do on your behalf and Sandy's behalf
     10    and everybody else's behalf.· We never thought it was going
     11    to work out this way.
     12    · · · Q· ·Here is what I will leave us with, is that we can
     13    close up the deposition here today with the proviso that
     14    there is a few pins in the record.
     15    · · · A· ·Yep.
     16    · · · Q· ·There's a few places you're going to fill in
     17    questions.· There's a place where there is a dispute
     18    between me and Mr. Fried as to the propriety of asking
     19    certain questions, which, obviously, if that goes to the
     20    Court, I'm going to reserve the right to come back and
     21    resume this depo on just those points.· But other than
     22    that, with those provisos of filling in the blanks,
     23    providing the information, and potentially going to court
     24    on those few areas, I'm happy to say that the deposition
     25    for today is concluded.


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     ·1    · · · · · I'm going to go off the record to talk about a
     ·2    stipulation.· Which we're in Florida, I don't know
     ·3    admittedly what the proper stipulation is to make with
     ·4    respect to the transcript, but let's go off the record for
     ·5    a moment.
     ·6    · · · · · THE VIDEOGRAPHER:· Okay.· What --
     ·7    · · · · · THE WITNESS:· Can I ask one question?
     ·8    · · · · · MR. JONELIS:· Not on the record.
     ·9    · · · · · MR. FRIED:· Wait till we go off the record.
     10    · · · · · THE WITNESS:· Okay.
     11    · · · · · THE VIDEOGRAPHER:· Do you want me to read us off
     12    first?
     13    · · · · · MR. JONELIS:· No.· We're off for a second.· We're
     14    going to work on a stipulation.
     15    · · · · · THE VIDEOGRAPHER:· Thank you.· That's what I need
     16    to know.
     17    · · · · · MR. JONELIS:· Yeah.
     18    · · · · · THE VIDEOGRAPHER:· Okay.· So we'll go off the
     19    video record.· The time is now 4:12 p.m.
     20    · · · · · (Discussion off the record.)
     21    · · · · · THE VIDEOGRAPHER:· And thank you.· Back on the
     22    video record.· The time is now 4:13 p.m.
     23    · · · · · MR. JONELIS:· One -- one housekeeping and one
     24    stipulation issue.· You probably want to put the microphone
     25    on just in case you want to acknowledge something here.


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     ·1    · · · · · As we're going to talk about in a moment, we're
     ·2    going to make a stipulation amongst counsel providing for
     ·3    you to take a look at the transcript of this deposition.
     ·4    You have the right under the law to make changes.· I would
     ·5    just comment here on the record that, if in the event you
     ·6    do decide to change your testimony after the fact, I want
     ·7    to make you aware that I then have a right when we go to
     ·8    trial to comment on the fact that you said one thing when
     ·9    you were here and had an opportunity to testify, and you
     10    said another thing after you had an opportunity to talk to
     11    your attorney.· So that's my right, it's your right as I
     12    give it to you.
     13    · · · · · So with that said, we're going to stipulate here
     14    amongst counsel, who are admittedly all pro hac vice in
     15    Florida, subject to any correction or instruction by the
     16    actual non-pro hac vice local counsel in this case, that
     17    upon provision of the final transcript to the deponent,
     18    Mr. Cloth, he shall have 30 minute -- 30 days to review the
     19    transcript for accuracy and make any changes per code that
     20    he believes are appropriate or necessary, and to sign the
     21    transcript indicating that it is now final and corrected as
     22    to him.· Transcript will then be sent back to my office
     23    here in Los Angeles.· We will maintain possession, custody,
     24    and control of the original to be provided for all
     25    purposes, including trial, future depositions.· In the


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     ·1    event that somehow our office burns down or some catastrophe
     ·2    and the transcript original is destroyed, we're all going
     ·3    to stipulate that a certified copy of that transcript will
     ·4    be admissible for the exact same purposes.· Do we agree
     ·5    subject to local Florida counsel?
     ·6    · · · · · MR. FRIED:· We agree.
     ·7    · · · · · MR. JONELIS:· Thank you very much.
     ·8    · · · · · THE COURT REPORTER:· Do you want a copy of the
     ·9    transcript?
     10    · · · · · MR. FRIED:· Do we want a copy?· Well, they would
     11    send us a copy.· So I assume that's the way you want to do
     12    this.· When we take a deposition, we're going to send it to
     13    you --
     14    · · · · · MR. JONELIS:· No.· What happens now, to be clear,
     15    at least here in California, is people were taking the copy
     16    and then like putting it on their computer and saving
     17    having to buy a copy.· What usually happens now is they
     18    give just the original bound version.· Unless you purchased
     19    your own copy, they get that.· That's what you have to
     20    review.· It's incredibly inconvenient.
     21    · · · · · MR. FRIED:· Do you want to just order a copy?
     22    · · · · · MR. BAZIAN:· Yeah.· We should order one.
     23    · · · · · MR. JONELIS:· Okay.· Let's --
     24    · · · · · MR. FRIED:· What do we get with that?· We're
     25    going to get a full, a mini, and a disk?· Done.


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     ·1    · · · · · MR. JONELIS:· Done.· Makes it much easier.
     ·2    · · · · · So we'll do the same for his deposition.
     ·3    · · · · · All right.· Thank you to our court reporter, to
     ·4    our videographer.· Thank you to counsel for Mr. Cloth.
     ·5    Thank you for Mr. Cloth -- to Mr. Cloth.· And that
     ·6    concludes the deposition.
     ·7    · · · · · MR. FRIED:· Okay.· If you want to ask your
     ·8    question now, go ahead.
     ·9    · · · · · THE WITNESS:· Okay.
     10    · · · · · THE VIDEOGRAPHER:· Well -- oh, on the record?
     11    · · · · · MR. FRIED:· No.· Go off.
     12    · · · · · THE VIDEOGRAPHER:· Okay.· Okay.
     13    · · · · · So this concludes today's deposition.· We are off
     14    the record at approximately 4:15 p.m.
     15    · · · · · Thank you.
     16    · · · · · (Deposition adjourned at 4:15 p.m.)
     17
     18
     19
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     ·1

     ·2

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     ·4

     ·5

     ·6

     ·7    · · · · · · I, JASON CLOTH, have read the foregoing

     ·8    deposition and hereby affix my signature, under penalty of

     ·9    perjury, that same is true and correct, except as noted

     10    above.

     11

     12

     13

     14   __________________________· · · · · · · · _____________
     · · ·JASON CLOTH· · · · · · · · · · · · · · · ·DATED
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     ·1   STATE OF CALIFORNIA· · )
     · · ·· · · · · · · · · · · ·) ss
     ·2   COUNTY OF RIVERSIDE· · )

     ·3    · · · · · I, PAMELA J. FELTEN, a Certified Shorthand

     ·4    Reporter, holding a valid and current license issued by

     ·5    the State of California, CSR No. 5189, duly authorized

     ·6    to administer oaths, do hereby certify:

     ·7    · · · · · That the witness in the foregoing deposition

     ·8    was administered an oath to testify to the whole truth

     ·9    in the within-entitled cause;

     10    · · · · · That said deposition was taken down by me in

     11    shorthand at the time and place therein stated and

     12    thereafter transcribed into a readable format under my

     13    direction and supervision.

     14    · · · · · ( X )· Reading and signing was requested.

     15    · · · · · Should the signature of the witness not be

     16    affixed to the deposition, the witness shall not have

     17    availed himself/herself of the opportunity to sign or

     18    the signature has been waived.

     19    · · · · · I further certify that I am neither counsel for nor

     20    related to any party in the foregoing deposition and caption

     21    named, nor in any way interested in the outcome thereof.

     22    · · · · · Dated:· This 2nd day of October, 2023 at

     23    Riverside, California.

     24   · · · · · __________________________________
     · · ·· · · · · PAMELA J. FELTEN
     25   · · · · · CSR NO. 5189


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